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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                                   FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                             0MB NO 0938-0391
 STATEMENT OF DEFICIENCIES             (X1 ) PROVIDER/SUPPLIER/CUA                (X2) MULTIPLE CONSTRUCTION                               (X3) DATE SURVEY
 AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:               A. BUILDING _ _ _ _ _ _ _ __                                 COMPLETED

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                                                                                              10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                              MILWAUKIE, OR 97222
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     A 000 INITIAL COMMENTS                                                           AOOO

              PLEASE NOTE that this report also includes Tag
              A-9999 .

              This CMS 2567 report reflects the findings of an
              unannounced, onsite Federal EMTALA
              investigation of complaints OR46920 and                        I
              OR43003 that was initiated on 12/19/2023,
              extended twice secondary to additional
              information received , and concluded with an exit
              conference on 02/15/2024.

              The hospital was evaluated for compliance with
              the EMTALA requirements set forth at CFR
              489.20 and CFR 489.24, Responsibilities of
              Medicare Participating Hospitals in Emergency
              Cases (CMS Appendix V). The complaint
              allegations were substantiated. The deficiencies
              identified as result of the survey follow in this
              report.

              Although the hospital had initiated an internal
              investigation, and had self-reported an incident
              involving Patient 19 to OHAon 12/15/2023, it had
              not taken actions prior to the SA investigation to
              mitigate the possibility that a similar event could
              recur while its internal investigation was
              conducted and corrective actions were planned.
              Therefore, the following survey actions were
              taken as result of the survey team findings:
              * On 12/21/2023 at ~ 0830 the survey team
              conducted a meeting to review survey findings for
              potential IJ . Review of video-recordings,
              interviews, and record review to that point in the
              survey reflected the following events and gaps
              that occurred for Patient 19 on           023. Those
              gaps created opportunity for a similar incident to
              recur and are described more fully in Tag A-2406

LABORATORY DIRECTOR'S OR PROVIDER/SUPPLIER REPRESENTATIVE'S SIGNATURE                                              TITLE                            (X6) DATE

                                                                                                                                                    04/29/2024
Any deficiency statement ending with an asterisk (•) denotes a deficiency which the institution may be excused from correcting providing it is determined that
other safeguards provide sufficient protection to the patients. (See instructions.) Except for nursing homes, the findings stated above are disclosable 90 days
following the date of survey whether or not a plan of correction is provided. For nursing homes, the above findings and plans of correction are disclosable 14
days following the date these documents are made available to the facility. If deficiencies are cited , an approved plan of correction is requisite to continued
program participation.

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    A000 Continued From page 1                                                     A000
         of this report. A draft IJ template for Tag A-2406
         was initiated.
         * On 12/21/2023 at ~ 1200 the survey team met
         with the SA Section Manager to confirm the IJ in
         relation to the survey findings. The draft IJ
         template for Tag A-2406 was reviewed and
         finalized.
         * On 12/21/2023 at~ 1300 the survey team
         presented the completed IJ template to the
         hospital CEO and other leadership staff and gave
         instructions regarding removal of the IJ.
         * On 12/22/2023 at ~ 1930 the survey team
         received a final draft of an IJ Removal Plan which
         outlined actions that included, but was not limited
         to:
         - Development of a detailed process for review of
         all discharges of houseless and other vulnerable
         patients prior to their discharge by ED RNs who
         would be trained to conduct the review. The RNs
         were to escalate a patient discharge concern to
         an ED IDT that included the MD prior to the
         patient's discharge. The details of the "Vulnerable
         Patient Discharge Safety Review" process are
                                                             I
         described further in this Tag below.
         - VPD process training for all ED staff, including
         physicians .
         - VPD competency process the ED RNs.
         - EMTALA training for all ED staff, including
         physicians .                                        I
         * On 12/22/2023 at ~ 1945 the IJ Removal Pan
         with a full implementation date/time of 12/28/2023
         at 1000 received preliminary approval by the
         survey team , and the hospital was notified of the
         preliminary approval.
         * On 12/26/2023 at ~ 0830 the IJ Removal Plan
         was reviewed by the SA Section Manager who
         concurred with the survey team approval.
         * On 12/26/2023 at ~ 0940 the hospital was
         informed that the IJ Removal Plan was approved.
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    A 000 Continued From page 2                                                        AOOO
          * On 12/28/2023 at~ 1230 the survey team
          initiated an unannounced, onsite IJ removal
          verification visit and verified that the actions
          contained in the approved IJ Removal Plan had
          been fully implemented.
          * On 12/28/2023 at ~ 1550 the survey team
          informed the hospital that the IJ was removed ,
          and at 1700 the survey team conducted the
          investigation exit conference.
          * On 12/28/2023 at ~ 2030 the survey team
          notified the SA Section Manager and CMS of the
          findings of the IJ removal verification visit.

              The survey findings resulted in the following
              EMTALA violations:
              * A-2400: Compliance with CFR 489.24
              * A-2402: Posting of Signs
              * A-2405: Emergency Room Log
              * A-2406: Medical Screening Exam - Tag for
              which IJ was identified and removed
              * A-2409: Appropriate Transfer

              *************************** .............. *********************
              * The hospital's IJ Removal Plan approved on
              12/22/2023 reflected it would be implemented on
              12/28/2023 at 1000. Implementation was
              confirmed during an onsite verification visit on
              12/28/2023. The Removal Plan included the
              following process:

              "Vulnerable Patient Discharge Safety Review
              Plan -
              o Identification of vulnerable patients that may
              prompt reassessment to include but are not
              limited to: Patients with a Change in condition
              since MD Evaluation ; Patients discharged to or
              back to houselessness; any patient or visitor
              refusal to discharge; any team member, patient,
              visitor, or prudent layperson raised concern with
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    A000 Continued From page 3                                                     A000
         discharge safety or destination; any patient
         requiring security escort off premises or contact
         with law enforcement for discharge, etc.
         o Once identified, the VPD competent RN will
         review:
         - Vital Signs are up to date.
         - Patient current condition assessment and
         reassessments are complete and clearly
         documented.
         - Provider has been notified of any new
         symptoms or change in condition. Documentation
         reflects.
         - Brief chart review to ensure care is complete
         and check for thorough documentation
         throughout visit.
         o Notify Charge RN of review.
         o If concerns are not resolved after VPD
         competent RN review proceed to huddle with
         Interdisciplinary team
         o Interdisciplinary team review must include the
         Attending Provider, VPD competent RN , Charge
         RN , and Direct Care RN and may also include
         Social Worker.
         - Review the discharge plan with the Attending
         Provider. If no longer on shift, escalate to
         available Provider.
         - Review possible assumptions made about this
         patient and discuss the risks if these assumptions
         are incorrect.
         - What more might be required by EMTALA to         I
         ensure this patient is safe to discharge.
         o Provider confirms Medical Screening Exam is
         complete and appropriate medical treatment has
         been provided prior to discharge.
         o Charge RN agrees that the discharge plan is      I
         safe and appropriate for patient.
         o If the Charge RN cannot support the discharge
         plan, they will immediately escalate any concerns
         using SBAR and the CUS tool utilizing the Chain
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    A000 Continued From page 4                                                     A000
         of Command before the patient is discharged.
         Escalation path :
         - Acute care RN
         - Charge RN
         - House Supervisor RN or department leadership
         - Administration or Administrator on Call
         - Further escalation will be initiated as appropriate
         by administration
         o Concerns requiring escalation will be
         documented in the event reporting system for          I
         further investigation and follow up.
         o Charge RN will collect and submit all VPDs to
         the department leader or designee. 100% of
         VPDs will be reviewed daily by the department         I
         leader or designee to ensure compliance and
         provide feedback to involved caregivers or other
         follow up."

              * On 01/31 /2024 during review of additional
              patient records secondary to the survey
              extension, surveyor findings included that the
              VPD process had not been completed for all
              vulnerable patients . The EDM stated that as
              result of IJ Removal Plan daily internal monitoring
              and audits the hospital had also identified gaps in
              the VPD process. They had found that the VPD
              review had not been followed for all encounters of
              patients who were considered vulnerable. The
              EDM stated that a number of actions had been
              taken to respond to those findings, including
              additional education.

              * On 02/01/2024 an additional onsite visit was
              conducted in response to survey findings that the
              VPD process had not been fully implemented
              after the IJ Removal Plan Verification Visit. VPD
              monitoring/audit records and documentation of
              follow-up/response to audit findings was provided
              and confirmed . During the 02/10/2024 visit it was
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    A 000 Continued From page 5                                                    AOOO
          found that 7 of 15 records reviewed of patients
          who presented to the ED after the IJ Removal
          Plan Verification Visit on 12/28/2023 lacked
          evidence of the VPD review in accordance with
          the IJ Removal Plan. Those are as follows:

              - For Patient 21 , who was houseless and
              demonstrated behavioral health/psychiatric
              symptoms during five encounters on         2023,
                     024, and         /2024, a VPD review for
              each visit was not documented or was
              inadequate as described under Tag A-2406.

              - For Patient 23 the ED log reflected they
              presented to the ED on        /2024 at 1411 with a
              "Chief Complaint" of "Homeless; Insomnia." The
              "ED Disposition" on the log was "Discharge" on
                    Y2024 at 1756. There was no VPD review
              documented for this encounter.

              - For Patient 26 the ED log reflected they
              presented to the ED on          /2024 at 1521 with a
              "Chief Complaint" of "Overdose (Accidental);
              Chest Pain." The "ED Disposition" on the log was
              "Discharge" on          /2024 at 1702. RN triage
              notes reflected the patient had additionally fallen
              in the shower that morning, had taken an "uber"
              to get to the hospital , and was at "moderate risk"
              of suicide based on responses to the suicide
              screening questions. MD notes reflected they had
              a "history of schizoaffective disorder, anxiety ...
              reports that [they had) been having increased
              symptoms of anxiety for the past several days ...
              has been using [their] hydroxyzine [anti-anxiety
              drug that causes sedation] more than [they are]
              supposed to ... about an hour ago [they were]
              feeling some chest tightness and feelings of
              shortness of breath and rapid heartbeat ... likely
              related to anxiety and a panic attack at this time."
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    A 000 Continued From page 6                                                     AOOO
          There was no VPD review documented for the
          encounter of this patient who could be considered
          "vulnerable" secondary to history and
          presentation.

              - For Patient 28 the ED log reflected they
              presented to the ED on             /2024 at 1818 for a
              "Mental Health Evaluation." The "ED Disposition"
              on the log was "Discharge" on             /2024 at
              2121 . RN triage notes reflected that "Pt reportedly
              states [they were] going to kill [themselves], but
              deines (sic] SI to EMS and this RN , stating it was
              just to get attention . Pt denies SI and is seeking
              social work help for better living conditions." The
              RN notes further reflected "Thoughts of Suicide:
              Yes ... Impaired judgement ... Lacks insight ... "
              MD notes reflected the patient had a "history of
              depression, says abuse, anxiety reported getting
              into argument with [parent in-laws] and [the
              patient] held a knife to [their own] neck to get a
              reaction out of them. Denies any SI or HI ... [The
              patient] was seen by social work was not felt that
              patient was a danger to [themselves] or others ...
              I felt that the patient's clinical picture was most
              consistent with adjustment disorder." Although an
              extensive QMHP evaluation was conducted that
              indicated discharge was appropriate, there was
              no VPD review documented for the encounter of
              this individual considered "vulnerable" secondary
              to behavioral health concerns.

              - For Patient 30 the ED log reflected they
              presented to the ED on            /2024 at 2147 with a
              "Chief Complaint" of "Suicidal Thoughts." The
              "ED Disposition" on the log was "Discharge" on
                    2024 at 1449. RN triage notes reflected the
              patient was "BIBA after ... getting a knife and
              threatening to kill [their sibling] and then           I
              [themselves. Pt denies SI and HI." MD notes
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          reflected the patient reported " ... getting into
          argument with [their sibling] and [they] pulled a
          knife out and threatened [their sibling] and then
          held it to [their own] neck and threatened to kill
          [themselves]. Upon arrival here [the patient]
          denies SI and states that [they were] impulsive
          and was trying to scare [their sibling] ... I felt that
          the patient's clinical picture was most consistent
          with adjustment disorder." Although an extensive
          QMHP evaluation was conducted that indicated
          discharge was appropriate, there was no VPD
          review documented for the encounter of this
          individual considered "vulnerable" secondary to
          behavioral health concerns .

              - For Patient 31 the ED log reflected they
              presented to the ED on            024 at 1505 with a
              "Chief Complaint" of "[Ambulance]. " The "ED
              Disposition" on the log was "LWBS before Triage"
              on        ~2024 at 1526." The AMR ambulance
              report reflected staff at a shelter called 911        I
              because they thought the patient overdosed on
              drugs. Upon arrival patient reported that they felt
              "bad" but they were unable to explain why. A
              "language barrier" impacted communications as
              well. EMS "Primary Impression" was "Toxilogical."
              Once at PMH , RN triage notes reflected "Triage
              RN out to lobby to call another pt. Pt openly
              asking RN in lobby if [they] can leave, while sitting
              in wheelchair. RN updated pt that [they are] able
              to leave if [they] would like. Updated pt that if
              [they want] to see a doctor [they] will need to be
              seen in triage and assessed by RN and MD ... Pt
              told admitting staff that [they] would like to leave.
              Able to get [themselves] out of the wheelchair,
              ambulate out the doors on own. Security walked
              with pt to make sure [they are] able to get where
              [they are] intending to go ." There were no MD or
              MSE notes. There was no indication that the
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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
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    A 000 Continued From page 8                                                    AOOO
          patient had been encouraged to stay for an MSE
          or had been informed of the risks of leaving
          without an MSE. There was no indication what
          transportation the patient who arrived by
          ambulance would be using to leave the hospital.
          There was no VPD review documented for the
          encounter of this patient considered "vulnerable"
          secondary to shelter living , lack of transportation,
          and possible overdose or "toxicological" adverse
          effect.

              - For Patient 32 the ED log reflected they
              presented to the ED on ___)2024 at 1805 with a
              "Chief Complaint" of "Overdose (Intentional)."
              The "ED Disposition" on the log was "Discharge"
              on         2024 at 1120 1526." RN triage notes
              reflected the patient took a large quantity of
              prescription and OTC medications and "reports
              that [their] intention was to end [their] life ...
              reports 'I feel numb to everything."' The RN notes
              reflected that the patient's "Suicide Risk Level"
              was "High." MD notes reflected the patient
              ingested prescription and OTC drugs, including
              sedatives, because they were "having a lot of
              pain when [sic] to escape the pain but did not
              care if [they] died. Currently says [they feel] numb
              when asked if [they are] suicidal." Although an
              extensive QMHP evaluation was conducted that
              indicated discharge was appropriate, there was
              no VPD review documented for the encounter of
              this individual considered "vulnerable" secondary
              to behavioral health concerns.

              * During interviews with staff that included the
              EDM, EDO, DON, CEO, the PHSCD CNO and
              others on 02/01 /2024 throughout the day at 1030,
              1500, and 1530 staff stated that since the
              beginning of January actions taken had included:
              daily monitoring/audits of vulnerable patient
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    A 000 Continued From page 9                                                     AOOO
          cases, assessment of ED operations and staffing ,
          expanded social worker hours, changes to triage
          nurse and CRN hours and roles, additional
          training , and additional management support. The
          CEO and the PHSCD CNO expressed
          commitment to providing safe and appropriate
          care to all vulnerable patients that presented to
          the hospital. Documentation of daily
          monitoring/audits, gaps identified, and actions
          taken were provided and confirmed ..

              ****** .... **********************************************
              The following abbreviations, acronyms, and
              definitions may be used in this report:

              ACLS - Advanced cardiac life support
              ALS - Advanced life support
              AMA - Against medical advice
              AMR - American Medical Response
              AVS - After visit summary
              Bio - Biological
              BHU - Behavioral Health Unit
              BIBA- Brought in by ambulance
              BP - Blood pressure
              CAPU - Child Adolescent Psychiatric Unit
              CBD - Cannabidiol
              CCU - Critical Care Unit
              CEO - Chief Executive Officer
              CFR - Code of Federal Regulations
              CM - Case Manager
              CMO - Chief Medical Officer
              CMS - Center for Medicare and Medicaid
              Services
              CNO - Chief Nursing Officer
              CRN - Charge nurse
              CUS - I'm Concerned, I'm Uncomfortable, this is
              a Safety issue.
              CVA- Costovertebral angle                                     I
              DHHS NIH - Department of Health and Human
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    A 000 Continued From page 10                                                    AOOO
          Services National Institutes of Health
          DPSR - Director Patient Safety & Risk
          DON - Director of Nursing
          ECGs - Electrocardiography
          ED IDT - Emergency Department
          EDM - Emergency Department Manager
          EDO - Executive Director of Operations
          EDT - Emergency Department Technician
          EHR - Electronic health record
          EMC - Emergency medical condition
          EMR - Electronic medical record
          EMS - Emergency Medical Services
          EMTALA- Emergency Medical Treatment and
          Active Labor Act
          ETA - Estimated time of arrival
          GCS - Glasgow Coma Scale is a method for
          assessment of impairment of conscious level in
          response to defined stimuli that evaluates: Eye
          opening, Verbal response, and Motor response,
          with a maximum total of 15 points.
          GU - Genitourinary
          HI - Homicidal Ideation
          HIM - Health information managers
          HMC - Hillsboro Medical Center
          HS - House/Hospital Supervisor
          Hx - History
          ICU - Intensive Care Unit
          IJ - Immediate Jeopardy
          IV - Intravenous
          LCSW - Licensed Clinical Social Worker
          LEMC UCBH - Legacy Emanuel Medical Center
          Unity Center for Behavioral Heatlh
          LEOs - Law Enforcement Officers
          LIP - Licensed Independent Practitioner
          LWBS - Left without being seen
          L&D - Labor and Delivery Unit
          MAR - Medication Administration Record
          MBH - Manager of Behavioral Health
          MD - Medical Doctor
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    A 000 Continued From page 11                                                   AOOO
          MPD - Milwaukie Police Department
          MPDOs - Milwaukie Police Department Officers
          MSE - Medical screening exam
          NAO - No acute distress
          NICU - Neonatal Intensive Care Unit
          NPO - Nothing by mouth
          n/v - Nausea and vomiting
          OB/GYN - Obstetrics/Gynecology
          OD - Overdose
          OTC - Over the counter
          PHSCD CNO - Providence Health System
          Central Division CNO
          PIV - Peripheral intravenous line
          PMH - Providence Milwaukie Hospital
          POC - Plan of care
          POH - Police Officer Hold
          POV - Private owned vehicle
          Pt - Patient
          P&Ps - Policies and Procedures
          PPMC - Providence Portland Medical Center
          PSVMC - Providence St Vincent Medical Center
          QMC - Quality Management Coordinator
          QMHP - Qualified Mental Health Professional
          RN - Registered Nurse
          SA - State Agency
          SBAR - Situation, Background, Assessment and
          Recommendation
          SI - Suicidal Ideation
          SO - Security Officer
          SW - Social Worker
          Sx - Symptoms
          THC - Delta-9 tetrahydrocannabinol
          UC - Urgent care
          US - Ultrasound
          VP - Ventriculoperitoneal
          VPD - Vulnerable Patient Discharge
          WC -Wheelchair
          WR - Waiting room
          y.o. - years old
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   A2400 COMPLIANCE WITH 489.24                                                       A2400
         CFR(s): 489.20(1)

              [The provider agrees,] in the case of a hospital as
              defined in §489.24(b), to comply with §489.24.
                                                                               I
              This STANDARD is not met as evidenced by:
               ************ ... ******************* ........................
              Based on observation, review of
              video-recordings, interviews, email
              communications, review of central log and
              medical record documentation for 17 of 30
              encounters of individuals who presented to the
              hospital for emergency services
              (Patients/Encounters 1, 2, 3, 5, 9a, 9b, 16, 17, 19,
              21b, 21c, 21d, 21e, 21f, 21g, 22b, and 33), review
              of incident and internal investigation
              documentation , review of P&Ps, and review of
              other documents , it was determined that the         I
              hospital failed to fully develop and enforce
              EMTALA policies and procedures that ensured it
              met its EMTALA obligations in the following areas:
              * To post required EMTALA signage in
              conspicuous places where individuals, patients,
              and their representative waited for examination      I
              and treatment.
              * To maintain a complete and accurate central log
              of all individuals who presented to the hospital for
              emergency services.
              * To provide adequate MSEs to all individuals who
              presented for emergency services to determine
              whether an EMC existed.
              * To not dissuade individuals from staying at the
              hospital to receive MSEs, and for those who left
              prior to an MS E, to obtain or attempt to obtain
              written and informed refusal of MSE in               I
              accordance with its P&Ps.
              * For those individuals for whom an EMC had not
              been resolved or ruled out, to affect appropriate
              transfers to other hospitals for further
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                                                                                                                 DEFICIENCY)



   A2400 Continued From page 13                                                   A2400
         examination and stabilizing treatment not within
         the hospital's capabilities or capacity at the time,
         that included physician certification of patient
         specific benefits and risks of transfer, use of
         appropriate medical transportation with qualified
         personnel , and provision of medical records .

              Findings include:

              1. Refer to the findings cited under Tag A-2402
              related to the posting of EMTALA signage.

              2. Refer to the findings cited under Tag A-2405
              related to the maintenance of a central log .

              3. Refer to the findings cited under Tag A-2406
              related to the provision of MSEs.

         4. Refer to the findings cited under Tag A-2409
         related to the elements of appropriate transfer.
   A2402 POSTING OF SIGNS                                                         A2402
         CFR(s): 489.20(q)

              [The provider agrees,] in the case of a hospital as
              defined in §489.24(b), to post conspicuously in
              any emergency department or in a place or
              places likely to be noticed by all individuals
              entering the emergency department, as well as
              those individuals waiting for examination and
              treatment in areas other than traditional
              emergency departments (that is, entrance ,
              admitting area, waiting room , treatment area) a
              sign (in a form specified by the Secretary)
              specifying the rights of individuals under section
              1867 of the Act with respect to examination and
              treatment for emergency medical conditions and
              women in labor; and to post conspicuously (in a
              form specified by the Secretary) information

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   A2402 Continued From page 14                                                   A2402
         indicating whether or not the hospital or rural
         primary care hospital (e.g., critical access
         hospital) participates in the Medicaid program
         under a State plan approved under Title XIX.

              This STANDARD is not met as evidenced by:
               ******************************************************
              Based on observation, interview and review of
              policies and procedures, it was determined the
              hospital failed to enforce EMTALA policies and
              procedures that ensured the posting of signage,
              that specified individuals' EMTALA rights with
              respect to examination and treatment for
              emergency medical conditions and women in
              labor, in all areas likely to be noticed and where
              individuals waited for examination and treatment.

              Findings include:
                                                                           I
              1. Review of the P&P titled "Emergency
              Treatment and Active Labor Act (EMTALA)" dated
              effective "02/2022" reflected " ... Signage - means
              the signs posted by the Hospital in its dedicated
              ED(s), L&D/Perinatal department(s) and in a
              place or places likely to be noticed by all
              individuals entering the dedicated ED(s), ), (sic)
              L&D/Perinatal department(s), as well as those
              individuals waiting for examination and treatment.
              The signage must inform individual (sic) of their
              rights under EMTALA. Each Hospital will post        I
              signage in the dedicated ED and L&D/Perinatal
              Department specifying ... the rights of individuals
              under the law with respect to examination and
              treatment for emergency medical conditions ...
              the rights of women who are pregnant and are
              having contractions ... whether the hospital
              participates in the Medicaid program ... "

              2. During a tour of the ED on 12/20/2023
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                                                                                                                 DEFICIENCY)



   A2402 Continued From page 15                                                   A2402
         beginning at 1015 with the EDM and other
         hospital staff, the following observations were
         made:
         * The main ED waiting room did not have any
         EMTALA signs observed in that waiting area.
         These observations were confirmed during an
         interview with the EDM at the time of the
         observation . The EDM confirmed the goal is that
         all individuals waiting for exam and treatment
         would be triaged in one of the three triage rooms ,
         where EMTALA signage is posted. The signage in
         the three triage rooms was observed.
   A2405 EMERGENCY ROOM LOG                                                       A2405
         CFR(s): 489.20(r)(3)                                I
              [The provider agrees,] in the case of a hospital as
              defined in §489.24{b) (including both the
              transferring and receiving hospitals), to maintain a
              central log on each individual who comes to the
              emergency department, as defined in §489.24(b),
              seeking assistance and whether he or she
              refused treatment, was refused treatment, or
              whether he or she was transferred , admitted and
              treated, stabilized and transferred, or discharged.

              §489.24 The provisions of this regulation apply to
              all hospitals that participate in Medicare and
              provide emergency services.
                                                                           I
              This STANDARD is not met as evidenced by:
               ********************************* ...*******************
              Based on review of video-recordings, interviews,
              review of the central log and medical records for
              5 of 30 encounters of patients who presented to
              the hospital for emergency services and were
              reviewed for the central log (Patient/Encounters
              21b, 21c, 21f, 21g, and 22b), and review of P&Ps ,
              it was determined the hospital failed to fully

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                                                                                                                 DEFICIENCY)



   A2405 Continued From page 16                                                   A2405
         develop and enforce its EMTALA policies and
         procedures to ensure maintenance of a central
         log that contained clear and accurate information
         about each encounter for all individuals who
         presented to the hospital for emergency services:
         * Not all encounters of individuals who presented
         to the hospital were entered on the log.
         * The log did not clearly or accurately reflect for
         each patient the information provided on the log :
         time of arrival , chief complaint, disposition , and
         time of disposition.

              Findings include:

              1. The P&P titled "Emergency Medical Treatment
              and Active Labor Act (EMTALA}" dated as "Last
              Revised 02/2022" was reviewed. It included the
              following information : "Central log - is a log
              maintained by the hospital on each individual who
              comes to its dedicated ED or L&D/Perinatal
              Department. Each dedicated ED and
              L&D/Perinatal Department of the Hospital will
              maintain a central log recording the names of
              individuals who present to the department
              seeking treatment and indicate whether these
              individuals refuse treatment, were denied
              treatment, or were treated , admitted, stabilized,
              and/or transferred or were discharged."

              2. The central log for Patient 21 b reflected that
              they presented to the ED on           2023 at 0340
              with a "Chief Complaint" of "[ambulance]." The
              "ED Disposition" on the log was "Arna" on
                    /2023 at 0354.
              * Regarding the chief complaint, the medical
              record reflected the patient was BIBA. It was
              unclear for what reason EMS brought the patient
              to the hospital.
              * Refer to Tag A-2406 for the detailed findings of
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AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                COMPLETED

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                                                                                           10150 SE 32ND AVENUE
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                                                                                           MILWAUKIE, OR 97222
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                                                                                                                 DEFICIENCY)



   A2405 Continued From page 17                                                   A2405
         this encounter.

              3. Review of the central log revealed no evidence
              of Patient 21c's second        /2023 encounter
              shown in video recordings that resulted in the
              patient being brought back into the ED after the
              first encounter above. The video recordings
              showed the patient transported by wheelchair
              back into the ED at 0425 and being transported
              by SO from the ED toward the bus stop on the
              street at 0433.
              * Refer to Tag A-2406 for the detailed findings of
              this encounter.

              4. The central log for Patient 21f reflected that
              they presented to the ED on          /2024 at 1404
              with a "Chief Complaint" of "Followup Medical
              Problem." The "ED Disposition" on the log was
              "Discharge" on         /2024 at 1644.
              * Regarding the chief complaint, the medical
              record reflected the patient was BIBA. It was
              unclear what "Followup Medical Problem" meant
              and for what reason EMS brought the patient to
              the hospital.
              * Regarding the time of disposition, video
              recordings reflected that the patient was removed
              from the ED to the exterior ambulance parking
              area at 1449, and that SOs transported the
              patient by wheelchair away from the hospital
              toward the bus stop on the street at 1518.
              * Refer to Tag A-2406 for the detailed findings of
              this encounter.

              5. The central log for Patient 21 g reflected that
              they presented to the ED again on           2024 at
              1644 with a "Chief Complaint" of "Possible
              Sepsis." The "ED Disposition" on the log was                 I
              "Transfer to Another Facility" on        /2024 at
              2232.
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   A2405 Continued From page 18                                                   A2405
         * Regarding the time of arrival, video recordings
         reflected that the patient was BIBA and presented
         to the ED at 1619.
         * Refer to Tag A-2406 for the detailed findings of
         this encounter.

         6. The central log for Patient 22b reflected that
         they presented to the ED on          ~023 at 1712
         with a "Chief Complaint" of "Mental Health
         Evaluation; Agitation. " The "ED Disposition" on
         the log was "Discharge" on          2024 at 1418.
         * Regarding the disposition, the medical record
         reflected that the patient was admitted to the
         PMH inpatient BHU when a bed became
         available.
         * During interview at the time of the record review
         on 01 /31 /2024 beginning at 1445 the MBH
         confirmed that the patient was admitted to the
         hospital as an inpatient.
   A2406 MEDICAL SCREENING EXAM                                                   A2406
         CFR(s): 489.24(a) & 489.24(c)

              (a) Applicability of provisions of this section.
              (1) In the case of a hospital that has an
              emergency department, if an individual (whether
              or not eligible for Medicare benefits and
              regardless of ability to pay) "comes to the
              emergency department", as defined in paragraph
              (b) of this section, the hospital must-
              (i) Provide an appropriate medical screening
              examination within the capability of the hospital's
              emergency department, including ancillary
              services routinely available to the emergency
              department, to determine whether or not an
              emergency medical condition exists. The
              examination must be conducted by an
              individual(s) who is determined qualified by
              hospital bylaws or rules and regulations and who

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   A2406 Continued From page 19                                                   A2406
         meets the requirements of §482.55 of this chapter
         concerning emergency services personnel and
         direction; and
         (ii) If an emergency medical condition is           I
         determined to exist, provide any necessary
         stabilizing treatment, as defined in paragraph (d)
         of this section, or an appropriate transfer as
         defined in paragraph (e) of this section. If the    I
         hospital admits the individual as an inpatient for
         further treatment, the hospital's obligation under
         this section ends, as specified in paragraph (d)(2)
         of this section.

              (2)(i) When a waiver has been issued in             I
              accordance with section 1135 of the Act that
              includes a waiver under section 1135(b)(3) of the
              Act, sanctions under this section for an
              inappropriate transfer or for the direction or      I
              relocation of an individual to receive medical
              screening at an alternate location do not apply to
              a hospital with a dedicated emergency
              department if the following conditions are met:     I
              (A) The transfer is necessitated by the
              circumstances of the declared emergency in the
              emergency area during the emergency period.
              (B) The direction or relocation of an individual to
              receive medical screening at an alternate location
              is pursuant to an appropriate State emergency
              preparedness plan or, in the case of a public       I
              health emergency that involves a pandemic
              infectious disease, pursuant to a State pandemic
              preparedness plan.
              (C) The hospital does not discriminate on the
              basis of an individual's source of payment or       I
              ability to pay.
              (D) The hospital is located in an emergency area
              during an emergency period, as those terms are
              defined in section 1135(g )( 1) of the Act.
                                                                           I



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   A2406 Continued From page 20                                                   A2406
         (E) There has been a determination that a waiver
         of sanctions is necessary.
         (ii) A waiver of these sanctions is limited to a
         72-hour period beginning upon the                    I
         implementation of a hospital disaster protocol,
         except that, if a public health emergency involves
         a pandemic infectious disease (such as pandemic
         influenza), the waiver will continue in effect until
         the termination of the applicable declaration of a
         public health emergency, as provided under
         section 1135(e)(1 )(B) of the Act.

              (c) Use of dedicated emergency department for
              nonemergency services. If an individual comes to
              a hospital's dedicated emergency department and
              a request is made on his or her behalf for
              examination or treatment for a medical condition,
              but the nature of the request makes it clear that
              the medical condition is not of an emergency
              nature, the hospital is required only to perform
              such screening as would be appropriate for any
              individual presenting in that manner, to determine
              that the individual does not have an emergency
              medical condition .
              This STANDARD is not met as evidenced by:
               ************************************************
                                                                 I
              Based on review of video-recordings, interviews,
              email communications, review of central log and
              medical record documentation for 10 of 30
              encounters of individuals who presented to the    I
              hospital for emergency services who did not
              receive an adequate MSE or who left the hospital
              prior to an MSE, including for some patients who
              had multiple encounters (Patient/Encounters 3, 5,
              9a, 9b, 19, 21b, 21c, 21d, 21e, and 21f ), review
              of incident and internal investigation
              documentation , review of P&Ps, and review of
              other documentation, it was determined that the
              hospital failed to fully develop and enforce
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   A2406 Continued From page 21                                                   A2406
         EMTALA policies and procedures that ensured
         that individuals who presented to the hospital for
         emergency services received an adequate MSE
         within the hospital's capabilities and capacity to
         determine whether an EMC existed, or were not
         dissuaded by hospital staff from staying at the
         hospital to receive an MSE:
         * A houseless patient brought to the hospital by
         ambulance on did not receive an adequate MSE
         and was discharged to LEOs who had been
         called to remove them from the hospital for
         refusal to be discharged. Hospital staff failed to
         provide further MSE in spite of repeated
         verbalized concerns by LEOs about the patient's
         somnolent and unresponsive condition while they
         were still in the ED and after they had been
         transported to the LEO car in the parking lot. The
         patient was driven to a second hospital by LEOs
         and was found to be unconscious upon arrival.
         Resuscitation efforts were taken in the second
         hospital's ambulance bay but were not successful
         and the patient died.
         * A houseless patient brought to the hospital by
         ambulance on multiple occasions during a
         three-day period and who exhibited
                                                            I
         behavioral/psychiatric symptoms and worsening
         physical condition did not receive adequate MSEs
         that included behavioral health evaluation and
         was discharged each time to a bus stop . On the
         sixth visit during those three days the patient's
         behaviors escalated, they were found to be
         septic, they required intubation and a ventilator,
         and they were transferred to another hospital for
         ICU management.
         * For other patients who left the hospital without
         receiving an MSE it was unclear whether hospital
         staff did or said anything to dissuade them from
         staying . There was no indication they had been
                                                            I
         informed of the risks of leaving the hospital
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   A2406 Continued From page 22                                                   A2406
         without an MSE, nor that attempts to obtain
         informed written refusal for a MSE had been
         made.

              Based on findings for Patient 19 described below
              in this Tag, and as stated in Tag A-0000 of this
              report, on 12/21/2023 the hospital was notified
              that an IJ situation had been determined to exist.
              An IJ Removal Plan was approved on
              12/22/2023, and the IJ was subsequently
              removed on 12/28/2023 after verification that the
              IJ Removal Plan had been implemented.

              Findings include:

              1.a. The P&P titled "Emergency Medical
              Treatment and Active Labor Act (EMTALA)" dated
              as "Last Revised 02/2022" was reviewed. It
              included the following information:                 I
              * "This policy applies to all patient populations
              presenting to an ED (including pediatric patients),
              L&D/Perinatal Department, or anywhere on
              hospital property with an emergency medical
              condition needing treatment or transfer to or from
              any Providence hospital."
              * An MSE "is an exam completed by qualified
              medical personnel to determine whether an EMC
              or active labor exists ... The hospital shall not
              discriminate against any individual when
              providing an MSE. A complete and appropriate
              MSE will be performed on all individuals who
              come to the hospital requesting examination or
              treatment or attempts will be made to advise the
              patient of the risk of leaving before an MSE can
              be completed . An MSE will be completed
              regardless of an individual's ability to pay."
              * "If an individual who is not a hospital patient
              comes elsewhere on hospital property (hospital
              property includes the entire main campus, the
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         parking lots, sidewalks, driveways, and hospital
         departments/buildings owned by the hospital that
         are within 250 yards of the hospital) employees
         will ensure they arrive to the ED where a MSE is
         offered if: a. The individual requests examination
         or treatment for an EMC. b. If a prudent layperson
         observer would believe that the individual is
         suffering from an emergency condition ."              I
         * "If a patient presenting to ED(s) or
         L&D/Perinatal department(s) and while waiting for
         medical screening decides to leave without
         examination (AMA/LWBS) the following steps            I
         should be taken if possible:
         a. Explain to the patient it is important to have the
         medical screening to rule out whether they have a
         medical condition that needs treatment; and
         b. Use an interpreter if the patient has limited
         English proficiency, or use an alternate means of
         communication; and
         c. Inform the patient of the risks of not having the
         medical screening ; and
         d. Ask the patient to sign the AMA form
         acknowledging they understand the risks of
         leaving without the medical screening ; and
         e. Document on the medical record the above
         information and if they refuse to sign the AMA,
         document that on the record as well."

              1.b. The P&P titled "ED Patients leaving AMA,
              Eloped or LWBS," versions dated as "Last
              Revised: 02/2021" and "Last Revised: 11/2023,"
              was reviewed . Both versions of the P&P included
              the following information that was unchanged
              when last revised::                               I
              * "[LWBS]: occurs when a registered patient
              leaves the ED before or after triage but before a
              [MSE] is initiated by a [LIP] or other individual
              qualified to perform an MSE ... "
              * "LWBS: When a patient leaves and/or decides
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   A2406 Continued From page 24                                                   A2406
         to leave prior to an MSE, the circumstance should
         be documented ...
         - A reasonable effort should be made to locate
         the patient. Document specific attempt(s) to
         locate the patient. Notify security and/or law
         enforcement of patients who leave before
         treatment is initiated and for whom it is
         determined that they might be at risk for harm to
         self and/or others. Document the notification in
         the medical record. Consider telephoning the
         patient at home and/or alerting authorities, if
         appropriate.
         - If possible, provide information to the patient on
         the potential risks and benefits of leaving prior to
         a MSE and attempt to have patient sign a
         LWBS/AMA form ... "
         * "Elopement: occurs when a patient leaves the
         hospital prior to the completion of care, after an
         MSE has been initiated."
         * "Elopement: When a patient leaves following an
         MSE and prior to the completion of care, the
         circumstance should be documented.
         - Reasonable effort should be made to locate the
         patient. Document attempts to locate patient and
         outcome of attempts. Notify security and/or law
         enforcement of patients who leave before
         treatment is completed and who are determined
         to be at risk for harm to self and/or others.
         Document the notification in the medical record.
         Consider telephoning the patient at home or
         alerting authorities, if appropriate."
         * "AMA: When a patient refuses to complete a
         [MSE] or consent to recommended treatment or
         transfer, risks and benefits should be discussed
         and a LWBS/AMA form signed.
         - The ED Provider should explain to the patient in
         understandable terms the risks of refusal of
         treatment or transfer ... the reasons and benefits
         of treatment or transfer ... and/or alternative
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENU E
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
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   A2406 Continued From page 25                                                   A2406
         treatments, when applicable.
         - The nurse or ED Provider should complete the
         LWBS/AMA form .
         - The RN should document the patient's condition
         and circumstances surrounding the refusal of
         treatment or transfer in the medical record."    I

              1.c. The P&P titled "ED Practice Guideline: Adult
              Initial Assessment and Reassessments" dated as
              "Last Revised 11 /2023" was reviewed . It included
              the following direction:
              "Reassess/monitor for outcomes -
              - Complete a focused reassessment of the chief
              complaint upon assuming care of a patient.
              - Reassess the patient to evaluate response to
              intervention . This includes assessment for the
              desired or adverse effect of administered
              medication(s).
              - Complete a nursing note, with vital signs at least
              every 4 hours (and more frequently as
              appropriate).                                        I
              - Repeat vital signs within 1 hour (and more
              frequently as appropriate) for any abnormal vital
              signs on the initial assessment.
              - Vital signs should be re-evaluated within 15
              minutes of admission to ICU/CCU or transfer to
              another facility.
              - Repeat discharge assessment (including vital
              signs) as appropriate for condition . A recheck
              should occur of abnormal vital signs prior to
              discharge. Any vital sign that remains abnormal
              should be reported to the provider to verify
              appropriateness of patient discharge and
              documented."

              1.d. The P&P titled "The Plan for Provision of
              Care Providence Milwaukie Hospital" dated as
              "Last Revised 09/2019" was reviewed. It reflected
              that the hospital's "Scope of Patient Care
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
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   A2406 Continued From page 26                                                    A2406
         Services" included an inpatient "senior psychiatric
         unit (SPU). "

              1.e. During interview on 01/31/2024 beginning at
              0930 the EDM stated that a QMHP was
              scheduled in the ED from 0800 to 2300 seven                  I
              days a week, and there were no provisions,
              including on-call, for QMHP coverage from 2300
              to 0800.
              ************************************************
              2.a. The central log for Patient 19 reflected that
              they presented to the ED on         /2023 at 1834
              with a "Chief Complaint" of "Wound; Cold
              Exposure." The "ED Disposition" on the log was
              "Discharge" on         2023 at 2144 .

              2.b The findings that follow for this encounter
              reflected discrepancies and contradictions in the
              EHR, inconsistencies between the EHR
              documentation and video recordings and
              interviews, and reflected that the hospital did not
              fulfill its EMTALAobligation for Patient 19. For
              example:
              * ED staff decided that Patient 19's worsening
              condition was purposeful behavior to resist
              discharge from the ED.
              * A MSE that included an evaluation of Patient
              19's change/worsening condition and the alleged
              behavioral/psychiatric symptoms was not
              conducted, instead police were called to remove
              the patient from the hospital. There was no
              reassessment of the patient's physical condition,
              including vital signs and GCS taken only at the
              time of admission, and there was no behavioral
              health assessment.
              * It was unclear whether an unwitnessed and
              undocumented fall in the ED shower had been
              evaluated as part of an MSE.
              * In response to the patient's behaviors Narcan
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   A2406 Continued From page 27                                                    A2406
         was administered in the absence of labwork and
         objective assessment of the patients' condition,
         including such as drug screening, vital signs, and
         GCS.
         * The Narcan was administered ~ 20 minutes           I
         before MPDOs transported Patient 19 from the
         ED into a police vehicle. That was contradictory to
         Narcan literature that reflected "observation in the
         emergency room for two to four hours is prudent"
         for a patient to whom Narcan is administered.
         Further, the patient's condition was not assessed
         in accordance with the instructions for
         post-Narcan assessment.                              I
         * Patient 19 was transported with wrists
         handcuffed behind their back into the back seat
         of a MPD vehicle where they remained for ~ 40
         minutes during which time MPDOs returned to          I
         the ED and expressed concern about the
         situation to medical staff, and during which time
         the hospital's HS went to the parking lot to
         "assess" the situation but never looked at the       I
         patient. When MPDOs made arrangements to
         take the patient to another hospital's psychiatric
         unit, they left PMH premises with the patient.
         * PMH staff failed to respond appropriately to       I
         Patient 19's change of condition and MPDO's
         concerns by letting the patient be removed from
         the ED, and by not returning the patient to the ED
         for further examination and stabilizing treatment
         when further concerns were expressed by
         MPDOs.

              2.c. The medical record for Patient 19's
                     2023 ED encounter was reviewed and
              included the following:
              * The ED Care Timeline reflected the following
              chronology of events on         ~023:
              - 1834 "Patient arrived in ED" and "Arrival
              Complaint" recorded as "[Ambulance] ."
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   A2406 Continued From page 28                                                    A2406
         - 1841 "Chief Complaints Updated" to "Cold
         Exposure" and "Wound ."
         - 1841 RN wrote that "Pt states being homeless
         and feeling cold. Pt has a wound to [their] chin
         and the back of neck. Pt states being tired and
         weak and hungry. Pt soiled [themselves] and
         requ ires clean up."
         - 1846 RN recorded the only vital signs in the
         record as "Vitals Temp: 35.6 °C (96.1 °F) Pulse:
         105 Resp: 16 BP: 124/78 SpO2: 93 %" and
         "Patient Acuity 3."
         - 1848 RN recorded the only GCS in the record
         as "Glasgow Coma Scale Best Eye Response:
         4-->(E4 ) spontaneous Best Verbal Response:
         5-->(V5) oriented Best Motor Response: 6-->(M6)
         obeys commands Glasgow Coma Scale Score:
         15."
         - 1905 EDT recorded Patient 19 was moved to
         ED Room 19.
         -1910 MD F was "assigned as Attending
         [physician]" and "PROVIDER CONTACT
         INITIATED."
         - 1938 MD F placed orders for "Nursing - Please
         feed patient. Please dress right jaw wound
         Medications - cephalexin (KEFLEX) capsule 500
         mg."
         - 1942 MD F discontinued orders for "cephalexin
         (KEFLEX) capsu le 500 mg."
         - 1942 MD F recorded "Orders Placed" for
         "Medications - sulfamethoxazole-trimethoprim
         (BACTRIM OS) 800-160 mg per tablet 1 tablet"
         and "Discharge Orders Placed" for "Medications -
         sulfamethoxazole-trimethoprim (BACTRIM OS)
         800-160 mg per tablet."
         - 1942 MD F recorded "ED Disposition set to
         Discharge. "
         - 1951 RN recorded "AVS Printed ED After Visit
         Summary."
         - 2000 A "CM/SW Assessment" note only related
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   A2406 Continued From page 29                                                    A2406
         to transportation was recorded and included
         "Planned Discharge Transportation will be
         provided by: other (comment) (WC Van) ..."
         - 2002 RN recorded that one tablet of Bactrim OS
         by mouth was given to the patient.
         - The next entry was recorded at 2127.              I
         - 2127, one hour and 25 minutes later, MD F
         recorded "Orders Placed Medications - naloxone
         (NARCAN) 4 mg .nasal spray 4 mg."
         - 2139 RN recorded "Medication Dispense to
         Home naloxone (NARCAN) nasal liquid
         (Prepack) 4 mg - Dose: 4 mg ; Route: Nasal;
         Site: Nare-Left ; Scheduled nme: 2130" and
         "MAR Mini Flowsheet."
         - 2143 RN wrote "Care Handoff Report given to:
         (PD called)" and "Pt voluntarily reluctant to leave
         even with security assistance and multiple
         redirection tactics deployed. Pt was perfectly
         pleasant and cooperative until transport arrived
         and we began to get [them] up to leave. PD will
         be called to escort pt off of premises."
         - 2144 RN recorded "Patient discharged."

              * The Medication Administration record reflected
              that on       2023 at 2139 the RN's "Action"
              taken in response to the physician order for
              naloxone (NARCAN) was "Dispense to Home."
              * Flowsheet documentation reflected that on
                      W23 at 2143 the RN recorded "Care
              Handoff Report Given to - PD called."

              * The following day, on      I ~023 at 0940 MD F
              electronically signed an "ED Provider Note"
              included the following information:
              - "Clinical Impression and Plan Final diagnoses:
              Facial cellulitis Cold exposure, initial encounter
              Opioid abuse (HCC)"
              - "ED Prescriptions Sig
              sulfamethoxazole-trimethoprim (BACTRIM OS)
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   A2406 Continued From page 30                                                   A2406
         800-160 mg per tablet Take 1 tablet by mouth 2
         times daily for 7 days."
         - "Follow-up Information Schedule an
         appointment as soon as possible for a visit with
         [Internal Medicine MD in Clackamas, Oregon]."
         - "Method of Arrival: ambulance"
         - "Patient presents covered in feces with
         complaints of cold exposure. Patient reports that
         [they are] homeless, reports that [they have] been
         cold over the past couple days."
         - "Diagnostics and Procedures The following tests
         were ordered and independently interpreted by
         me: [None recorded] Labs Reviewed - No data to
         display No orders to display."
         - "Physical Exam ...
         Const: Alert, no acute distress, non-toxic
         appearance. Disheveled appearing however
         resting comfortable speaking full sentences
         without distress ...
         Resp: Lungs clear without wheezes, rales or
         rhonchi. No increased work of breathing. No
         chest tenderness.
         Cardiovasc: Normal rate and regular rhythm .
         Periphery well perfused.
         Abd/GI: Soft, non-tender, non-distended. No
         pulsatile abdominal mass.
         GU: No CVA tenderness.
         Skin: Pink, warm, dry. The right mandibular
         region shows a 3 cm x 4 cm area of erythema
         with associated induration, no fluctuance or
         subcutaneous emphysema. No active purulence.
         Another large area of superficial ulceration over
         the posterior neck. No active bleeding from either
         region . No fluctuance or
         subcutaneous emphysema appreciated .
         Ext: Atraumatic, grossly normal range of motion .
         No edema. No palpable venous cords
         Back: Normal inspection. No tenderness.
         Neuro: Alert & oriented , speech mildly slurred no
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         gross focal deficits. GCS 15.
         Psych: Affect normal. Appropriate attention,
         cooperation."
         - "[Pt 19] with a history of fentanyl abuse presents
         with cold exposure and wound to the right jaw .
         Patient reports that [they have] been cold over the
         past couple days. [Pt] reports that [they have] a
         chronically fractured jaw. [Pt] reports that [they
         have] a wound on the neck as well as the right
         jaw region that [they have] been picking at.
         Patient denies any recent trauma ... denies any
         worsening pain or redness but [they want] the
         wounds to be evaluated . [They deny] any difficulty
         breathing or swallowing .. . reports that [they are]
         hungry and is asking for something to eat ...
         denies any fevers, recent trauma, or any further
         associated complaints ... is disheveled/unkempt
         appearing however resting comfortably speaking
         full sentences without acute distress ... mildly
         tachycardic and borderline hypothermic with
         otherwise stable vital signs and no signs of acute
         distress. The right mandibular region shows a 3
         cm x 4 cm of erythema with associated
         induration, no fluctuance or subcutaneous
         emphysema. No active purulence. There is             I
         another large area of superficial ulceration over
         the posterior neck, no active bleeding from either
         region . No fluctuance or subcutaneous
         emphysema. Patient is protecting [their] airway ...
         exam is otherwise unremarkable. Clinical picture
         consistent with cold exposure. Patient has
         evidence of a wound on the right jaw as well as
         the neck that appears to have associated             I
         cellulitis . Patient has a normal mental status, is
         moving all extremities normally without any focal
         neurological deficits. [They are] protecting [their]
         airway .. . borderline tachycardic with otherwise
         stable vital signs . No concerns for acute stroke
         syndrome, sepsis, impending airway
                                                              I
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         compromise, or any other complicating features.
         During patient's emergency department visit [they
         were) showered and cleaned ... provided warm
         close [sic] and blankets. The patient was provided
         food and snack ... treated with a dose of
         antibiotics to cover for [their] acute infection,
         instructed to follow-up closely with outpatient
         providers. Patient was treated with Medications
         sulfamethoxazole-trimethoprim (BACTRIM OS)
         800-160 ma per tablet 1 tablet (1 tablet Oral
         Given          23 2002) naloxone (NARCAN) nasal
         liquid (Prepack) 4 mg (4 mg Nasal Dispense to
         Home            23 2139)."                            I
         - The note included an entry by MD F that
         reflected at "2124: Patient was being discharged
         when [they were] noted by staff to seemingly
         volitionally fall out of the wheelchair. No traumatic
         injuries noted. Staff returned [Pt] back to the
         wheelchair where [they] sat for a brief period of     I
         time and then continued to lower [their] legs to
         the ground. Security attempted to keep [Pt] in the
         wheelchair and the patient continued to slide out
         of the wheelchair to the ground. The patient was
         returned to the bedside where [they continue]
         resting seemingly comfortably protecting [their]
         airway, is withdrawing and localizing to pain in all
         4 extremities without distress. Patient is alert and
         tracking with [their] eyes protecting [their] airway
         however not answering my questions at this time .
         I see no traumatic injuries, no focal deficits or any
         signs of distress. I will try a little naloxone and
         continue to monitor."                                 I
         - The note included an entry by MD F that
         reflected at "2150: Naloxone administered.
         Patient reevaluated. No clinical change.
         Continues to be alert, breathing comfortably and
         moving extremities normally. NO signs of
         significant clinical decompensation, patient is       I
         stable for discharge. Patient has history of
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                   REGULATORY OR LSC IDENTIFYING INFORMATION)                      TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
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   A2406 Continued From page 33                                                    A2406
         fentanyl abuse and [their] mental status appears
         to be consistent with mild opioid intoxication
         (slurring speech, pinpoint pupils). [Pt] is           I
         oxygenating normally on room air without focal
         deficits. I do not think [Pt] warrants more doses of
         naloxone at this time. Police were summoned by
         staff due to patient's inability to be transported in
         wheelchair. Screening medical examination
         performed, no emergent medical condition
         identified ."

              2.d. Patient 19's       2023 encounter was
              captured on hospital video recordings (without
              audio capability) from multiple interior and
              exterior camera views. Those were reviewed with
              the EDM, CMO, DPSR, and QMC. It was noted
              for this Patient 19 encounter that timestamps on
              exterior and interior cameras did not always align
              and may have resulted in timestamp
              discrepancies of a minute or two between interior
              and exterior views. The video recordings showed
              the following :
              * 1826 Ambulance arrived and EMS transported
              Patient 19, who was awake and had head
              elevated on a gurney, into the ED through the      I
              ambulance entry.
              * 1832 In the ED WR/lobby near the triage rooms
              EMS staff removed the blanket and unbuckled
              Patient 19 who was on the gurney. Patient 19       I
              independently swiveled themselves to dangle
              legs off the gurney, stood up and walked without
              assist into TR3. EMS left the WR/lobby with the
              gurney.
              * 1901 Patient 19 was pushed by an EDT in an
              ED corridor and around a corner towards Room
              19.
              * The 1901 image was the last time Patient 19
              was shown on video recordings unit~ 2120.
              * 2120 Patient 19 pushed around corner from
                                                                 I
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                         0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:                                                                       COMPLETED
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
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  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
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   A2406 Continued From page 34                                                   A2406
         treatment room into ED corridor in a Stryker
         transport chair by a "Ride to Care" transport
         person, and was followed by a SO and RN . The
         patient was restrained around the waist, their
         head was slumped to the left, and they were
         positioned so that their back was partially on the
         chair seat as if they had slid down from a seated
         position . The SO and the RN attempted to pull
         the patient up in the chair. However, the patient's
         limp body slid further down so that their back was
         nearly entirely on the chair seat, their buttocks
         was off the chair seat, and their legs stretched out
         in front of the chair. The restraint was then
         positioned up on their chest under their arms.
         The patient made no purposeful movements and
         did not appear to be awake or alert.
         * 2121 The HS and MD F approached the scene
         in the corridor, observed the patient, and
         conversed with staff.
         * 2122 There was no attempt to reposition the         I
         patient and the transport chair was pulled
         backwards and moved back around the corner of
         the corridor towards the ED treatment room while
         the patient partially laid on the chair seat and legs
         were extended and dragged on the floor.
         * 2154 Five MPDOs entered the ED through the
         ambulance entry and proceeded through the ED
         towards down corridor towards the ED treatment
         room where Patient 19 was located.
         * 2209 MPDOs pushed the patient around the
         comer from the ED treatment room in a Stryker I
         transport chair. There was a restraint in place
         around the patient's waist and the patient's hands
         were handcuffed behind their back. The patient's
         head and upper body were slumped to the right
         and their lower legs and feet were dragged on the
         ground under the chair as the chair was pushed
         forward . An MPDO attempted to position the
         patient's legs/feet on the chair's foot rests but the
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STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                COMPLETED

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   A2406 Continued From page 35                                                   A2406
         patient appeared to not have control of their lower
         extremities.
         * 2212 Patient was shown being pushed in the
         transport chair from the hospital into the parking
         lot where multiple MPD vehicles were parked.
         The patient was slumped over in the chair.
         Although the nighttime parking lot video was
         grainy and dark, the officer's were seen to
         transfer the patient into the back seat of one of
         the police vehicles. Some MPDO's returned
         towards the hospital and four or five MPDO's
         remained in the parking lot near the vehicles.
         * 2225 Three MPDOs reentered the ED through
         ambulance entry doors and proceeded down a
         corridor where they stopped and interacted with
         staff. MD H joined the interaction then walked
         towards the ambulance entry/exit after two of the
         officers. A conversation between the officers and
         MD H occurred just inside the ambulance entry.
         * 2226 The officers and MD H walked out of the
         ED. MD H stopped just a step or two outside of
         the hospital at the doorway while the officers
         continued away from the hospital. MD H walked a
         few steps back into the ED, then turned around
         and walked back outside of the hospital and out
         towards the parking lot out of camera view.
         * 2227 Forty seconds after MD H walked out of
         the ED, MD H reentered the ED through the
         ambulance entry.
         * 2229 Two MPDOs entered the ED through
         ambulance entry doors and walked down
         corridor.
         * 2232 Two MPDOs exited the ED through the
         ambulance entry doors.
         * 2233 MD H walked down same corridor towards
         ambulance entry doors and exited to the
         sidewalk, then promptly turned around and           I
         returned into the ED and back down a corridor.
         * 2236 HS exited ED through ambulance entry
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AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:                                                                        COMPLETED
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  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
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   A2406 Continued From page 36                                                    A2406
         doors and walked into the parking lot near the
         vehicle that Patient 19 was placed in. The HS
         appeared to talk to MPDO's but did not approach
         the vehicle the patient was in.
         * 2241 HS walked towards the police vehicle the
         patient was in but did not get closer than a few
         feet away, then walked from the parking lot back
         into the ED.
         * 2250 The MPD vehicle the patient was in drove
         out of the hospital's parking lot towards the street.

              2.e. The current City of Milwaukie Police website
              page titled "Body Worn Camera Footage
              Released to Pending Open Records Requests"
              contained the following link to Body Worn           I
              Camera footage of 1 hour and 49 minutes worn
              by one MPDO from time of MPDO arrival at PMH
              through the time of arrival at the second hospital
              the patient was transported to:
              https:/lwww.:                                       I
                  The footage had audio, some of which was
              redacted. It was also redacted to cover the faces
              of PMH staff and other patients. It included the
              following excerpts and some of the times may be
              approximate:
              * 2157 MPDOs arrived to ED Room 19 where the
              patient was observed with HOB slightly raised,
              head slumped to the left, eyes closed , face gaunt,
              emaciated, bones prominent on right leg
              mid-thigh to mid-calf area that was not covered     I
              by pant leg and sock, minimal body movement,
              erratic and jerky leg movements, left leg slipped
              down between mattress and raised siderail,
              minimally responsive to PMH staff and MPDOs, I
              making moaning and guttural sounds only.
              * 2158 Hospital staff heard to say the patient "was
              a little more tired than [they were] previously."
              MPDOs attempted to converse with patient who
              did not respond and remained limp and lethargic
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   A2406 Continued From page 37                                                   A2406
         with periodic jerky extremity movements.
         * 2208 MPDOs transferred patient to transport
         chair. No PMH staff were present to assist with
         the transfer. The patient required two person full
         assist from MPDOs as their body remained limp
         and lethargic. The patient was handcuffed with
         their hands behind their back.
         * 2210 MPDOs pushed patient from treatment
         room down hallway to exit. Patient remained
         non-responsive, body slumped to the right, and
         legs/feet were periodically repositioned by
         MPDOs as they slid off the footrests . Hospital
         staff did not assist with the transport through the
         ED or positioning of the patient during that
         transport.                                             I
         * 2213 MPDO pushed transport chair through
         parking lot to the police car. The patient's left foot
         was off the footrest and dragged on the ground.
         An MPDO stated to another "Do you at all feel          I
         comfortable with anything that is going on right
         now?" The reply was "No." Then one said , "Who
         is somebody we could call to probably help with
         guidance?" They decided to call the on-duty
         Sergeant.
         * 2215 Patient was slumped over in chair in
         parking lot. MPDOs are heard to state that the
         patient ''won't stand, talk ... " and the patient was
         "not in any condition to be released. "
         * 2218 MPDO stated "No way [the patient] is even
         coherent enough to receive citation now."
         * 2223 Patient transferred with full assist into
         back seat of police car. They are slumped over
         and seat belted .
         * 2228 MPDO reentered hospital and asked for
         the "discharge papers." Approached a staff
         person and said , "Do you think [the patient's] just
         full of it, [faking it]?" The staff person responded
         that the patient "was not like that at all then
         literally right as the [earlier planned transport to a
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                         0MB NO 0938-0391
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
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   A2406 Continued From page 38                                                   A2406
         shelter) showed up and we said your ride is here
         ... the patient was against everything."
         * 2234 MPDO returned to the police car. An
         MPDO stated "What's the reason for taking [the
         patient to Unity]? [The patient] doesn't say
         [they're] gonna kill [themselves] or hurt anybody
         right? In fact [they haven't said anything, [they're]
         just drooling on [themselves] involuntarily ... "
         * 2236 The patient was seen through rear
         passenger door of the police vehicle to be
         slumped over with head on chest.                      I
         * 2238 MPDO heard in radio contact with
         someone and stated "we're doing a POH on this
         subject."
         * 2247 An MPDO called the patient's name and
         another officer responded that the patient was
         "not responsive."
         * 2250 The MPDO car with the patient inside
         drove away off hospital premises.
         * 2305 MPDO drove into the LEMC UCBH
         ambulance bay.
         * 2306 MPDOs waited for staff to present to the
         ambulance bay. One looked into the back seat
         window and stated to the other "do you see [the
         patient's] chest rising?"
         * 2308 MPDOs opened car door and one stated
         they didn't know if the patient had a pulse. The
         MPDOs transferred the patient from the car to the
         ambulance bay floor, removed the handcuffs and
         started CPR.

              2.f. During interview with staff that included the           I
              EDM, CMO, DPSR, and QMC on 12/19/2023 at
              1515 they stated that the hospital had started its
              investigation and was still in process, they had
              identified some preliminary areas to address
              related to complex patient safety and decision
              making issues, but had not implemented any
              changes at the time of this survey.
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  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
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   A2406 Continued From page 39                                                    A2406

              2.g. During surveyor interview with MD F on
              12/20/2023 at 1600 they confirmed they were
              Patient 19's physician on          2023 and
              provided the following information:
              * MD F saw Patient 19 for the first time when the
              patient was in ED treatment room 19. The MD
              had been told by staff that the patient had a
              "minor fall" with no report of injuries since they'd
              been in the ED.
              * The patient was "awake, alert, chronically
              unhealthy, and had not signs of distress or acute
              issues."
              * They "provided an MSE" that consisted of a
              discussion of the patient's wounds and history,
              and the MD "examined the patient." MD F
              determined the wounds could be infected so
              ordered antibiotics and assessed no indications
              for further workup or interventions. MD F
              determined that patient was "ok to discharge."
              * They did consider labs and other diagnostic
              testing but "didn't see" any signs of sepsis,
              distress, or other clinical necessity for lab orders.
              * The reported fall "didn't have any relevance to
              the patient's ED clinical course."
              * Regarding the decision to discharge MD F
              stated that there were "no emergency needs that
              would require reassessment." They stated that
              the "social worker" indicated they were able to get
              the patient to a shelter. They stated that "no one
              brought any concerns to indicate that that wasn't
              a good plan. "
              * Regarding the 85 minute gap in the medical
              record between 2002 and 2127 the MD stated the
              "I had moved on to other patients ... I was aware
              that the patient was waiting to discharge ...
              patient waiting for transport to shelter .. . no one
              reported any issues."
              * "Next thing" the RN reported that when they
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  NAME OF PROVIDER OR SUPPLIER                                                               STREET ADDRESS, CITY, STATE, ZIP COD E
                                                                                             10150 SE 32ND AVENUE
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   A2406 Continued From page 40                                                    A2406
         were trying to discharge the patient the patient
         had a "change of condition" and that the patient
         was purposefully dragging their legs and feet to
         prevent the wheelchair from being pushed
         forward .
         * MD F proceeded to the hallway where the
         patient was located to assess the behavior being
         described and witnessed staff physically picked
         up the patient's legs and placed them on the foot
         rest. The patient was "alert, eyes open , made eye
         contact with me ... when the wheelchair was
         pushed forward the patient seem ingly
         intentionally placed feet off of the footrest to the
         ground ... patient made eye contact but no verbal
         interactions ... a behavioral change was noted
         and I directed them to take patient back to the
         treatment room ... back in room 19 I reassessed
         patient ... they were awake, alert, tracking ,
         moving extremities ... they were in no distress but
         were notanswering questions ... I had no idea
         what was the change in patient's behaviors ...       I
         could have been possible reaction to previous
         Fentanyl use ... there was no medical reason to
         admit ... I wondered if Narcan would change
         behaviors ... the goal for Narcan administration
         was to see if that made any changes in patient's
         status ... I saw patient in room before and after
         Narcan administration ... I expected staff to
         conduct discharge activities and steps, including
         vital signs, and report any changes ... that did not
         happen ..."
         * Specifically regarding the Narcan order and
         administration MD F stated that it was not an
         "emergent use" because of hypoxia present.
         They stated that was "not the case for this
         patient" rather it was administered due to the
         behavior change for the patient who had a history
         of opioid use. MD F stated they did not expect
         that the patient was hypoxic, but the Narcan was
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   A2406 Continued From page 41                                                    A2406
         administered for a "behavioral concern ."
         * "I witnessed behaviors and agreed (Patient 19]
         was resisting. I reassessed the patient and found
         no issues and said the patient could be
         discharged."
         * Regarding MPD involvement MD F stated the
         patient was "medically cleared" and staff were
         attempting to discharge the patient. "If patients
         are not cooperating or have behaviors resistive to
         discharge staff will work with SOs to discharge. It
         the behaviors continue MPD is called." MD F
         stated they "can't remember who recommended
         that" course of action.
         * They talked with MPDOs outside of the patient's
         treatment room, introduced themselves, gave a
         little report, and thanked them . The MD stated
         they had no further contact or communications
         with the MPDOs.
         * They talked to MD H later who said MPDOs
         were going to bring the patient back into Room
         19, although MD F was confused about this at the
         time. MD F stated they conferred with the RN, the
         CRN, and the HS about whether that was
         happening. MD F asked the HS to go outside and
         assess and find out what was going on.
         * The HS returned to the ED and reported to MD
         F that MPDOs stated the were going to take the
         patient to LEMC UCBH. MD F said "I don't know
         if the HS saw the patient. "
         * "Never had anyone explicitly asked for [the
         patient] to be reassessed or expressed concern
         about [the patient's] condition".
         * They "did not consider a QMHP evaluation for
         psychiatric needs."
         * They didn't recall any EMTALA training for the
         past two to three years, and stated they are
         "facilitating transfers all the time."

              2.h. Review of PMH internal investigation
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
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                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
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   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EACH DEFICIENCY MUST BE PRECEDED BY FULL                      PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
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   A2406 Continued From page 42                                                    A2406
         documentation reflected a PMH interview with
         MD F conducted on ___W23. The information
         included: "I was contacted by the [RN] that [the
         patient] was intentionally forcing [their] legs out of
         the wheelchair in an attempt to not move the
         wheelchair further. The patient was awake and
         alert and tracking. The patient with no other neuro
         changes other than not answering questions no
         other acute changes noted . Ordered Narcan
         because of patient's hx and to see if there was a
         change in mental status, it was an attempt to see
         if there was an opioid component to [the patient's]
         change. I did multiple reassessments with no
         concerning mental status changes, no further
         decompensation."

              2.i. During surveyor interview with MD H on
              12/20/2023 at 1345 they confirmed they were on
              duty during Patient 19's        2023 encounter
              and stated they had not been Patient 19's ED
              physician. They provided the following
              information:
              * The only time they had seen the patient was
              when MPDOs wheeled past with "someone" who
              had their eyes open and sat upright.
              * They had overheard some communications at
              the nurses' station about a patient's change of
              condition after the patient heard they were going
              to be discharged.
              * Later MD H was in the corridor outside of an ED
              Room when two or three MPDO's approached
              MD H. The MPDO's began to address MD H
              directly and stated they had second thoughts and
              concerns about talking Patient 19 into custody
              and they didn't have a good place for the patient.
              MD H stated they couldn't recall the exact words
              MPDO's used but their wish to bring the patient
              back in was "clearly implied ."                    I
              * MD H stated they did not tell MPDO's to bring
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
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  PROVIDENCE MILWAUKIE HOSPITAL
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   A2406 Continued From page 43                                                    A2406
         Patient 19 back into the ED.
         * MPDO's "tone changed" during the interaction.
         MD H stated the an MPDO stated "If [the
         patient's] left at the bus stop and [they] freeze
         tonight that's on you" and the officer "made a
         point to call out my name."
         * They told MD F that MPDO's talked about
         bringing the patient back into the ED.
         * It was their understanding that HS went outside
         the hospital to check what the MPDO's concerns
         were.
         * They did not recall receiving any EMTALA
         training over the past two years .

              2.j . Review of PMH internal investigation
              documentation reflected a PMH interview with
              MD H conducted on             (2023. The information
              included regarding the "contact with the
              Milwaukie PD .. . 2-3 of the officers entered
              through the ambulance bay. They said that they
              had concerns taking the patient because they
              didn't know where to take [them]. I only know
              what I had heard that [the patient] had already
              been evaluated ... I said to them that [the patient]
              had been evaluated and I wasn't sure what the
              issue was ... the police said that they wanted to
              bring [the patient] back in and I said 'Well [the
              patient] had been evaluated and I wasn't sure
              what had changed although I didn't know the
              details of that evaluation .. . I followed them to the
              doors and one of them said again if [the patient]
              freezes again at the bus stop it will be on you ... I
              was concerned that they would take my
              statements as a refusal. I went back and told [MD
              F] and [HS] ... that the police had a concern with
              patient discharging ... I suggested that someone
              go out to check on the patient ... I also made the
              statement that if they suggested to check [the
              patient] back in to triage that we needed to see
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  PROVIDENCE MILWAUKIE HOSPITAL
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   (X4) ID            SUMMARY STAT EMENT OF DEFICIENCIES                            ID                   PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 44                                                    A2406
         that patient."

              2.k. During surveyor interview with Patient 19's
              RN on 12/20/2023 at 1500 they confirmed they
              were assigned as Patient 19's nurse on
                     '2023 and provided the following
              information :
              * It was their "first time taking care a homeless
              patient."
              * The first time they saw Patient 19 was when the
              patient was in the ED shower. The observation
              was for a moment and there was no verbal
              interaction. The patient was left to shower
              independently.
              * A few minutes later staff heard a "thump" and
              discovered the patient on the floor in the shower
              laying on their left side. The RN stated they
              looked for any trauma and asked the patient if
              they had hurt anything . The patient said "no." The
              RN stated the patient's affect was "apathetic. The
              patient sat up and the RN performed wound care
              to an area on the chin that was "not deep."
              * They did not take vital signs after the fall or at
              anytime during the rest of the patient's encounter.
              * "As soon as the patient was cleaned up MD F
              looked at [them]" and said they would discharge
              the patient with Bactrim .
              * After the RN told the patient they were going to
              discharge them the patient started resisting
              discharge by slumping over and dragging their
              legs as they were being pushed in the chair down
              the hall.
              * MD F saw the patient in the hall and said they
              were "being voluntari ly reluctant," that this was
              behavioral, there was clearly no medical issue,
              and directed staff to call the police to remove the
              patient.
              * The patient was moved back into the treatment
              room and the MD F did not go into see the patient
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
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  PROVIDENCE MILWAUKIE HOSPITAL
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   A2406 Continued From page 45                                                    A2406
         until the MPDOs got there.
         * After the patient was back in the room the RN
         went out to the nurse's station. MD F approached
         them and said "we're giving [the patient] Narcan
         ... wait to call the police until after [the patient]
         gets the Narcan."
         * The RN gave the patient a dose of Narcan in
         the patient's left nostril. "I told the patient I was
         going to give it ... [the patient] was not
         unconscious ... was in a bed ... eyes were moving
         ... motor skills not as active as normal ..."
         * They didn't see any signs of opioid overdose
         and MD F said the patient was "medically              I
         cleared."
         * "We call the police when anyone is reluctant to
         leave ... that seems to be what we do."
         * The RN determined that Patient 19's "reluctance
         to leave" was based on their "very purposeful ,
         resistiveness to mobility in the wheelchair with      I
         [their] feet, and slumping over." The RN stated
         the patient never said or verbalized any refusal to
         leave.

              2.1. During surveyor interview with HS RN on            I
              12/20/2023 at 1740 about Patient 19's
                      !023 encounter they provided the following
              information:
              * They were notified at the time of Patient 19's
              intended discharge that the patient was "refusing"
              to be discharged.
              * As they approached the location of the patient in
              the corridor they heard MD F say that the patient
              was "doing this volitionally ... [the patient] was just
              fine until we said we would discharge [them]" and
              now the patient would not sit up in the wheelchair
              and not respond to questions.
              * The patient was taken back to the treatment           I
              room . Their eyes were closed and they were
              "sliding out of the wheelchair. They weren't "limp"
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  PROVIDENCE MILWAUKIE HOSPITAL
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   A2406 Continued From page 46                                                    A2406
         or "slumped." They did stand to transfer to the
         bed. They were breathing normally, their color
         was ok, and there was "nothing to indicate
         distress" and "nothing about the patient's
         presentation alarmed me. The patient couldn't be
         discharged to the shelter at that time with their
         condition.
         * HS agreed with staff that the patient's behaviors
         were "on purpose" to avoid being discharged .
         * MD F asked the HS to go speak with MPDOs in
         the parking lot because of MPDO's "negative
         interaction" with MD H. The HS stated that MD F
         did not ask them to evaluate the patient.
         * The HS stated that MPDOs reported they were
         "not happy to take the patient" who was drooling
         on themselves and was someone who could not
         take care of themselves in the "state they are in."
         * MPDOs stated the jail refused to take the
         patient. They had decided to place the patient on
         a police hold and take them to LEMC UCBH.
         * MPDOs did not ask to check the patient back        I
         into the ED.
         * The HS stated they did not see the patient, did
         not lay eyes on the patient, and that MPDOs
         never asked them to.
         * MPDOs asked if patient could stay in WR/lobby
         and HS told them that was not a good option.
         * The HS confirmed they had not documented
         any of their interactions in the patient's record or
         elsewhere, as their role was to "facilitate
         process."
                                                                           I
              2.m. Review of PMH internal investigation
              documentation reflected a PMH interview with HS
              RN conducted on           2023. The information
              included:
              * "MD F asked me to go out and see what the
              police officers are doing and so I did ... I did not
              observe the patient [they] were in the officer's
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  PROVIDENCE MILWAUKIE HOSPITAL
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   A2406 Continued From page 47                                                   A2406
         care. The police said : 'Ya, you know we are
         concerned about the liability this patient does not
         look like [they] can take care of [themselves].
         [HS] said , our doctors have evaluated [the
         patient] and said that [they are] back to [their]      I
         baseline. [Police said] Well , if we drop [the
         patient] off somewhere and [the patient] freezes
         to death ... [they're] drooling on [themselves], and
         [they don't] seem like [they] can take care of
         [themselves]."'                                        I
         * During the PMH interview the HS was asked
         ""Just to clarify, did you advise [the police] that we
         are able to perform mental health assessments."
         The HS responded 'They never asked for the
         patient to be evaluated or reevaluated and I did
         not suggest for them to bring [the patient] back."

              2.n. Current hospital and professional
              organization literature about naloxone (Narcan)
              was reviewed :
              * The "Naloxone [Nasal Liquid: Restricted]
              (Providence Acute Care Formulary)" document
              "Last Updated 11/20/23" was reviewed. It
              included the following information:
              - "Opioid reversal , life-threatening overdose:
              Note: Patient selection : For patients without
              normal breathing but with a pulse (as assessed
              by a health care provider), the [AHA]
              recommends naloxone administration . For
              patients without normal breathing and without a
              pulse (as assessed by a health care provider),
              the AHA recommends initiation of CPR, the use
              of an automated external defibrillator, and
              consideration of naloxone administration."
              - Side effects included: "High or low blood
              pressure like very bad headache or dizziness,
              passing out, or change in eyesight - Seizures -
              Shortness of breath - Chest pain or pressure, a
              fast heartbeat, or an abnormal heartbeat - A
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   A2406 Continued From page 48                                                   A2406
         burning, numbness, or tingling feeling that is not
         normal - Mood changes - Hallucinations ... -
         Signs of an allergic reaction, like rash; hives;
         itching; red, swollen, blistered, or peeling skin       I
         with or without fever; wheezing; tightness in the
         chest or throat; trouble breathing, swallowing , or
         talking; unusual hoarseness; or swelling of the
         mouth, face, lips, tongue, or throat. "
         - "Monitoring Parameters: Respiratory status
         (oxygenation and ventilation), level of
         consciousness, heart rate, blood pressure,
         temperature, signs or symptoms of opioid
         withdrawal."
         - "Nursing Physical Assessment/Monitoring:
         Monitor for signs and symptoms of acute
         withdrawal in opioid-dependent patients (pain,
         tachycardia, hypertension , fever; sweating,
         abdominal cramps, diarrhea , nausea, vomiting ,
         agitation , and irritability). Monitor for symptoms of
         acute withdrawal in opioid-dependent
         patients (pain, tachycardia, hypertension, fever; I
         sweating, abdominal cramps, diarrhea, nausea,
         vomiting, agitation, and irritability). Monitor signs
         and symptoms of cardiovascular instability
         (ventricular fibrillation) following abrupt reversal of
         opioid antagonists."

              * The current Federal DHHS NIH National Library
              of Medicine article titled "Naloxone" with "Last
              Update: April , 29, 2023" included the following
              information :                                        I
              - "Naloxone is indicated for the treatment of
              opioid toxicity, specifically to reverse respiratory
              depression from opioid use."
              - "Naloxone has few side effects. The most
              common are those of acute withdrawal from
              opioids, such as anxiety, aggression , nausea,
              vomiting, diarrhea, abdominal pain , and
              rhinorrhea. In rare cases, the use of naloxone
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STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
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   A2406 Continued From page 49                                                   A2406
         can precipitate noncardiogenic pulmonary
         edema. The incidence of naloxone-induced
         noncardiogenic pulmonary edema is estimated to
         be between 0.2% and 3.6% of patients who have
         received naloxone and are transported to the
         emergency department. Symptoms include
         persistent hypoxia, despite the resolution of
         respiratory depression secondary to acute
         overdose. Patients may also have a cough
         productive of the classic 'pink, frothy sputum ,'
         indicative of pulmonary edema. Chest
         radiography will be consistent with the findings of
         pulmonary edema. It bears mention that the onset
         of noncardiogenic pulmonary edema occurs
         within 4 hours in most patients. However, there
         have been case reports of delayed onset of up to
         8 hours after naloxone administration."
         - "Patients who overdose on opioids can have not
         only respiratory depression but also hypotension.
         These patients should be resuscitated like any
         other patient and monitored . Additionally,
         naloxone administration also can trigger an acute
         withdrawal syndrome, which can present with the
         following symptoms:
         Nausea - Diaphoresis - Vomiting - Tachycardia - I
         Cardiac Arrest."
         - "In chronic opioid users, naloxone requires slow
         administration to individuals w ho are dependent
         on opioids. All patients who have responded to
         naloxone should be continuously monitored for at
         least six to 12 hours since some opioids
         (methadone, fentanyl , buprenorphine) have a
         much longer half-life than naloxone. The half-life
         of naloxone in adults varies from 30 to 80
         minutes. The patient should have vital signs,
         including pulse oximetry, monitored until obtaining
         a full recovery. Even after reversing respiratory
         depression, the patient must be monitored for at
         least six to 12 hours because the patient may
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ _ __                               COMPLETED

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                                                   380082                       B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                           02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EACH DEFICIENCY MUST BE PRECEDED BY FULL                      PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                      TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
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   A2406 Continued From page 50                                                    A2406
         have ingested the longer-acting opioids, which
         will continue to exert their effects after excretion
         of the naloxone. Any patient that requires IV        I
         naloxone doses of more than 5 mg should be
         admitted."
         - "For those who completely reverse with 0.4 to 2
         mg of naloxone, observation in the emergency
         room for two to four hours is prudent. If the
         patient is stable, then discharge is recommended .
         In general, patients considered for discharge after
         reversal of the opioid overdose with naloxone
         should:
         Be fully mentally alert with a Glasgow coma scale
         of 15.
         Not require further dosing of naloxone in the
         emergency.
         Have an oxygen saturation of at least 92% on
         room air.
         Have a respiration rate of no less than ten
         breaths per minute.
         Have a pulse rate of no less than 50 or no more
         than 120 beats per minute.
         Have a blood pressure between 110/90 to 140/90
         mmHg.
         Be able to tolerate clear liquids, ambulate, and
         have no withdrawal symptoms.
         Have someone drive the patient home and
         monitor the patient for the next 12 to 24 hours."
              ************************************************

              3.a. The central log for Patient 21b reflected that
              they presented to the ED on         2023 at 0340
              with a "Chief Complaint" of "[ambulance]." The
              "ED Disposition" on the log was "Arna" on
                    '2023 at 0354.

              3.b The findings that follow for this encounter
              reflected discrepancies or contradictions in the
              EHR, inconsistencies between the EHR
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STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:                                                                        COMPLETED
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                                                   380082                      B. WING
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STATEMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EAC H DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
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   A2406 Continued From page 51                                                   A2406
         documentation and video recordings and
         interviews, and reflected that the hospital did not
         fulfill its EMTALA obligation for Patient 21 b. For
         example:                                            I
         * A MSE that included an evaluation of the
         behavioral/psychiatric symptoms the patient was
         brought to the ED for was not conducted.
         * Inside the ED the patient was never removed
         from the EMS gurney, and EMS was instructed by
         hospital staff to remove the patient from the ED .
         * It was unclear how it was determined that this
         patient who exhibited behavioral/psychiatric
         symptoms had the capacity to participate in the
         AMA informed consent discussion that was
         documented in the EHR.
         * A "Vulnerable Patient Discharge (VPD) Safety
         Review'' was not initiated in accordance with the
         IJ Removal Plan for this patient who was
         houseless and who demonstrated                      I
         behavioral/psychiatric symptoms. During
         interview with the EDM on 01 /31/2024 at~ 1130
         they confirmed that a VPD review form had not
         been completed for this encounter.

              3.c. The medical record for Patient 21 b's
                    '2023 ED encounter was reviewed and
              included the following information:
              * An AMR ambulance report reflected that on
                     2023 at 0312 EMS was dispatched for
              Patient 21 b who was "found to be laying on train
              tracks by a passer by, when approached the pt
              claimed [they were] having chest pain and having
              a heart attack and needed to go to the hospital so
              the passer by called 911 . Upon arrival of
              [CCFDU] pt began being uncooperative and
              verbally hostile. MPD was requested by [CCFDU].
              For the duration of the call the pt was talking
              almost non stop in a stream of consciousness
              kind of way and in no visible distress. Pt made
                                                                 I
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                       B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                           02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EACH DEFICIENCY MUST BE PRECEDED BY FULL                      PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                      TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
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   A2406 Continued From page 52                                                    A2406
         many statements about how [they] hated all
         (opposite gender persons] and did not want to
         answer questions or be touched. [AMR arrived] to
         find pt seated in a chair in front of a tavern in the
         care of [CCFDU] and MPD. Got report ... Pt being
         belligerent and not letting [CCFDU] assess [them]
         and yelling at MPD. Made contact with the pt
         offered to take [them] to the hospital, and           I
         eventually [they] transferred [themselves] from
         the chair to the gurney. Moved to ambulance and
         loaded . Initiated transport and got cursed at the
         entire ride to the hospital. Pt remained stable and
         did not try to strike out during the call. Unloaded
         gurney moved into ED, gave report to triage
         nurse, nurse addressed pt. Pt told triage nurse       I
         [they] did not want to be evaluated. Nurse
         instructed us to take [Patient 21] outside and let
         [them] loose. Moved gurney to outside near a
         bench and pt was assisted from the gurney to the
         bench cursing all the while. Primary impression:
         Behavioral/Psychiatric - Psychotic Episode ...
         Primary Symptom : Abnormal behavior .. . Chief
         Complaint Category: Chest Pain. Factors
         Impacting Care: Uncooperative, Other, and
         Psychologically Impaired." EMS arrived at PMH,
         one mile from the scene, at 0338.

              * The ED Care Timeline reflected the following
              chronology of events on         /2023 for this
              encounter:
              - 0340 "Patient arrived in ED ... Arrival Complaint
              (ambulance] ... ED Information Exchange
              Resulted Abnormal Result ... " were recorded.
              - 034 7 DO K recorded "ED Disposition set to
              AMA."
              - 0348 DO K recorded "Provider Contact Initiated"
              and wrote "[Patient 21] has made the decision to
              leave the current treatment against the advice of
              me. [Patient] has been informed and understands
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:                                                                        COMPLETED
                                                                                A. BUILDING
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                                                   380082                       B. WING
                                                                                                                                           02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EACH DEFICIENCY MUST BE PRECEDED BY FULL                      PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                      TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
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                                                                                                                  DEFICIENCY)



   A2406 Continued From page 53                                                    A2406
         the inherent risks, including death. [Patient] has
         decided to accept the responsibility for [their]
         decision. [Patient] and all necessary parties have
         been advised that [patient] may return during any
         business hours for further evaluation or
         treatment. [Their] condition at time of discharge
         was at [their] apparent baseline. [Patient] had
         current vital signs as follows: LMP [sic]
                       [sic]."
         - 0349 RN wrote "Pt arrives with EMS after being
         called by bystander for [person] down by tracks.
         Upon arrival pt doesn't want to give name. Pt
         states I don't want to be seen here. Upon quick    I
         review of [Patient's] chart I see [they were] just
         seen and left AMA from OHSU yesterday. Pt is at
         baseline according to chart and previous
         encounters with this writer. Pt refused for MD
         evaluation and left out the back door with EMS.
         MD present and aware."
         - 0354 RN recorded "Patient dismissed."

              * The Medical record included:
              "Other Orders ... EDIE ED INFORMATION
              EXCHANGE ... (Abnormal) ... 3+ ED Locations in
              90 Days 5+ ED Visits in 12 Months ... ED Care
              Guidelines from Tri-County 911 Last Updated:       I
              8/24/23 1:04 PM Care Recommendation:
              - Client Care Team Currently working to schedule
              assessment for referral to a higher level of care.
              - Please speak with the [client] to identify where
              [they are] staying within the community and if
              [they] would like a referral to housing/supportive
              housing.
              - During business hours please make an attempt
              to connect the [client] with Aging [sic] Case
              Manager [Name] to check in and identify next       I
              steps for assessment.?
              - Please make an attempt to complete a mental
              status exam
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STATEMENT OF DEFICIENCIES                 (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                          IDENTIFICATION NUMBER:                                                                        COMPLETED
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                                                      380082                       B. WING
                                                                                                                                              02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                                 STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                               10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                               MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                              ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EACH DEFICIENCY MUST BE PRECEDED BY FULL                         PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
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   A2406 Continued From page 54                                                       A2406
         - Please make an attempt to complete an up to
         date mental health assessment.
         Current Providers: [Name, credential], LCSW,
         Tri-County 911 , Monday through Thursday
         5am-3pm . [Phone number]. [Name]
         Aging/Disability Services Milwaukie Branch,
         [Phone number]. [Name] Clackamas County ICC,
         Monday through Thursday Business Hours,
                                                       I
                                     II
         [Phone number] ...

              The EDIE information reflected the patient had a
              total of 113 ED visits in the past 12 months in 11
              Portland Metro area hospitals. Visits were for a
              myriad of complaints, including psychiatric and     I
              behavioral.
              The information reflected that patient had a total
              of 10 inpatient visits in the past 12 months in six
              Portland Metro area hospitals, those included four
              psychiatric hospitalizations.

              * On i - - --?024 at 1036 DO K electronically
              signed the final version of their "ED Provider
              Note" that included the following information:
              "No chief complaint on file . The pt was triaged to
              Room [no room number recorded] and the
              nursing notes were reviewed ... [Patient 21]
              brought in by ambulance as bystander found             I
              patient at bus top [sic] and called 911 . Patient
              does not want to be here, is demanding to leave,
              stating EMS took [them] against [their] will. This is
              a patient the staff is familiar with and states
              [patient] is at [their] baseline. [Patient] is denying
              medical complaints and refusing exam. Patient
              has intentional movements but does not provide
              any useful history or linear story ... yells
              expletives at staff. Chart review reveals nearly
              daily contact with emergency department end of
              this month alone. Patient's behavior today
              appears consistent with [their] baseline behavior
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AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                       B. WING _ _ _ _ _ _ _ _ __
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  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 55                                                    A2406
         and mentation. Patient has a history of Chronic
         heart failure, coronary artery disease, severe
         protein calorie malnutrition, bipolar, cannabis use ,
         alcohol abuse, heroin abuse , homelessness,
         benzodiazepine dependence. Patient has the
         following medications prescribed: Trazodone,
         tramadol, Depakote, Ability, Cymbalta. The
         patient's physical exam was remarkable for
         chronically ill appearing [person] in no acute
         distress ... has a small excoriation to ring finger
         with mild bleeding, patient refuses bandaid.
         Multiple diagnoses were considered including, but
         not limited to laceration, AMS, schizophrenia , cold
         exposure. Based on the above data, I felt that the
         patient's clinical picture was most consistent with
         laceration not requiring repair. [Patient] refuses
         any care here. Per chart review [patient] appears
         to be at [their] baseline and does not require
         acute interventions. After considering the risks
         and benefits of inpatient versus outpatient
         treatment, I felt that patient is stable for
         discharge. Risks and benefits of treatment plan
         was discussed with the patient prior to
         disposition. Impression: 1. Laceration of right ring
         finger without damage to nail, foreign body
         presence unspecified, initial encounter ...
         Procedures [None listed]."

              * Medical record documentation also reflected:
              - "Labs ... No documentation. Imaging ... No
              documentation. Procedures ... No
              documentation."
              - "Patient Education .. . No documentation. Patient
              Instructions .. . No documentation. After Visit
              Summary .. . No documentation."

              3.d. Patient 21b's      '2023 encounter was
              captured on hospital video recordings (without
              audio capability) from multiple interior and
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                         0MB NO 0938-0391
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AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ _ __                              COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
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   A2406 Continued From page 56                                                   A2406
         exterior camera views. Those were reviewed on
         01/31/2024 with staff that included the EDM. It
         was noted for this Patient 21 encounter and the
         other encounters that follow in this report, that
         timestamps on exterior and interior cameras did
         not always align and may have resulted in
         timestamp discrepancies of a minute or two
         between interior and exterior views. The video
         recordings showed the following:
         * 0340 EMS transported patient on gurney
         through the ambulance entry and into ED hallway
         near nurse's station. RNs approached and
         verbally interacted with EMS and patient. No
         physical contact with patient was made or
         attempted.
         * 0343 DO K approached and verbally interacted
         with EMS and patient while patient remained on
         the gurney. No physical contact was made or
         attempted .
         * 0344 DO K walked away down a corridor.
         * 034 7 EMS transported patient on the gurney
         and exited the hospital.
         * 0349 Patient 21 transferred with assistance by
         EMS from gurney to a bench outside of hospital's
         ED entrance and EMS walked back towards the
         ambulance entry.
              ************************************************

              4.a. The findings that follow for Patient 21 's next
              encounter described under this finding reflected
              that the hospital did not fulfill its EMTALA
              obligation for Patient 21 c. For example:
              * The encounter was not entered onto the log.
              * A medical record was not generated.
              * It was unclear to what extent an MSE was
              conducted.
              * A "Vulnerable Patient Discharge (VPD) Safety
              Review'' was not initiated in accordance with the
              IJ Removal Plan for this patient who was
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:                                                                        COMPLETED
                                                                                A. BUILDING
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                                                   380082                       B. WING
                                                                                                                                           02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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         houseless. During interview with the EDM on
         01/31/2024 at~ 1130 they confirmed that a VPD
         review form had not been completed for this
         encounter.
                                                                           I
              4.b. Hospital video recordings (without audio
              capability) captured a subsequent ED encounter
              for Patient 21c on        2023, after Patient 21 's
              previous encounter described in Finding 3 above .
              During the review the EDM stated they were
              unaware of this encounter that showed the
              following :                                         I
              * 0352 SO approached patient who was sitting
              outside the ED entrance on a bench and verbally
              interacted.
              * 0356 SO returned to the hospital.
              * 0357 SO reapproached patient with a               I
              wheelchair and verbally interacted.
              * 0400 SO returned the wheelchair to the hospital.
              * 0409 HS, accompanied by a SO, approached
              patient who remained sitting outside the ED on a
              bench and verbally interacted.
              * 0415 Second SO arrived to the bench and the
              HS returned to the hospital.
              * 0417 Two SOs returned to the hospital.
              * 0419 DO K and the HS approached the bench
              and verbally interacted with the patient. The HS
              returned to hospital and shortly after returned to
              the bench outside with a wheelchair.
              * 0425 After two SOs joined DO K, and HS, and
              the patient transferred into a wheelchair, the
              group entered the hospital through the ED
              entrance with Patient 21 who was transported in a
              wheelchair.
              * 0426 Group walks through the ED WR/lobby          I
              and into the corridor that led into the ED.
              * 0431 HS and two SOs exited through the door
              of Triage Room 2 into the WR/lobby and the SOs
              exited the hospital through the ED entrance with
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                       B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                           02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX          (EACH DEFICIENCY MUST BE PRECEDED BY FULL                      PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                      TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
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   A2406 Continued From page 58                                                    A2406
         the patient who was transported in a wheelchair.
         * 0433 SOs pushed the wheelchair with the
         patient away from the hospital, down the slight hill
         that leads to the hospital, towards the main street
         where a TriMet bus stop was located.

             4.c. Review of the central log revealed no
              evidence of Patient 21 e's encounter shown in the
              video recording that began at 0352 . The log
              reflected only one visit for the patient on
             I       2023 described under Finding 3 above that
              had ended with a disposition of "Arna" on
                     2023 at 0354.

              4.d. A medical record had not been generated for
              Patient 21 e's encounter shown in the video
              recording that began at 0352. The medical record
              for the prior visit on     2023 described under
              Finding 3 above concluded when the RN
              documented "Patient dismissed" at 0354.

              4.e. During interview with DO K on 02/05/2024 at
              1600 they provided the following information
              about their encounter/interaction with Patient 21
              during the early morning on         2023:
              * DO K stated that they conducted a physical
              exam of Patient 21 wh ile the patient was on the
              gurney. The patient refused care and "called us
              all names ... said we were holding [them] against
              [their] will." The EMS providers and CRN all said
              the patient was at "baseline." EMS took the
              patient to a bench outside.
              * The DO stated that later the patient was brought
              back inside the hospital and taken to Triage
              Room 3. While there the DO stated the patient
              spit on the DO. The DO stated they offered the
              patient a sandwich and to spend the night,
              however the patient wanted to go to OHSU, so
              they let the patient go.
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                       B. WING _ _ _ _ _ _ _ _ __
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  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 59                                                    A2406
         * The DO stated they considered the events that
         occurred outside as shown in the video-recording
         to be a continuation of the previous visit
         (described under Finding 3 above).
         * They stated the "total time" spent with Patient
         21 was "45 minutes" in the ED and outside the
         hospital.
              ************************************************

              5.a. The central log for Patient 21d reflected that
              they presented to the ED on         2024 at 2219
              with a "Chief Complaint" of "Weakness." The "ED
              Disoosition" on the log was "Lwbs After Triage" on
                     2024 at 2300.

              5.b. The findings that follow for this encounter
              reflected inconsistencies between the EHR
              documentation, video recordings, SO reports , and
              interviews, and reflected that the hospital did not
              fulfill its EMTALA obligation for Patient 21 d. For
              example:
              * A MSE that included an evaluation of the
              behavioral/psychiatric symptoms and distress the
              patient exhibited that brought them to the ED was
              not conducted.
              * There was no documentation by the MD who
              saw the patient.
              * SO reports reflect they were called to the room
              for a "pre code gray."
              * It was unclear how it was determined that this
              patient who exhibited behavioral/psychiatric
              symptoms had the capacity to participate in the
              AMA informed consent process that was
              documented in the EHR.
              * Although a "Vulnerable Patient Discharge (VPD)
              Safety Review" was initiated in accordance with
              the IJ Removal Plan, is was unclear why the VPD
              Competent RN had not gathered the IDT for
              review of Patient 21 d's encounter to ensure they
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                           0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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  NAME OF PROVIDER OR SUPPLIER                                                              STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                            10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                            MILWAUKIE, OR 97222
   (X4) ID             SUMMARY STAT EMENT OF DEFICIENCIES                           ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 60                                                    A2406
         received an MSE that included a behavioral
         health assessment. The patient was houseless,
         demonstrated behavioral/psychiatric symptoms,
         and had mobility and self-care impairments.

              5.c. The medical record for Patient 21d's
             ,___2024 ED encounter was reviewed and
              included the following information:
              * An AMR ambulance report reflected that on
                     /2024 at 2159 EMS was dispatched for a
              "Code one for back pain ... [Patient] was in a
              wheelchair at the bus stop, [they) asked a
              bystander to call 911 for [them) ." EMS arrived at
              the scene and found patient sitting in wheelchair
              "alert and breathing normally ... screaming out
              over and over, [they were] able to stand and sit
              on the gurney ... only would allow for a blood
              pressure and pulse oximetry ... would not take
              [their] jacket off for the blood pressure ... blood
              pressure was elevated ... was transported to the
              hospital of [their] choice for further evaluation ...
              would not allow for EMS to do a physical
              assessment." EMS arrived at PMH , 2 miles from
              the scene, at 2217.

              * The ED Care Timeline !reflected the following
              chronology of events on _ _...?024 for this
              encounter:
              - 2219 "Patient arrived in ED ... Arrival Complaint
              [ambulance] ... ED Information Exchange
              Resulted Abnormal Result ..." were recorded.
              - 2220 RN recorded "Means of arrival ...
              [ambulance)"
              - 2220 RN recorded "To room ED04."
              - 2223 RN recorded "Triage Start ... Arrived From
              ... (bus stop/homeless)"
              - 2224 RN recorded "Chief Complaints Updated
              Weakness (Generalized pain)" and "Pt BIBA code
              q with complaints of generalized weakness and
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STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
   PREFIX           (EAC H DEFICIENCY MUST BE PRECEDED BY FULL                   PREFIX              (EACH CORRECTIVE ACTION SHOULD BE         COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE           DATE
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   A2406 Continued From page 61                                                   A2406
         generalized pain. Pt reports 'someone broke all
         my bones'. Pt was seen at OHSU today with the
         same complaint .. . Homeless ... pt ambulatory
         with little assistance to stretcher but would not
         ambulate to bed upon arrival."
         - 2228 RN wrote "Pt has adamentaly declined
         any vitals. Pt demanding a cigarette and coffee.
         Pt will not allow this RN to remove jacket for
         examination or to obtain vitals."
         - 2233 RN wrote "Charge RN at bedside to
         encourage patient to receive medical evaluation.
         Pt continues to decline medical evaluation. Pt
         demanding to leave. Security at bedside. Nursing
         supervisor at doorway."
         - 2235 RN wrote "Charge RN at bedside to
         explain AMA paperwork. Pt again offered medical
         evaluation by RN and provider. Pt continues to
         decline and requests to leave. Pt signed AMA      I
         form . MD aware."
         - 2238 RN wrote "Security at bedside to assist
         patient to bus stop per patient request. MD at
         bedside. Patient refused shoes offered to [them].
         Pt ambulates with steady gait and walker
         assistance out of room. Pt talking in complete
         sentences. No acute distress."
         - 2300 RN wrote "Patient discharged ... ED
         Disposition set to LWBS after Triage."

              * The Medical record included the identical "Other
              Orders ... EDIE ED INFORMATION EXCHANGE
              ... (Abnormal)" result and recommendations
              found under Finding 3 above.
              - Please make an attempt to complete an up to
              date mental health assessment."

              * Medical record documentation also reflected:
              - A form titled "Leaving Facility without a Medical
              Screening Exam/LWBS" had been completed by
              an RN, reflected the "Reason for refusal of
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 62                                                   A2406
         treatment" was "'I don't want to [expletive] be
         here."' It was signed and dated by the RN as
                 2024 at 2235, and was signed by the
         patient.
         - "Clinical Notes ... No documentation. Labs ... No
         documentation. Imaging ... No documentation.
         Procedures ... No documentation."
         - "Patient Education ... No documentation. Patient
         Instructions ... No documentation. After Visit
         Summary ... No documentation."

              5.d. Patient 21d's         2024 encounter was
              captured on hospital video recordings (without
              audio capability) from multiple interior and
              exterior camera views that showed the following:
              * 2217 EMS entered hospital through ambulance
              entry with the patient gurney, patient was seated
              and slumped/leaned to the right.
              * 2218 EMS moved gurney into ED Room 4
              directly across from the nurses station.
              * 2220 MD H approached Room 4 and stood
              outside the doorway for 12 seconds, looked
              inside for two seconds, did not enter room , and
              walked away.
              * Between 2220 and 2232 and all the while the
              patient was in Room 4 multiple staff entered and
              exited the room repeatedly while other multiple
              staff lingered outside of the room , standing or
              milling near the room doorway, including one or
              two at a time of who sat on a gurney outside of
              the room.
              * 2232 MD H approached Room 4, stood outside
              the doorway and looked in for seven seconds, did
              not enter the room, and walked away.
              * 2233 CRN entered room with a piece of paper
              in hand. MD H approached and looked towards
              the room for two seconds. CRN exited room 30
              seconds later with piece of paper in hand.

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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
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   A2406 Continued From page 63                                                   A2406
         * 2235 MD H entered Room 4.
         * 2236 MD H exited the room after~ one minute
         and two seconds. MD stood at or near the
         doorway for ~ 30 seconds, then walked away          I
         from the room down a hallway.
         * 2238 Pt ambulated out of room with a walker,
         wore pink socks and no shoes. A SO and an EDT
         who pushed an empty Stryker transport chair
         followed behind patient. At the ambulance entry
         door the SO took the walker from the patient who
         sat on the transport chair.
         * 2240 Pt exited building in transport chair pushed
         bya SO.
         * 2241 SO pushed patient in transport chair
         downhill towards street where bus stop located.

              5.e. Review of a "Vulnerable Patient Discharge
              (VPD) Safety Review'' form signed by the VPD
              Competent RN on            2024 at 2250, after the
              patient had left the hospital, reflected that the
              VPD RN "agrees that the discharge plan is safe
              and appropriate" and that the IDT had not been
              gathered to review the encounter further. The
              section of the form for the IDT review was blank.

              5.f. A "Security Services Incident Report"
              reQarding Patient 21d reflected an occurrence on
                      W24 at 2333 [sic]. The SO wrote that "I
              was called to a pre code gray in room # 4 for an
              uncooperative patient . As soon as I arrived, I
              noticed the patient was a frequent visitor to the
              hospital , [Patient 21] ... known to have aggressive
              behavior towards staff. As I entered the room , I
              could hear [the patient] yelling and cursing at staff
              saying [they] didn't want to be here. [Names of
              three RNs, HS, and CRN] , were all standing
              outside the room . [CRN] and [HS] entered the
              room to talk to [the patient]. [Patient 21] was
              stating that [they] did not want to be seen at the
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
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   A2406 Continued From page 64                                                   A2406
         hospital and was asking to leave. [CRN] and [HS]
         both asked [the patient] multiple times if [they
         were] sure [they] didn't want to receive care from
         the hospital, which [patient] then replied multiple
         times that [they] didn't want to receive care. [MD
         H] also attempted to talk to [the patient], but [the
         patient] just said [they] wanted to not receive
         care. [CRN] then had [patient] sign some
         paperwork refusing care, which [patient] Signed.
         Then [Names of two RNs] attempted to provide
         shoes from our supply closet to [the patient], but
         [patient] refused them. I asked [the patient] how
         [they were] going to get home and [they] said
         [they were] homeless but wanted to take to [sic]
         bus, so I provided [them] a bus pass. [The
         patient] was having a hard time walking but
         refused to have me push [them] to the bus stop in
         a wheelchair. [Patient] attempted to use a walker
         that the hospital was providing [them] to use so
         [they] could make it to the bus stop but decided I
         [they] would like to have me help [them] to the
         bus stop in a wheelchair. As I was escorting [the
         patient] to the bus stop in the wheelchair, was
         met by [other SO]. I brought [patient] to the bus
         stop on SE 32nd Ave. Once I helped [patient] to
         the bench at the bus stop, [other SO] and I begin
         to make our way back to the hospital, we noticed
         a bus pull up to the stop and as [patient] was
         attempting to board the bus the driver shut the
         door and drove away leaving [Patient 21] at the
         bus stop. After returning the wheelchair to the
         hospital [other SO] decided to head back to the
         bus stop to make sure the bus driver doesn't
         drive off without [the patient] again. I stayed up at
         the hospital. Nothing further to reoort." The report
         was electronically signed on          2024 at 1050.

              5.g. A "Security Services Incident Report" bv the
              other SO reflected the occurrence on         2024
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
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   A2406 Continued From page 65                                                   A2406
         at 2333 [sic]. The SO wrote that "Earlier in the
         shift, [another SO] escorted a discharged [Patient
         21] to the bus stop. I assisted, and saw the bus
         pull up and leave without [the patient]. While on a
         patrol of the parking lots a few minutes later, I
         heard yelling coming from the bus stop located in
         front of the Providence Healing Place. As I
         approached , I saw [Patient 21] sitting on the
         ground in the bus shelter. I asked [the patient] if
         [they] needed medical attention and [they] said,
         'No, need a cigarette'. I asked [the patient] if they
         needed assistance getting up from the ground,
         and [they] said, 'Yes. [Patient 21] asked if I could
         stay with [them] until the bus arrived and I agreed .
         I stayed with [the patient] until the bus arrived,
         and assisted [them] in getting to the door. The       I
         driver became irate with me for assisting [the
         patient] and I explained that the previous bus left
         without [the patient] and that I was assisting just
         [the patient] . The bus then pulled away and I
         cleared the call." The report was electronically      I
         signed onl.        2024 at 1548.

              5.h. During interview with MD H on 02/06/2024 at
              ~ 1830 they provided the following information
              about their encounter/interaction with Patient 21 I
              on          2024:
              * The worked the 1700 to 0100 shift that began
              on          2024.
              * The patient arrived by EMS and there was
              difficulty getting them settled as the patient began
              to express they wanted to leave and staff had
              difficulty getting vital signs.
              * They looked at the patient's chart and saw that
              the patient had been to three other hospitals
              recently.
              * They walked into the room but didn't think they
              could force the patient to have an MSE. They
              stated they didn't know what the "boundaries
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                                  FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                              0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA               (X2) MULTIPLE CONSTRUCTION                                (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFI CATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                    COMPLETED

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  PROVIDENCE MILWAUKIE HOSPITAL
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   A2406 Continued From page 66                                                    A2406
         were" that would require them to "force a patient
         against their will" who didn't want to stay or "who
         was combative or resistive." The MD stated they
         were "not sure what to do." They "didn't know
         where the line was where I could do something ."
         * The patient stated they only wanted cigarettes
         and had no other complaints, and MD H "didn't
         see this as an opportunity to do an MSE."
         * They didn't recall what the EMS report was.
         * They didn't make any notes, and didn't have
         "viable contact" with the patient. The MD stated
         they could hear what the patient was saying , they
         observed the patient briefly at the bedside, and
         they may have seen the patient "brushing away a
         nurse's hand."
         * They "didn't get into an interview with [the
         patient]."
         * In regards to whether MD H documented their
         contact and observations, they stated that "In
         retrospect and light of subsequent events and
         visits it would have been the more correct thing to
         do," to write a note.
         * MD H stated this was a "difficult dilemma."       I
         * Patient 21 was brought back to the hospital
         again at the end of the MD's shift and they "found
         out [the patient] was sick. "
              ********************************************

              6.a. A "NewsBank" media article regarding
              Patient 21 dated            W24 was titled "TriMet
              driver said [they] felt 'forced' to pick up ..." The
              article reported that the incident occurred on
                      2024 at ~ 2325. It stated that "A TriMet bus
              driver reported that a [person] who soiled [their]
              clothes and wore no shoes was put on [the] bus
              by a security guard from Providence Milwaukie
              Hospital after another bus may have declined to
              take [them] . The driver radioed in that [they] felt
              [they] didn't have a choice in taking the [person]
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                                                                                           MILWAUKIE, OR 97222
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   A2406 Continued From page 67                                                   A2406
         and that the guard had 'forced' the [person] onto
         the bus, according to Tri Met dispatch audio. A
         TriMet dispatcher ended up calling 911 for a           I
         medical resoonse to helo the [person] the
         evening ofI                      ... The TriMet bus
         encounter occurred round [2325] ... The [person] ,
         who was not identified , had gotten on and off the
         bus at least twice, demanded to be dropped off in
         the opposite direction of the northbound bus route
         and ended up on the ground outside the bus,
         requesting a medical response, according to Tri
         Met radio dispatch recordings ... The following
         account is based on Tri Met dispatch recordings:
         After the [person] first boarded the northbound Tri
         Met bus 75 outside Providence Milwaukie
         Hospital, the driver soon put the ramp down to
         help [the person] get off but [the person] fell to the
         ground . Once [the driver] helped [the person] up,
         [the person] got back on the bus , demanding to
         go the opposite direction. [The driver] told [the
         person the bus] couldn't go the opposite way and
         called dispatch to ask for guidance from a
         supervisor. The driver deployed the ramp again
         on the bus and the [person] got off. 'This [person]
         is sitting on the ground right now,' the driver told
         the supervisor by radio. The driver was instructed
         that a supervisor would respond and a co-worker
         was calling 911 to do a welfare check. 'Yeah, [the
         person] wants medical,' the driver radioed to
         dispatch, 'but I just picked [them] up from the
         hospital and went maybe four blocks.' The driver
         waited, and the [person] crawled back onto the
         bus. The dispatcher told the driver to reassure
         [the person] that an ambulance was on its way.
         'Now [the person's] saying I hurt [their] hand. I
         don't like being in this position at all,' the driver
         told dispatch. 'I felt like [the person] was forced
         on me and thought it was going to be like this
         either here or at Pier Park,' the driver added ,
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   A2406 Continued From page 68                                                   A2406
         referring to the final destination of [their] bus
         route. 'My hands are shaking just having to deal
         with this,' the driver said. TriMet's involvement
         ended at [2343) ... " "Pier Park" the final
         destination the driver referred to was ~ 15 to 18
         miles from PMH.

              6.b. Review of PMH internal investigation
              documentation related to Patient 21's encounters
              included the following document titled
              "Transcription of five TriMet audio files." The
              transcription consisted of conversations between
              a TriMet bus driver and TriMet dispatch. The
              driver's statements about their experience with
              Patient 21 included: "Driver: The [PMH] security
              guard put this [person] on my bus ... [This person]
              used the bathroom on [themselves]. Now [they]
              said [they] wanted to get off the bus, [they] got off
              then I helped [them] get back on the bus. [They]
              said [they want] to go to Milwaukie, but I'm not
              going to Milwaukie, so I don't know what to do ... I
              [The person) says [they want] to go two blocks
              and then go off, but in the other direction ... I'm at
              a bus stop now ... Now [they want] the ramp down
              but the last time [they] put the ramp down I put
              the ramp down [they] got off and fell on the
              ground and I helped [them] up. [They] got back         I
              on the bus. What should I do? If [the person]
              goes down and falls, then what? ... I just deploy
              [sic] them ramp and [they are] getting off now ...
              This [person) is sitting on the ground right now. I
              mean [they've) used the bathroom on                    I
              [themselves) ... I'll ask [them) if [they want]
              medical ... [The person] wants medical , but I just
              picked [them] up from the hospital and I went
              maybe four blocks ... I can't leave because now
              [they're] crawling back on the ramp ... [They're]
              asking me to help [them] up but the last time I
              helped [them] now [they're] saying I hurt [their]
                                                                     I
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   A2406 Continued From page 69                                                   A2406
         hands ... I don't like being in this position at all ...
         Well now [they've] crawled back on the bus ...
         There's two Milwaukie police cars right here, now,
         talking to [the person]. One of [the officers] knows
         [the person's] name .. . my hands are shaking
         from having to deal with this."
         ****** ... ****************************************

              7.a. The central log for Patient 21e reflected that
              they presented to the ED on         '2024 at 0010
              with a "Chief Complaint" of "Pain." The "ED
              Disoosition" on the log was "Discharge" on
                     2024 at 0654.

              7.b. The findings that follow for this encounter
              reflected discrepancies and contradictions within
              the EHR, inconsistencies between the EHR
              documentation and video recordings and
              interviews, and reflected that the hospital did not
              fulfill its EMTALA obligation for Patient 21 e. For
              example:
              * A MSE that included an evaluation of the
              behavioral/psychiatric symptoms and distress the
              patient exhibited that brought them to the ED was
              not conducted.
              * Although the physician documented in the
              medical record and stated during interview that
              an IV antibiotic was given to the patient, the
              physician ordered IV antibiotic treatment had not
              been administered.
              * It was unclear how it was determined that this
              patient had the capacity to participate in review of
              discharge instructions, had the ability to make a
              follow-up appointment with a PCP or to get an
              antibiotic prescription filled after discharge, or
              was capable of understanding the risks of refusal
              of treatment.
              * Although a "Vulnerable Patient Discharge (VPD)
              Safety Review" was initiated in accordance with
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   A2406 Continued From page 70                                                   A2406
         the IJ Removal Plan, it was unclear why the VPD
         Competent RN had not gathered the IDT for
         review of Patient 21 e's encounter to ensure they
         received an MSE that included a behavioral
         health assessment. The patient had not received
         ordered IV antibiotic treatment, full vital signs had
         not been reassessed for more than four hours,
         they were houseless, demonstrated
         behavioral/psychiatric symptoms, and had
         mobility, continence, and self-care impairments.

              7_c. The medical record for Patient 21e's
             ___
             1      ,2024 ED encounter was reviewed and
              included the following information:
              * An AMR ambulance report reflected that on
                     2024 at 2349 EMS "Arrived on scene to a
             ·-- --
              bus stop. [Patient 21 e] was found sitting upright
              on the sidewalk. Pt was complain [sic] of pain and
              would not elaborate further. Pt stated [they]
              wanted to see a doctor. Pt was assisted to the
              gurney and loaded into the ambulance. Vitals
              were taken ... Pt was verbally abusive and ...
              [loudly) ... 'don't touch me' which made
              assessment difficult. Pt had urinated
              [themselves]. Pt stated the pain was everywhere.
              Pt refused to answer any other questions. Pt
              transported code 1. Primary impression:
              Behavioral/Psychiatric - unspecified ... Primary
              symptom: Pain extremity." EMS arrived at PMH,
              .5 miles from the scene, on          2024 at 0007.

              * The ED Care Timeline reflected the following
              chronology of events on         2024 for this
              encounter:
              - 0010 "Patient arrived in ED"
              - 0011 "Arrival Complaint [EMS]"
              - 0012 MD J recorded "Provider Contact Initiated"
              - 0013 "ED Information Exchange Resulted
              Abnormal Result .. ." was recorded.
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   A2406 Continued From page 71                                                    A2406
         - 0024 RN recorded "Chief Complaints Updated
         Pain (Pt reports pain everywhere)"
         - 0025 RN recorded "Vital Signs ... Temp: 38.2 °C
         (100.8 °F) ! Pulse: 144 Resp: 22 BP 161 /105 !
         SpO2: 93 % Temp Source: Oral ... Pain Rating
         (0-10): Rest: 10 ..."
         - 0026 RN recorded "Pt BIBA for c/o pain . Pt
         unable to tell writer exactly where the pain is. Pt is
         Loud, Hostile and vulgar in triage . Security
         present."
         - 0030 RN recorded "Cognitive/Neuro/Behavioral
         WDL: WDL ... Morse Fall Risk Level: High"
         - Beginning at 0034 MD orders included labwork,
         a CXR, an ECG, IV fluids, a dose of IV ketorolac
         (Toradol) and those were resulted and
         implemented.
         - 0039 RN recorded 'To room ED14"
         - 0044 RN recorded "BP: 183/105 ! "
         - 0201 RN recorded "Pulse: 127 ... BP: 154/92 ! ...
         SpO2: 95 %"
         - 0246 RN recorded 'Temp: 37.7 °C (99.9 °F)"
         - There are no entries after 0246 until 0440.
         - From 0440 until 0532 all entries are related to
         labwork completion or results.
         - 0532 MD J recorded "Orders Placed
         Medications - cefTRIAXone (ROCEPHIN) IVPB 2
         g"
         - 0533 MD J recorded "ED Disposition set to
         Discharge"
         - 0534 MD J wrote "Discharge Orders Placed
         Medications - cephalexin (KEFLEX) 500 mg
         capsule"
         - 0538 EDT recorded "Pulse: 104"
         - 0626 RN wrote "Additional Note: pt demanding
         to leave at this time, requesting iv removed and
         new socks. pt able to verbalize that [they are]
         discharged and has a plan to catch bus with one
         of [their] bus tickets in [their] pocket. pt is
         ambulatory with assistance, but wheeled down to
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   A2406 Continued From page 72                                                   A2406
         bus stop due to pt c/o pain with long distance
         walking, pt refused shoes."
         - 0630 RN recorded "AVS Printed"
         - 0642 RN recorded "From ED14 to room OTF"
         - 0647 RN recorded "Medication Not Given
         cefTRIAXone (ROCEPHIN) IVPB 2 g - Dose: 2 g
         ; Rate: 100 mUhr; Route: Intravenous; Reason:
         PatienUfamily refused; Scheduled Time: 0535"
         - 0651 RN recorded "Peripheral IV Line ...
         Removal Date/Time:             24 0651" and "Care
         Handoff Report Given to: Other (Comment) (pt
         catching bus per [their] request) ... Mobility at
         Departure: Wheelchair Departure Mode: By self
         (wheeled out by security down to bus stop)"
         - 0652 RN wrote:
         "Did patienUguardian/caregiver verbalize
         understanding of discharge plan and confirm
         ability to care for patient/self at current level of
         need? yes.
         Who was provided with discharge information?
         Patient.
         Medications discussed and patienUcaregiver
         verbalized understanding? Yes.
         Patient advised to avoid alcohol consumption and
         operation of heavy machinery or motor vehicles
         for 24 hours? N/A.
         Is patient able to safely return to prior living
         environment, based on patient's mobility and
         ability to perform AOL's? If patient is returning to
         a care facility, did you confirm that the facility can
         provide the appropriate level of care? yes.
         Patient discharged safely to Other pt homeless,
         wants to catch bus to [their] next destination.
         Transportation mode: bus with bus ticket.
         Was this transportation mode determined to be
         the safest way to transport patient? yes.
         This patient's vitals documentation is up to date
         and the provider was notified if any outside the
         normal range prior to patient discharge. yes.
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   A2406 Continued From page 73                                                   A2406
         Patient condition at time of DIC, to address the
         presenting complaint: Pt given rx upon de,
         appears at baseline, speaking in full sentences,
         leaving coffee and snacks. Verbalized
         understanding of de instructions, rx, and follow up
         plan."
         - 0654 RN wrote "Patient discharged."               I
              * The Medical record included the identical "Other
              Orders ... EDIE ED INFORMATION EXCHANGE
              ... (Abnormal)" result and recommendations
              described under Finding 3 above.

              * On          2024 at 0357 MD J electronically
              signed the final version of their "ED Provider
              Note" that included the following information:
              - "[Patient 21] with a history of bipolar, coronary
              artery disease, chronic pain, COPD, fibromyalgia ,
              gastric bezoar, urinary retention, alcohol abuse,
              heroin abuse, subdural hematoma, hypertension,
              bowel syndrome [sic], ischemic cardiomyopathy,
              opioid dependence, diazepam dependence, heart
              failure, being dependence, homelessness, failure
              to thrive, and hysterectomy who seen [sic]
              numerous times at numerous different facilities in
              the last several days with numerous and vague
              complaints and presents today with a vague
              complaint of 'pain all over.' The patient's physical
              exam was remarkable for a temperature 38.2,
              pulse of 144, generally disheveled appearance, I
              flight of idea, tangential thoughts, ambulating
              speech ... urine was remarkable for 4+ bacteria,
              S's and white blood cells by peripheral, 1+
              leukocyte esterase, and positive nitrates ... chest
              x-ray revealed no evidence of an acute process
              ... labs (CBC, CMP, troponin, BNP, lactic,
              alcohol) were remarkable for a BNP of 855,           I
              potassium 3, and white blood cell count of 12.1 .. .
              urine remarkable for amphetamines and THC ... I
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 74                                                   A2406
         felt that the patient's clinical picture was most
         consistent with pyelonephritis and
         methamphetamine abuse."
         - "Medical Decision Making Problems Addressed:
         Homelessness: chronic and illness or injury.
         Methamphetamine abuse (HCC): chronic illness
         or injury. Pyelonephritis: acute illness or injury
         that poses a threat to life or bodily functions ...
         Risk - Prescription drug management. Decision
         regarding hospitalization. Diagnosis or treatment
         significantly limited by social determinants of
         health. Risk Summary: High."
         - "ED Course Summary and Disposition - [Patient]
         was initially given IV fluids, [ceftriaxone
         (Rocephin)], and Toradol. On reevaluation [they]
         had improved. After considering the risks and
         benefits of inpatient versus outpatient treatment, I
         felt that stable and appropriate for outpatient
         management. [Patient 21] agreed to follow-up
         with a primary care provider for reevaluation in
         the next 2 to 3 days. I discussed any results ,
         examination findings, disposition, treatment plan,
         potential medication side effects, appropriate
         follow-up, and criteria for returning to the
         Emergency Department with the patient prior to
         disposition. [Patient 21] understood and agreed to
         the plan."
         - "ED Medication Administration from            2024
         0010 to          2024 0357 ... cefTRIAXone
         (ROCEPHIN) IVPD 2g ... Not Given ... "
         - "Impression 1. Pyelonephritis 2.
         Methamphetamine abuse (HCC) 3.
         Homelessness."
         - "ED Prescriptions cephalexin (KEFLEX) 500 mg
         capsule Take 1 capsule by mouth 4 times daily for
         40 doses."
         - "Follow up [Providence Medical Group] or ED
         Follow Up Portland Oregon [phone number] In 3
         days."
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   A2406 Continued From page 75                                                   A2406
         - "History of Present Illness ... [Patient] is a very
         challenging historian who struggles to tell [their]
         own history of present illness, however as best I
         can tell [their] complaint of pain refers to [their]
         chronic pain, and not acute pain or focal pain.
         [Patient] request both trazodone for sleep as well
         as coffee. [Patient] vaguely endorses a cough,
         but denies other chest/respiratory complaints.        I
         [Patient] denies GI/abdominal complaints .. .
         denies new neck/back complaints, genitourinary
         complaint, ENT complaints, skin changes,
         extremity complaints, trauma, or other specific or
         general complaints. [Patient] describes [themself]
         as otherwise feeling well."
         - "Physical Exam Vital Signs: (Reviewed) Temp: I
         (!) 38.2 (100.8 °F) Pulse: 144 Resp: 22 BP: (!)
         161/105 Sp02: 93 % Constitutional: ... No acute
         distress. Non-toxic appearance. Rambling
         speech. Flight of idea. Somewhat disorganized
         thoughts ... Neurologic: Alert. No motor deficits.
         No sensory deficits. Normal coordination.
         Psychologic: Normal behavior. Normal affect.
         Oriented."
         - "Procedures None."

              * Medical record documentation also included:
              - Medication administration records that reflected
              "cefTRIAXone (ROCEPHIN) IVPB 2 g ...             24
              0647 Not Given Patient/family refused ... [RN
              Name]." However, there was no documentation to
              reflect the circumstances around the refusal and
              no documentation to reflect the physician had
              been notified of the refusal.
              - A 10-page "After Visit Summarv'' that reflected it
              was "Printed by [ID number] at        .024 6:30 AM "
              included the following information: "... START
              taking: cephalexin (KEFLEX) ... Pick up these
              medications from any pharmacy with your printed
              prescription - cephalexin . Follow up with PMG or
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   A2406 Continued From page 76                                                   A2406
         ED FOLLOW UP in 3 days (around       ~024)
         Contact: Portland Oregon [phone number]."

              7.d. Patient 21e's        2024 encounter at
              discharge was captured on hospital video
              recordings (without audio capability) from multiple
              interior and exterior camera views that showed
              the following :
              * 0632 Patient ambulated from ED treatment
              room into corridor with hands-on assist by two
              RNs, when they approached the nurse's station
              the patient used the length of the counter to
              support their steps, patient was assisted to
              Stryker transport chair and pushed into ED
              WR/lobby by two RNs.
              * 0635 SO pushed patient in transport chair from
              ED WR/lobby to outside of ED, following by four
              other SOs.
              * 0636 SO pushed patient in transport chair
              downhill towards street where bus stop located,
              followed by two other SOs.

              7.e. Review of a "Vulnerable Patient Discharge
              (VPD) Safety Review'' form siQned by a VPD
              Competent RN , dated on           2024 and
              untimed, reflected that the Vl-'U RN "agrees that
              the discharge plan is safe and appropriate" and
              that the IDT had not been gathered to review the
              encounter further. The section of the form for the
              IDT review was blank. During interview with the
              EDM on 01 /31/2024 at~ 1130 they confirmed that
              Patient 21e's encounter associated with this
              untimed VPD review form began on           '2024
              at 0010.

              7.f. An undated PMH internal investigation
              document titled "Interview with [MD J]" included
              the following information provided by MD J about
              their encounter/interaction with Patient 21 on
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                                                                                           MILWAUKIE, OR 97222
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   A2406 Continued From page 77                                                   A2406
                 2024.
         * MD J stated "I know [Patient 21] from multiple
         visits. I hope you can get a flavor from [their]
         chart of how [the patient] interacts with resources
         in our community. They walked into our waiting
         room from [their] own accord. Rambling hard to
         narrow down [their] chief complaint. It seemed to
         be pain but [they] couldn't localize it. [There were]
         asking for coffee and trazadadone [sic] . They had
         a fever and [the patient] was sick in some way,
         [their] pulse was elevated. I couldn't tell whether
         that was pain or meth. So I went looking for            I
         infection. I did a bunch of different tests [their]
         white count was 12 it wasn't terrible ... urine came
         back with +bacteria in [their] urine so sounded
         like pretty solid source for [their] fever. I gave [the
         patient] fluids and IV Rocephin ... I went back to
         check on [the patient] and [their] vitals had gotten
         better. And [they] wanted to be discharged. I was
         aware that we are under the microscope and that
         this patient is in that vulnerable population.
         Having assessed [the patient] and bookending            I
         [them] with [their] assessment and final
         assessment, vitals had improved source of fever
         treated. I was surprised that [the patient] came
         back and what happened next."
         * In regards to discharging Patient 21 for
         "following up on [their] UTI and antibiotics on
         [their] own self care" MD J stated "I only have 2
         directions admit them or let them go. It is a hard
         decision .. . It is important to know if the person
         can take the next steps on their own . You don't
         quite know if someone can pull it off. But I thought
         [the patient] could pull it off if [they] wanted to.
         [The patient] was saying that [they] wanted to go
         and that [they] knew next steps. There is a certain
         amount of accountability that people need to bring
         to the situation to take their own self-care, they
         have to also participate. [Patient 21] told me that
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   A2406 Continued From page 78                                                   A2406
         [they] understood and that [they] would follow up
         within the next 2-3 days. [They] didn't deviate
         from a baseline and become agitated. [They
         were] at [their] baseline. What in another person
         might make me react in a personal way, [Patient
         21] is just kind of a yelling rambling person. I
         didn't think [they were]different from their
         baseline. [They] didn't seem acutely on meth .
         [Their] ideas and emotions are tangential."

              7.g. In an email from MD J to hospital staff dated
              and timed as received on 02/02/2024 at 1447 MD
              J confirmed the internal interview information
              described in this finding, and wrote that "I think
              that's a pretty solid summary ... hits the key points
              ... there's nothing inaccurate ... [MD J]"

              7.h. An undated PMH internal investigation
              document titled only "[Patient 21's name and
              MRN #] included the following: "During
              [      2024] visit at 0012 diagnosed with
              Pyelonephritis by [MD J], our concern is that
              [Patient 21] was found to be stable and given an
              outpatient rx and taken to the bus by security
              Provider felt [the patient's] condition had
              improved after hydration, not sure what made [the
              MD] feel [the patient] had improved."

              7.i. During interview with staff on 01 /31 /2024 at~
              1130 the EDM agreed that it was "not likely" that
              Patient 21 would go to a PCP or get a
              prescription filled. Staff present also stated there
              was no behavioral health assessment because
              there was no social work availability at the time of
              the encounter.
              ************************************************


              8.a. A "Security Services Incident Report"
              regarding Patient 21f reflected that on              2024
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   A2406 Continued From page 79                                                   A2406
         at 1322 "I was doing a routine patrol of the
         parking lots. When I arrived to the Dwyer street
         side of lot F I was flagged down by bystanders
         and employees regarding a [person] laying in the
         grass screaming for help. Upon investigating I
         recognized the person as a former [Patient 21]. I I
         asked [Patient 21] if [they] needed medical
         attention and [they] replied yes. As [they were]
         outside of the [Rapid Response Team] response
         area I called 911 and requested an ambulance. I
         offered to help [Patient 21] sit up but [they]        I
         demanded that I not touch [them] and then
         accused me of Sexually assaulting [them]. At this
         point I took several steps back and waited for the
         ambulance to arrive. A short time later [Patient
         21] sat up and then began to scoot across the
         grass and out into the roadway. I then reengaged
         [the patient] to prevent [them] from being hit by
         cars traveling on the road way. A short time after
         a Black vehicle arrived. The driver was ... the
         Behavioral Health Specialist with the [MPD]. With
         [them] was ... the Houseless Liaison for the City
         of Milwaukie Loveone Outreach program. They
         stated that they were sent by Milwaukie dispatch
         and asked for a brief summary of the situation.
         After giving them my summary they engaged with
         [Patient 21] and helped [them] off the ground and
         over to their vehicle. [The Behavioral Health
         Specialist] used [their] city issued radio to speed
         up an ambulance to our location. I stepped back
         to not cause any more tension with [the patient]
         and waited for the Ambulance to arrive.
         Clackamas fire and rescue arrived at 14:20 and
         assisted [the patient] into the Ambulance. They
         then transported [Patient 21] to [PMH]. I cleared
         the call at this time." The report was electronically
         signed on          /2024 at 0855.

              8.b. A Clackamas County Fire District ambulance
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   A2406 Continued From page 80                                                   A2406
         report regarding Patient 21f reflected that on
                12024 at 1337 they were "dispatched per
         request by [PMH] Security and [MPD] for a send
         1 ambulance transport." The report reflected that
         upon arrival at 1354 MPD "reports that they called
         for a subject who voluntarily wants to be taken to
         the ER. Pt advised that since we are in the
         parking lot we would take pt to the ER at the
         hospital [they are] at. Pt agreed. Pt refused VS or
         any in depth assessment. Pt reports that [they
         have] pain all over and that's whey [they need] the
         ER. Pt is able to stand and transfer onto gurney.
         Pt appears to be having a mental health issue as
         [patient] yells and screams at [EMS personnel] for
         asking questions. Pt appears to be very agitated.
         Upon arrival at er [sic], Pt is taken out to triage. Pt
         report given to Triage RN."

              8.c. The central log for Patient 21f reflected that
              they presented to the ED a second time on
              L      W24 at 1404 with a "Chief Complaint" of
              "Followup Medical Problem." The "ED
              Disoosition" on the log was "Discharge" on
                     2024 at 1644.

              8.d. The findings that follow for this encounter
              reflected discrepancies and contradictions in the
              EHR, inconsistencies between the EHR
              documentation and video recordings and SO
              reports and interviews, and reflected that the
              hospital did not fulfill its EMTALA obligation for
              Patient 21f. For example:
              * The patient was moved from the ED WR/lobby
              to the exterior ambulance entry where the
              physician eventually interacted with them in the             I
              driveway.
              * Description of the patient's behaviors reported
              by the physician about "violent" behaviors, and
                                                                           I
              about behaviors that scared other patients as
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   A2406 Continued From page 81                                                   A2406
         being the reason the patient was moved to the
         exterior of the hospital , was not consistent with
         documentation in the medical record or video
         recording .
         * It was unclear the extent of MSE that was
         conducted, and it did not include an evaluation of
         the behavioral/psychiatric symptoms the patient
         was brought to the ED, and which staff asserted
         the patient exhibited during the encounter, such
         as "violent ... verbally abusive ... super agitated ...
         very scary."                                            I
         * The RN declined the patient's pleading to go
         back inside the hospital and proceeded to
         administer medication to them where they sat in
         the exterior ambulance entry.
         * It was unclear how it was determined that this
         patient who exhibited behavioral/psychiatric
         symptoms had the capacity to participate in a
         review of discharge instructions.
         * Although interviews from two sources indicated
         the CRN stated they completed a 'Vulnerable
         Patient Discharge (VPD) Safety Review'' for this
         encounter, there was no evidence that reflected
         one had been initiated in accordance with the IJ
         Removal Plan for this patient who was houseless
         and who exhibited behavioral/psychiatric
         symptoms. During interview with the EDM on
         01/31/2024 at~ 1130 they confirmed that a VPD
         review form had not been completed for this
         encounter.                                              I
              8.e. The medical record for Patient 21fs second
                    2024 ED encounter was reviewed and
              included the following information:                         I
              * The ED Care Timeline reflected the following
              chronology of events on this second _ _2024
              encounter:
              - 1404 "Patient arrived in ED" and "Arrival                 I
              Complaint [patient's first name]" were recorded .
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                             FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                         0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:                                                                       COMPLETED
                                                                               A. BUILDING
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                                                   380082                      B. WING
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENU E
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE         COMPLETION
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                                                                                                                 DEFICIENCY)



   A2406 Continued From page 82                                                   A2406
         - 1408 RN recorded "Is the chief complaint likely
         related to infection? Infection likely: No" and
         "Chief Complaints Updated Followup Medical         I
         Problems"
         - 1409 RN wrote "Pt BIBA after being seen 'rolling
         around' in the yard of the hospital. Pt only
         compliant is 'My body hurts'. Pt tangential in     I
         triage ... Residence: Private."
         - 1410 RN recorded "Cognitive/Neuro/Behavioral
         WDL: all, Level Of Consciousness: other (see
         comments) (Pt unable to remain focused to
         speak with RN)."
         -1410 "ED Information Exchange Resulted            I
         Abnormal Result ... " was recorded.
         - 1411 RN recorded "Vitals - Temp: 36 .6 °C (97.9
         °F) Pulse: 99 Resp: 16 BP: 128/79 Sp02: 96 %"
         - (Video-recording at 1449 described below in
         these findings showed the patient was pushed in
         a wheelchair to outside the building at the the
         ambulance entry and parked there at that time.     I
         This was not reflected in the medical record.)
         - 1505 MD A recorded "Provider Contact Initiated"
         - 1506 MD A ordered "Medications -
         acetaminophen (TYLENOL) tablet 1,000 mg;
         QUEtiapine (SEROquel) tablet 50 mg"
         - 1511 MD A recorded "ED Disposition set to
         Discharge"
         - 1516 RN recorded "Medication Given" for the
         ordered Tylenol and Seroquel.
         (Video-recording at 1519 described below in
         these findings showed the patient was pushed in
         the wheelchair from the parking lot towards the
         street and bus stop at that time. This was not     I
         reflected in the medical record.)
         - 1534 RN recorded "Patient room in ED To room
         HALL 10."
         - 1547 LCSW wrote "SW received referral from
         Charge RN , POST-patient's discharge, re:
         request for care conference. [Patient 21] with
                                                            I
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   A2406 Continued From page 83                                                   A2406
         prior medical history of Bipolar I Disorder,
         Anxiety, Depression and Polysubstance Use who
         presented to the ED today with a complaint of
         pain/body aches. Per report from Charge RN
         patient was medically screened and discharged,
         with patient requesting to leave. SW reviewed
         EMR, patient is a frequent visitor various Portland
         Tri County emergency departments. SW checked
         most recent EDIE report wh ich was updated
         earlier today, with care recommendations to
         assess patient for [their] ability to care for
         [themselves]. It also indicates that patient has
         been banned from most of the shelters in the
         area due to behaviors and incontinence. SW
         notified Charge RN , however patient had already
         left the building and when Providence Milwaukie
         Hospital Security approached [patient, the patient]
         refused to return with them to the ED. Updated
         ED Care Plan added to the chart. "
         - 1634 RN recorded "Patient transferred From
         room HALL 10 to room ED11 ."
         - 1642 RN wrote "Additional Note: Charge RN
         [Name] will addended [sic] this chart, Chart
         needed to be closed to readmitt [sic] the patient.
         [Flag symbol]."
         - 1644 RN recorded "Patient discharged."
         - 1644 MD A recorded "Charting Complete."

              * The Medical record included "Other Orders ...
              EDIE ED INFORMATION EXCHANGE ...
              (Abnormal)" result similar to information identified
              under Finding 3 above, that included updated
              "Care Recommendation."                               I
              "ED Care Guidelines from Tri-County 911 Last
              Updated: 1/2/23 1:33 PM Care Recommendation:
              -Complete assessment to determine if [client] can
              be placed on a 14 day hold to assess current
              needs and appropriate level of care.?
              -[Client] has recently been found within the
                                                                   I
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                                                                                                                              2024-0534 084 05/28/2024
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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
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                                                                                           10150 SE 32ND AVENUE
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    TAG
                                                                                                                 DEFICIENCY)



   A2406 Continued From page 84                                                   A2406
         community covered in feces and urine and it is
         believed that [they) cannot care for basic needs.?
         -[Client] recently observed laying on train tracks
         and continues to place self in situations where
         imminent and serious harm could take place.?
         -[Client] often reports generalized pain but cannot
         identify what body location is affected, frequently
         struggles to provide an accurate medical history.?
         -[Client] utilizes services within Clackamas and
         Multnomah County and frequently requests taxi
         rides to shelters to access services. Due to the
         inability to care for basic needs, [client] is not able
         to access shelter based services and frequently is
         routed to the ED.?"

              * On         2024 at 1614 MD A electronically
              signed an "ED Provider Note" that included the
              following information:
              " Medical Decision Making - The pt was triaged to
              Room [no room number recorded] and the
              nursing notes were reviewed . In summary, this is
              [Patient 21] with a history of bipolar disorder,
              coronary artery disease, chronic pain, COPD,
              fibromyalgia , gastric bezoar, urinary retention ,
              alcohol abuse, heroin abuse, subdural
              hematoma, hypertension, bowel syndrome,
              ischemic cardiomyopathy, opioid dependence,
              diazepam dependence, methamphetamine
              abuse, heart failure , homelessness, failure to
              thrive, and hysterectomy, who presents for
              evaluation with agitated behavior. [Patient] is here
              requesting a dose of Tylenol, and Seroquel. The
              patient's physical exam was remarkable for stable
              vital signs, no fever. The patient was alert, and
              oriented, although [they] did have some evidence
              of thought disorder. [They] denied any suicidal or
              homicidal ideation , [they] had some mild
              psychomotor agitation. I reviewed the available      I
              chart records for a recent provider note,
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AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ __                                COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
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  PROVIDENCE MILWAUKIE HOSPITAL
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                                                                                                                 DEFICIENCY)



   A2406 Continued From page 85                                                   A2406
         discharge summary, or significant imaging
         studies for additional understanding of the
         patient's clinical presentation. This patient
         presents for evaluation to the emergency
         department, without any specific complaint except
         for a request for a dose of [their] Tylenol and
         Seroquel. The patient reportedly in triage told the
         nurse that [their] whole body hurts, which is a
         common presenting complaint for this patient.          I
         Patient does have a history of chronic pain
         issues. When I interviewed the patient, (they) only
         requested Tylenol and Seroquel, which I provided
         for [them). [Patient] did not have any further
         complaints, and wanted to leave, and refused to
         come into the emergency department for further
         evaluation, and refused any further medical
         workup at this time. The patient was discharged,
         [they were] instructed to return for any other
         concerns. Results, examination findings ,
         disposition, treatment plan , potential medication
         side effects, and criteria for returning to the
         Emergency Department were discussed with the
         patient prior to discharge. They understood and
         agreed to the plan . Problems Addressed:
         Agitation : acute illness or injury. Bipolar affective
         disorder, remission status unspecified (HCC):
         acute illness or injury. Impression 1. Bipolar
         affective disorder, remission status unspecified
         (HCC) 2. Agitation. ED Prescriptions - None.
         Follow up - No follow-up provider specified.
         History of Present Illness ... history of bipolar ...
         who presents for evaluation with agitated
         behavior. The patient is an exceedingly poor
         historian, and has had multiple medical
         evaluations and workups in this emergency
         department and multiple local area emergency
         departments recently. Upon my interview of this
         patient, [they state] that [they] simply wanted a
         dose of Tylenol, and Seroquel. [They were] seen
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                                                                                                                                          02/15/2024
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                                                                                           10150 SE 32ND AVENUE
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                                                                                                                DEFICIENCY)



   A2406 Continued From page 86                                                   A2406
         earlier today, and had a full medical workup at
         that time. History was obtained from the patient ...
         Ancillary Studies - All lab results, imaging studies,
         and other diagnostic tests available at the time of
         disposition were reviewed ."

              * On          2024 at 1900 an RN electronically
              signed an ED Note that reflected "Late entry: Pt
              initially refusing to be seen and requesting to
              leave. Pt then requested tylenol and Seroquel
              and would like to leave. [MD A] was notified and
              evaluated pt. Pt was given medication per
              request/order. Pt was taken to bus by security in
              wheelchair. Pt was provided a warm blanket prior
              to leaving. This RN discussed needing a care
              conference with [SW] due to pts [sic] condition,
              behavior and ED usage. SW was able to locate a
              note that stated pt be evaluated for competency
              and ability to care for self. Once this information
              was found this RN immediately called security to
              (sic] at 1524 to please bring pt back to ED Pt
              continued to refuse and was off property.
              Discussed need for calling police to bring pt back
              to ED on Hold for evaluation with [MD A] then ED
              manager. This RN was then notified by RN
              coming back on shift that pt was being
              transported via ambulance back to ED."

              * Medical record documentation also reflected:
              - "Labs ... No documentation. Imaging ... No
              documentation. Procedures ... No
              documentation."
              - "Patient Education ... No documentation. Patient
              Instructions .. . No documentation. After Visit
              Summary ... No documentation."

              8.f. Patient 21fs second        '2024 encounter
              was captured on hospital video recordings
              (without audio capability) from multiple interior
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                                                                                                                DEFICIENCY)



   A2406 Continued From page 87                                                   A2406
         and exterior camera views that showed the
         following :
         * 1402 EMS transported patient, who sat upright
         on gurney, into ED WR/lobby and patient
         transferred self to couch.
         * 1404 EMS exited WR/lobby and ED staff person
         approached patient and applied wrist band .
         * 1405 Patient walked through WR/lobby to ED       I
         entrance and to outside of hospital.
         * 1406 Patient returned from outside to WR/lobby
         and walked to registration desk.
         * 1407 Patient walked back to couch. Mouth can
         be seen moving as if talking to self. Patient
         walked toward registration desk, then toward       I
         triage rooms.
         * 1411 CRN , EDT, and SO entered WR/lobby and
         interacted with patient
         * 1412 Staff returned into ED and patient
         remained in WR/lobby
         * 1416 Patient walked back outside                 I
         * 1420 SO pushed patient who sat on a Stryker
         transport chair from outside and parked the chair
         in WR/lobby.
         * 1438 Patient transferred self from Stryker chair
         into a wheelchair that was parked inside the ED
         entrance door and wheeled self to outside of
         hospital.
         * 1440 Non-staff person pushed patient back into
         the WR/lobby. Patient wheeled self toward
         registration desk and triage rooms.
         * 1446 Patient and wheelchair move completely
         out of camera view towards the entryway into the
         ED near Triage Room 3.
         * 1447 Three SOs and CRN entered the               I
         WR/lobby through the registration desk door.
         CRN returned back behind the registration desk
         and the SO's moved in the direction that the
         patient had gone in toward Triage Room 3 and
         the ED entry.
                                                            I
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   A2406 Continued From page 88                                                   A2406
         * 1449 Three SOs pushed wheelchair with patient
         from inside the ED through the ambulance entry
         door to exterior of hospital. They parked the
         wheelchair near the ambulance entry door. All
         three SOs returned into the hospital through the
         ambulance entry after they swiped a badge to
         open the door. The patient was left outside of the
         hospital unattended and unsupervised .
         * 1451 Patient wheeled self nearer to ambulance
         entry door.
         * 1454 Three SOs exited ED through ambulance
         entry door and pushed patient's wheelchair back
         to the original parked position.
         * 1503 MD A exited ED through ambulance entry
         door and approached patient who had wheeled
         self into the driveway near an ambulance that had
         arrived with another patient.
         * 1504 CRN and two SOs exited ED and stood by
         patient and MD A
         * 1504 MD A and CRN returned into ED
         * 1505 SOs returned patient to the original parked
         position near the ambulance entry door.
         * 1507 SOs returned into ED and left patient
         outside of the hospital unattended and
         unsupervised.
         * 1510 Patient wheeled self away from entry
         toward the parking lot.
         * 1513 Two SOs exited the ED through the
         ambulance entry door, approached patient, and
         wheeled patient back toward the hospital after
         unlocking the wheelchair brakes.
         * 1515 CRN exited the ED through the
         ambulance entry door and was observed to carry
         objects of different sizes in both hands, one of
         which appeared to be a cup. CRN gave those         I
         items to the patient during a series of
         movements.
         * 1518 CRN returned to inside the ED.
         * 1518 SO placed blanket over patient's lap and
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   A2406 Continued From page 89                                                   A2406
         pushed the patient in the wheelchair away from
         the hospital toward the hospital driveway that led
         to the street.
                                                                           I
              8.g. A "Security Services Incident Report"
              regarding Patient 21f reflected that on           2024
              "At approximately 15: 13 Security was notified by
              ED [CRN] of a Person of Concern in the
              Ambulance Bay. I, [SO], and recruit [SO]               I
              responded and contacted [Patient 21] who was
              sitting in a wheelchair in the Ambulance parking
              area screaming. [They were] screaming that
              [they] wanted to 'go back inside the ED' so I          I
              began to push [patient] inside through the
              Ambulance Bay entrance. However, [CRN] exited
              and came outside stating that [they] had
              medications for the patient and that [patient] was
              being discharged and would need an escort to
              the Bus Stop. The patient received oral
              medication which [they] took without issue. I          I
              asked [CRN] if the patient had received [their]
              discharge paperwork, but the patient interrupted
              stating that [they] didn't need it. I asked CRN if
              [they] had completed the Vulnerable Patient
              Discharge (VPD) Safety Review, and [they]
              replied , 'Yes.' I wheeled the patient down the
              driveway and to the covered Bus Stop near the
              201 Building on SE 32nd Ave and [they] got out of
              the chair and sat down on the bench. As I was
              about to return to the Hospital, I got a phone call
              on my personal cellphone from [CRN] asking me
              to bring the patient back up to the ED because
              'Social Work would like to speak to [the patient].' I
              informed the patient of this and the patient stated
              that [they] did not want to go back up to the ED . I
              asked [patient] approximately 4 times if [they]
              would like to return to the hospital to talk to a
              Social Worker and see about resources, and
              [they] responded NO and shouted other
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                          0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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   A2406 Continued From page 90                                                   A2406
         profanities at me. I called [CRN] back to tell
         [them] that the patient was refusing to return to
         the ED. [CRN] replied, "That's okay, let [patient]
         go, and if [patient] returns then we have a plan for
         [them] ." The phone call ended, I offered the
         patient a friendly parting comment, returned to
         the Security Office, gathered all of the available
         information for this report, and cleared at
         approximately 15:35." The reoort was
         electronically signed on         2024 at 0859.

              8.h. Two PMH internal investigation documents
              titled "Interview with [MD A]" and dated
              01/08/2024, one timed as at 1025, reflected the
              following information provided by MD A about
              their encounter/interaction with Patient 21 on
                      2024:
              * "When I came in to work the charge RN asked
              me to evaluate this patient but [the patient]
              wouldn't come into the ED. The patient was               I
              yelling and screaming in the lobby. We moved
              [the patient] to the ambulance bay. [They] asked
              me for a dose of Tylenol and Seroquel. If you
              review [the patient's] chart [they go] to many EDs
              and is challenging. [They have] a hx of
              schizophrenia. I offered what I could. [They were]
              dressed enough I suppose . [They] looked
              agitated, but when it came down to [their]
              orientation questions [their] understanding of the
              situation the date time [they were] oriented x3. In
              the past when [the patient] is that oriented there
              has not been any attempts to force [them] for
              treatment. So we offered [them] food/drink and
              gave [them] the medication. [The patient] was
              assisted to the bus stop. Like [they] knew [they
              were] at PMH [they] wanted certain meds and
              that was it. [The patient] is difficult to get a history
              out of at best. I did my best to meet [their] needs.
              I offered for [them] to go into the ED for further
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   A2406 Continued From page 91                                                   A2406
         evaluation but [they) declined."
         *" ... one of the reasons we had to move [the
         patient] away from the lobby was because [they
         were] scaring visitors. "
         * "(Patient 21) knew that [they were] brought by
         EMS, [they] didn't have a good understanding
         why but knew [they] wanted meds. At best, [they
         are] very difficult in general. I did my best to meet
         [their] needs and what [they] came into ED for.
         Other than meds, [the patient] was very ademate
         (sic) that [they) did not want anything else. I
         offered [them) to come into ED and get further
         testing , but [they) said no. I didn't go into [the
         patient's) personal life ... I wasn't quite sure what
         direction; basically I was just there to help [the
         patient] in whatever way [they] requested me to
         do."
         * In regard to MD A's understanding of why the
         patient had been brought into the ED for the MD
         stated "[The patient's] request was for Seroquel
         and Tylenol. I believe [they were) brought in by
         ambulance."
         * "[The patient's) behavior was very similar to how
         [they have] presented in the past. I didn't think
         that [their] behavior was different than how [the
         patient] normally acts."
         * "We all didn't know what to do with [Patient 21).
         [They are] always oriented to not be on a hold but
         clearly has severe mental illness and clearly not
         able to function as an outpatient. We are taught
         by law and multiple other cases, can't put people
         on a hold in these situations. This has been the
         chronic issue with [Patient 21] for the longest
         time. The social worker ... was doing phone calls
         after the patient was discharged. Up until
         recently, they [not specified] had been supportive
         to not put [the patient] forceably under treatment
         or hold . This was the first time that they all [not
         specified] felt that [the patient] had crossed
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   A2406 Continued From page 92                                                   A2406
         threshold or had evidenced need for a hold.
         Unfortunately, [the patient] had already left so that
         judgement came a little too late. I asked the SW
         to put a note in the chart that the next time
         [Patient 21] presents, that we put [them] on a NMI
         and keep [the patient] against [their] will. We
         predicted that [the patient] would show up again
         that day and [they] did . W ith the support of [the
         patient's] outpatient providers, we pursued a hold .
         [Patient 21] had a fever so I also pursued that.
         * "[Patient 21] has been difficult. It is complicated
         by the fact that [the patient] is also very violent
         and verbally abusive. If [they are] in the waiting
         room [they are] scaring the bejeezus out of
         everyone else in the waiting room as well.
         Apparently during [their] first visit, one of the
         reasons that we had to move [them] away from
         the waiting room was that [they were] scaring
         others in the waiting room . [Patient 21] is very
         scary. If you go up and ask [them] what you can
         help [them] with. One of the waiting room patients
         asked what they could do to help and became
         very aggressive and terrified that other patient
         [sic]. [Patient 21] is one of those cases where you
         are stuck between a rock and a hard place, can't
         win either way. You can't force treatment on
         [them] and yet that looks like neglect. [They have]
         enough ability to make decisions by [themselves].
         They frown upon us doing unnecessary holds. At
         the same time, [they are] very mentally ill and
         clearly needs [sic] treatment. When I try and offer
         [the patient] what [they need], [the patient]
         becomes violent and verbally abusive. I can't offer
         [them] what [they need] because [they don't] want
         it; yells and cusses at us and is super agitated . I
         don't know what to do with [Patient 21] when [they
         are] like that. None of us did. Look at [the
         patient's] chart. Every ED has found problematic
         in the same way. We would like to treat [the
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   A2406 Continued From page 93                                                   A2406
         patient] but we can't. We would like to offer [them]
         things but we can't because [the patient]
         specifically asks us not to."
         * "I knew that [they] had been there before in the
         morning. I believe [they were] brought in by
         ambulance I would have to check my notes I'm
         not sure what [they were] brought in for. I saw
         that [they] had been in there early that morning
         but I didn't dive deep into [the] chart ... I did not
         go into detail about what testing they had done
         when [they were] in just previous."

              8.i. In regard to MD A's description that Patient 21
              was scaring visitors and patients in the WR/lobby,
              the video recording described in this finding
              showed the time the patient entered the
              WR/lobby was at 1402 and the time the SOs            I
              removed the patient from the WR/lobby was at
              ~1447. During the time the patient was observed
              in the WR/lobby there were ~ twelve or more
              adult patients/visitors at any given time who also
              sat in chairs in the WR/lobby, or who were
              observed to come and go. The patient's mouth
              could be observed to open and shut as if talking.
              Otherwise the patient exhibited no physical
              behaviors. Two such persons sat a few feet from
              where the patient sat for an extended period.
              Numerous persons were observed to look at
              screens, text, or talk on cell phones. Others who
              sat together talked to the person sitting next to
              them. One person approached the patient, sat
              next to them for a few seconds, talked to the        I
              patient then moved back to their seat. Although
              there was no audio on the video recordings, there
              were no persons in the WR/lobby who were
              observed to exhibit non-verbal expressions of
              anxiety or fear of the patient, including those
              persons who sat nearest the patient.

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   A2406 Continued From page 94                                                   A2406
         8.j. An undated PMH internal investigation
         document titled only "(Patient 21's name and
         MRN #] included the following:
         "During [      '2024) visit (1404 to 1644] [MD A]
         did not do an assessment in ambulance bay and
         ordered Tylenol and Seroquel and ok'd patient to
         de."
              ************************************************

              9.a. The central log for Patient 21g reflected that
             j hev presented to the ED a third time on
                    2024 at 1644 with a "Chief Complaint" of
              "Possible Sepsis." The "ED Disposition" on the
              loa was ''Transfer to Another Facility" on
                     2024 at 2232.

              9.b. The medical record for Patient 21g's third
                     2024 ED encounter was reviewed and
              included the following information that reflected
              the culmination of Patient 21's previous five visits :
              * An AMR ambulance report reflected that on
                      2024 at 1548 EMS "Arrived to find (Patient
              21g] sitting up on sidewalk under a bus shelter.
              Just in front of [PMH]. Pants down exposing
              backside. Passer by called ... after finding patient
              like this and patient told [passerby] [patient] was
              pushed down by someone. Patient says [they]
              cannot get up. AMR offered the patient help and
              [they] agreed to have help up and get on the
              gurney. Patient is hot to the touch. Incontinent to
              urine. There is feces on foot and apparently on ...
              cheek. AMR suggested [patient] be transported to
              hospital and patent's mood changed and [they)
              shouted that [they] would not go to hospital only
              [LEMC UCBH]. During physical exam patient was
              highly boisterous and confrontational. Sometimes
              allowing examination and sometimes screaming
              not to touch [them]. Patient refused any touching
              of head or torso to assess for injuries patient was
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   A2406 Continued From page 95                                                   A2406
         nodding off mid sentence at times with small
         equal pupils ... Patient was making delusional
         statments (sic] that AMR crew had pushed [them]
         down. Making delusional statements about
         restaurants and people which were not logical.
         Patient not oriented to year or event. Patient was
         informed that [they were] too sick and confused to
         refuse transport and we would be going to
         hospital for evaluation. After that, at one point
         patient became impatient and demanded we start
         going now. Patient nodded off during transport.
         Patient was assisted to bed at ED and care
         transferred to ED staff. Primary impression:
         Neurological. Altered mentation. Secondary
         impression: Other - Flu-like symptoms/acute
         febrile illness." The AMR report reflected the unit
         arrived at PMH at 1619.
         * Patient 21's temperature ranged from 101.7 Fat
         admission, to as high as 103.5 F during the
         encounter.
         * The patient's BP ranged from 153/93 at
         admission, to as high as 232/142 during the
         encounter.
         * The patient's pulse ranged from 131 at
         admission, to as high as 173 during the
         encounter.
         * The patient's SpO2 ranged from 93% at
         admission, to as low as 89% during the
         encounter.
         * Labwork and imaging tests revealed numerous
         abnormal findings .
         * An "ED Behavioral Health Emergent                 I
         Assessment Evaluation" was completed by an
         LCSW and concluded that "Due to patient's level
         of disorganization, inability to care for
         [themselves] and not being able to take
         medications as prescribed, I believe the patient
         meets criteria for Psychiatric Hospitalization at
         this time. Patient likely needs guardianship and
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   A2406 Continued From page 96                                                   A2406
         higher level of care such as RTF. Medical work
         up indicates that patient will need medical
         admission to the hospital to rule out sepsis.
         Patient was placed on an NMI prior to notification
         that the patient will need to be medically admitted .
         Since patient's illness is another example of
         patient being gravely disabled and unable to care
         for [themselves] in the community NMI will be left
         in place for this evening . Patient will continue to
         receive medical treatment in the hospital, pending
         final psychiatric disposition for purposes of
         coordination of care."
         * A "Circuit Court and District Court of the State of
         Oregon For Clackamas County Notification of
         Mental Illness (Hospital Hold)" was completed
         that reflected "Patient with prior medical history of
         Bipolar I Disorder, Anxiety, Depression and
         Polysubstance Use BIBA for inability to care for
         [themselves]. Bystander called 911 after patient
         was found at a bus stop with [their] pants down.
         Patient was delusional and disorganized ...
         Patient keeps requesting to leave, [they are]         I
         unable to say how [they] would care for
         [themselves], appears to be off [their] medication ,
         in [their] current stated [patient] lacks insight and
         is unable to engage in treatment planning."
         * Procedures performed included the following:
         - Application of "4 pt restraints ," both "soft       I
         restraints" and "locking restraints," for ""violent
         behavior ... danger to self, danger to others" and
         "medical non-violent" reasons.
         - An intravenous line was placed.
         - A lumbar puncture was performed .
         - A urinary catheter was placed.
         - A nasogastric tube was placed.
         - An endotracheal tube was inserted and the
         patient placed on a mechanical ventilator.
         * Patient 21 was transferred at 2230 while
         sedated and on the ventilator by ACLS to PPMC
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   A2406 Continued From page 97                                                   A2406
         for admission to ICU.

             9.c. Two PMH internal investigation documents
             titled "Interview with [MD A]" and dated
             01/08/2024, one timed as at 1025, reflected the
             following information provided by MD A about
             their encounter/interaction with Patient 21 on
             L .~ .2024: In regard to the difference in the
             patient's presentation on this visit from the prior
             visit the MD A stated "There was no difference
             between when I saw [the patient] in the
             ambulance bay and when [they] presented the
             second time." MD A stated that "[The patient] was
             not different. The reason that I was able to
             perform the rest of [the patient's] assessment
             because the consensus with [their] OP providers
             was that [the patient] needed a hold. This was the
             intention. It was only after [the patient] arrived and
             was triaged, that [their] other medical symptoms
             became apparent. [Patient 21's] presentation was
             not any different, same behavior and same
             agitation. But, again, because we had the green
             light to put [them] on a hold this time, we did and
             then we were able to see the fever, tachycardia,
             etc. Just to give you an idea, [Patient 21] ended
             up, obviously if you look at the records, [they]
             ended up acutely encephalopathic and septic.
             When [they] came in, [their] agitation was really
             difficult to manage. Just to give you an idea, [the
             patient] required Herculean doses of sedatives to
             try and get [them] to calm down. [They] got an IM
             dose of lnapsine and Benadryl. [They] became
             even more agitated. This was because, again ,
             [the patient] was on a NMI and being held against
             [their] will. This is why we don't like doing this ...
             [The patient's] mental status went alternating         I
             between somnolence and agitated, bizarre
             delirium, which required intubation . Because [the
             patient] was so febrile, I had to run that down,
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   A2406 Continued From page 98                                                    A2406
         including a LP. [Patient 21] ended up in the ICU
         because of [the] intubation. This is illustrative of
         how agitated [Patient 21] is and always is. [The
         patient] is super agitated all the time but oriented
         enough to force our hand into not treating [them.]
         Our morale is heartbroken."
              ****** ... ****************************************

              10.a. The "Weather Channel" website reflected
              that the outsiciP. tP.mperatures in Milwaukie,
              Oregon, on •          2023 through       2024, at
              the times Patient 21 was discharged and
              transported to the bus stop, or was parked
              outside in a wheelchair in the ambulance entry,
              ranged from 42 degrees to 48 degrees.
              ************************************************

         11 .a. Review of four ED encounters for Patients
         3, 5, 9a, and 9b that occurred between the dates
         of       f2023 and         2023 reflected that
         those patients left the hospital without an MSE
         and the records lacked evidence that the hospital
         had not dissuaded those patients from staying.
         The detailed findings for those cases are found
         starting on Page 120 of this report under Tag
         A-9999.
   A2409 APPROPRIATE TRANSFER                                                      A2409
         CFR(s): 489.24(e)(1)-(2)

              (1) General
              If an individual at a hospital has an emergency
              medical condition that has not been stabilized (as
              defined in paragraph (b) of this section), the
              hospital may not transfer the individual unless -
              (i) The transfer is an appropriate transfer (within
              the meaning of paragraph (e)(2) of this section);
              and
              (ii)(A) The individual (or a legally responsible

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   A2409 Continued From page 99                                                   A2409
         person acting on the individual's behalf) requests
         the transfer, after being informed of the hospital's
         obligations under this section and of the risk of
         transfer.                                            I
         The request must be in writing and indicate the
         reasons for the request as well as indicate that he
         or she is aware of the risks and benefits of the
         transfer.

              (B) A physician (within the meaning of section
              1861(r)(1) of the Act) has signed a certification
              that, based upon the information available at the
              time of transfer, the medical benefits reasonably
              expected from the provision of appropriate
              medical treatment at another medical facility
              outweigh the increased risks to the individual or,
              in the case of a woman in labor, to the woman or
              the unborn child, from being transferred . The
              certification must contain a summary of the risks
              and benefits upon which it is based; or

              (C) If a physician is not physically present in the
              emergency department at the time an individual is
              transferred , a qualified medical person (as
              determined by the hospital in its bylaws or rules
              and regulations) has signed a certification
              described in paragraph (e)(1)(ii)(B) of this section
              after a physician (as defined in section 1861(r)(1)
              of the Act) in consultation with the qualified
              medical person, agrees with the certification and
              subsequently countersigns the certification. The
              certification must contain a summary of the risks
              and benefits upon which it is based .

              (2) A transfer to another medical facility will be
              appropriate only in those cases in which -
              (i) The transferring hospital provides medical
              treatment within its capacity that minimizes the

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   A2409 Continued From page 100                                                     A2409
         risks to the individual's health and, in the case of
         a woman in labor, the health of the unborn child ;
         (ii) The receiving facil ity
         (A) Has available space and qualified personnel
         for the treatment of the individual; and
         (B) Has agreed to accept transfer of the individual
         and to provide appropriate medical treatment.

              (iii) The transferring hospital sends to the        I
              receiving facility all medical records (or copies
              thereof) related to the emergency condition which
              the individual has presented that are availabl e at
              the time of the transfer, including available
              history, records related to the individual's        I
              emergency medical condition, observations of
              signs or symptoms, preliminary diagnosis, results
              of diagnostic studies or telephone reports of the
              studies, treatment provided, results of any tests
              and the informed written consent or certification
              (or copy thereof) required under paragraph (e)( 1)
              (ii) of this section, and the name and address of
              any on-call physician (described in paragraph (g)
              of this section) who has refused or failed to
              appear within a reasonable time to provide
              necessary stabilizing treatment. Other records
              (e.g., test results not yet available or historical
              records not readily available from the hospital's
              files) must be sent as soon as practicable after
              transfer; and

              (iv) The transfer is effected through qualified
              personnel and transportation equipment, as
              required, including the use of necessary and
              medically appropriate life support measures
              during the transfer.

              This STANDARD is not met as evidenced by:
               ************ ... **************************** ... **********
              Based on interviews, review of central log and
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   A2409 Continued From page 101                                                  A2409
         medical record documentation for 5 of 6
         individuals who presented to the hospital for
         emergency services and were transferred to other
         hospitals for further examination or stabilizing
         treatment not within its capacity at the time
         (Patients/Encounters 1, 2, 16, 17, and 33) and
         review of P&Ps, it was determined that the            I
         hospital failed to fully develop and enforce
         EMTALA policies and procedures to ensure that it
         effected appropriate transfers for patients for
         whom an EMC had not been ruled out, removed
         or resolved:
         * Patients were transferred to other hospitals        I
         without a physician certification that included
         identification of patient specific and individualized
         benefits and risks of transfer.
         * Patients were transferred to other hospitals in
         POVs by family members, contrary to section (2)
         (iv) of this CFR that requires "The transfer is
         effected through qualified personnel and
         transportation equipment, as required , including
         the use of necessary and medically appropriate
         life support measures during the transfer."
         Medical transportation with qualified personnel
         and equipment was not used for transfer to
         ensure proper monitoring and response to
         changes in patient condition. It was not clear
         whether hospital staff or the patients initiated
         discussions about transport by POV, and what
         additional risks secondary to transport by POV
         without qualified personnel and emergency
         equipment had been identified and discussed.
         * It was unclear whether all required and
         necessary medical records available at the time
         of transfer had been sent to the receiving hospital
         at the time the patient was transferred, or were
         provided to the receiving hospital as soon as they
         were available.

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   A2409 Continued From page 102                                                  A2409
         Findings include:

              1.a. The P&P titled "Emergency Medical
              Treatment and Active Labor Act (EMTALA)" dated
              as "Last Revised 02/2022" was reviewed. It
              included the following information:                  I
              * An MSE "is an exam completed by qualified
              medical personnel to determine whether an EMC
              or active labor exists."
              * "A LIP or qualified medical personnel will
              perform a MSE to determine whether an EMC
              exists and treat the patient or stabilize the
              patient's condition within the capability and
              capacity of the ED or L&D/Perinatal Department."
              * "Prior to transfer, an explanation of the need to
              transfer and the alternative to transfer will be
              made to the patient. Individualized risks and
              benefits will be summarized verbally and
              documented on the EMTALA Patient Transfer
              Form in the electronic medical record (EMR)."
              * "Stabilized patients may be transferred to
              another hospital if the patient so desires. Patients
              may be transferred (1) at their own request, (2) at
              the request of a legally responsible person on the
              patient's behalf or (3) if physician or qualified
              medical personnel certifies in writing that the
              benefits of transferring the patient to another
              facility outweigh the risk . 1. Arrangements for
              proper conveyance will then be made; a LIP or
              qualified medical personnel will determine the
              safest method of transport. 2. If a LIP or qualified
              medical personnel feels it is necessary for the
              patient's safety, they or their qualified designee
              will accompany the patient during transfer."         I
              * "The referring and receiving LIP share the
              responsibility for patient transfer and they should
              consult regarding the arrangements and details of
              patient transfer, including the method of
                                                                   I
              transportation. The LIP or qualified medical
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   A2409 Continued From page 103                                                  A2409
         personnel arranging transportation is responsible
         for determining what additional care is required
         before transfer. The LIP or qualified medical
         personnel will also determine what transportation
         equipment is needed, including the use of
         necessary and medically appropriate life support
         measures during the transfer."
         * "Accompanying records sent with patient: 1. A
         copy of the ED or L&D/Perinatal Department
         treatment record (if applicable) 2. Flow sheet(s)
         3. Laboratory results 4. X-rays 5. Progress notes
         6. ECGs and/or other clinical monitoring
         recording 7. Transfer form(s) 8. Any other
         pertinent information."
         * "Documentation of patient transfer will be
         completed electronically for each transfer. The
         EMTALA transfer form needs to be printed from
         Epic after completion, signed by the patient, and
         sent to HIM to be included in the EMR. A copy of
         the form should be sent with the patient to the
         accepting facility."                              I
              1.b. There was no reference or acknowledgement
              in the EMTALA P&P that an "appropriate transfer"
              for patients with EMCs that had not been ruled
              out, removed, or resolved included, as required
              by section (2)(iv) of this CFR: "The transfer is
              effected through qualified personnel and           I
              transportation equipment, as required , including
              the use of necessary and medically appropriate
              life support measures during the transfer."
              Further, the P&P provided no assurance that staff
              would not offer POV transport as an option, and
              there were no provisions or steps for managing
              cases where patients refused medical
              transportation and insisted on using a POV
              without qualified personnel and equipment. The
              P&P did not recognize the additional risks of
              transport by POV that exist in the situation where
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   A2409 Continued From page 104                                                  A2409
         a lay-person, caregiver, family member drives an
         individual with an EMC that has not been ruled
         out, removed, or resolved through the city during
         rush hour or in the middle of the night.

              1.c. The P&P titled "Transfer of Maternal                   I
              Perinatal Patient" dated as "Last Revised
              "10/2021 " was reviewed. It included the following
              information :
              * " ... the transfer shall be effected through
              qualified personnel and transfer equipment."
              * "A woman experiencing contractions is in true
              labor unless a qualified medical person (as
              defined in a hospital's medical staffing bylaws)
              certifies that after a reasonable time of
              observation the woman is in false labor."
              * "The transferring LIP will determine what
              additional care is required before transfer, mode
              of transfer and what equipment and capabilities
              should be available en route."

              1.d. The "Transfer of Maternal Perinatal Patient"
              P&P reflected that "The transfer is effected
              through qualified personnel and transportation
              equipment" as required by section (2)(iv) of this
              CFR. Similar to the EMTALA P&P, this P&P also
              included no provisions for transfer by POV, and
              no steps for managing cases where patients
              refused medical transportation and insisted on
              using a POV without qualified personnel and
              equipment.
              ******... **********************************************

              2.a. The central log for Patient 1 reflected that
              they presented to the ED on          2023 at 0105.
              The chief complaint was recoraea as "Laboring
              (Possible water broke at 2330)." The disposition
              on the log was "Transfer to Another Facility."

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   A2409 Continued From page 105                                                  A2409
         2.b. The medical record for Patient 1's
                 2023 ED encounter was reviewed and
         reflected the following information:
         * At 0117 an RN Note reflected "Pt arrives from
         camping stating [their] water broke at 2330 and
         immediately started to have contractions 3-4
         minutes apart. Pt 35.5 weeks pregnant receiving
         prenatal care at Newberg ."
         * At 0118 an ED Provider Note reflected "16 y.o.
         [sex of pt] Patient is planning on delivering in
         Newberg ... Patient states that [they) got up to go
         to the bathroom and felt a gush of fluid ... did not
         feel like urination ... feels like [patient] has been
         having contractions that are approximately 4
         minutes apart ... Multiple diagnoses were
         considered including, but not limited to early
         labor, preterm rupture of membranes, urination,
         Braxton Hicks contractions, among others."
         * "[DO K] discussed the case with [MD] at PPMC
         who is amenable to receiving the patient in
         transfer for further labor monitoring and
         assessment of amniotic fluid presents, however
         as patient is local to our area and is planning on
         delivering in Newberg ... [PPMC MD] states that it
         would not be unreasonable to also let the patient
         him [sic] back to Newberg for assessment."
         * "[DO K] then discussed the case with Newberg
         on-call OB/GYN [MD name] who states that [MD
         name] is familiar with the patient, however patient
         has not formally established care with [MD] group
         in Newberg. Furthermore [MD] states the patient
         is actually 35 weeks and 2 days. Based on this if
         the patient did deliver in Newberg [MD] gives the
         neonate a 50-50 chance of requiring transfer to a
         higher level NICU center and indicates that the
         patient would likely be better served transferring
         to PPMC for labor evaluation."
         * "The results of [MD] conversations are
         described to the patient and [patient] is amenable
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                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
    TAG
                                                                                                                 DEFICIENCY)



   A2409 Continued From page 106                                                  A2409
         to POV transfer to PPMC."
         * At 0215 The ED Timeline reflected "ED
         Disposition set to Transfer to Another Facility."

              2.c. The electronic two-page "Patient Transfer"
              form in Patient 1's record contained EMTALA
              physician transfer certification and other required
              documentation and included the following :
              * Beginning on Page 1 the form reflected:
              - In the space for "Reason for Transfer:" was
              written "Service unavailable"
              - In the space for "Summary of transfer benefits:"
              was written "Condition"
              - In the space for "Patient specific transfer
              benefits:" was written "Access to labor monitoring
              and OBGYN"
              - Pre-printed language on the form: "Summary of
              transfer risks: All transfers have the risk of traffic
              accidents, bad weather and/or road conditions as
              well as limitations of personnel and equipment
              during transport."
              - In the space for "Patient specific transfer risks:"
              was written "Delivery en route"
              - Patient 1's signature recorded at the bottom of
              page 1 was dated and timed as             2023 at
              0219.
              * The form continued on Page 2 and reflected:
              - Pre-printed language on the form : "The patient
              will be transferred by qualified personnel and
              transportation equipment as required , including
              the use of necessary and medically appropriate
              life support measures. After discussion with the
              receiving physician, the patient and/or family, the
              agreed mode of transportation is _." Written in
              that space was "Private auto."
              - Pre-printed language on the form : "I discussed
              the risks and benefits with the patient/patient
              representative and they verbalized understanding
              and are in agreement with the decision to
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                                FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                            0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                               (X3) DATE SU RVEY
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  PROVIDENCE MILWAUKIE HOSPITAL
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   (X4) ID              SUMMARY STAT EMENT OF DEFICIENCIES                         ID                   PROVIDER'S PLAN OF CORRECTION                (X5)
   PREFIX           (EAC H DEFICIENCY MUST BE PRECEDED BY FULL                   PREF IX              (EACH CORRECTIVE ACTION SHOULD BE           COMPLETION
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   A2409 Continued From page 107                                                  A2409
          transfer. By completing this form , I authorize
          transfer of this patient."
          - DO K's electronic signature recorded under
          those entries on Page 2 was dated and timed as
                 2023 at 0215.
         :-Section IV of the form reflected "Records sent
          with Patient: Other (enter in comments)
          EMTALA."

              2.d. There was no documentation on the transfer
              form or elsewhere in the medical record to reflect
              what individualized and specific risks of transfer
              for Patient 1 and their unborn child the DO K had
              "discussed."

              2.e. The mode of transport decision and risk        I
              discussion for this EMTALA transfer was not
              clear. The transfer form reflected the "The patient
              will be transferred by qualified personnel and
              transportation equipment as required ..."
              However, it then reflected "Private auto" as the
              mode to be used which does not reflect transfer
              by "qualified personnel and transportation
              equipment." It was not clear in the medical record
              whether Patient 1 had been initially informed that
              EMS transport was to be used for this transfer as
              required , and whether DO K or Patient 1 initiated
              the idea of transport by POV. There was no
              documentation on the transfer form or elsewhere
              in the medical record to reflect that DO K had
              informed Patient 1 of the additional risks of
              transfer to themselves and their unborn child
                                                                  I
              secondary to transport by POV without qualified
              personnel and emergency equipment through the
              city to the other hospital during the middle of the
              night. In addition , the type and extent of medical
              records sent was not specified to ensure all
              required records were sent.
              ******************************************************       I
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                              FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                          0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
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                                                                                                                 DEFICIENCY)



   A2409 Continued From page 108                                                  A2409

              3.a. The central log for Patient 2 reflected that
              they presented to the ED on           2023 at 1442.
              The chief complaint was recorded as "Abdominal
              Pain." The disposition on the log was "Transfer to
              Another Facility."

              3.b. The medical record for Patient 2's
                     2023 ED encounter was reviewed and
              reflected the following information:
              * At 1450 an ED Triage Note reflected "Pt started
              having abd pain last night with some n/v. Pt was
              seen at UC today and encouraged to come to the
              ER for appy rule out. Pt ate breakfast at 1030
              today and informed to stay NPO."
              * At 1623 "Patient roomed in ED, to room ED21."
              * At 1648 an ED Provider note reflected "There is
              area of possible hemorrhagic ovarian cyst versus
              active bleeding from a small pelvic vessel in the
              left adnexal region. I spoke with [PPMC OB] who
              advised obtaining a pelvic ultrasound and
              repeating [patients] blood work after 4 hours.        I
              Pelvic ultrasound revealed 9.7 complex left
              adnexal mass with blood flow internally. The left
              ovary cannot be distinguished from the mass
              along this region. Moderate amount of free fluid in
              the pelvis. Repeat hemoglobin hematocrit was
              10.6 and 31 .0. I contacted [PPMC OB] again and
              discussed findings with [PPMC OB]. [PPMC OB]
              felt patient would benefit from transfer and
              admission for further evaluation . I discussed
              findings with the patient and [the patient] was
              agreeable to transfer at this time. [Patient 2]
              remained normotensive and no findings of
              tachycardia or hemodynamic instability. We
              discussed EMS transport versus private auto
              where [patient's] partner would take [patient] and
              [patient] opted to go by private vehicle. I felt that
              the patient's clinical picture was most consistent
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                             FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                         0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1) PROVIDER/SUPPLIER/CUA              (X2) MULTIPLE CONSTRUCTION                            (X3) DATE SURVEY
AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:                                                                       COMPLETED
                                                                               A. BUILDING
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                                                   380082                      B. WING
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS, CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENU E
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE         COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
    TAG
                                                                                                                 DEFICIENCY)



   A2409 Continued From page 109                                                  A2409
         with left ovarian mass and nontraumatic
         hemoperitoneum. Advised patient not to eat or
         drink anything and go immediately to Portland
         Providence Medical Center for inpatient
         admission and further evaluation."
         * At 1706 Morphine 4mg IV and Zofran 4mg IV
         were documented as given.
         * At 1926 US Pelvis started.
         * At 2027 Morphine 4mg IV documented as given.
         * At 2150 an ED Note titled "ED Discharge Dot
         Phrase" reflected "Transportation mode: POV
         with [family member]," "Was this transportation
         mode determined to be the safest way to
         transport patient? yes" and "Pt is alert and
         oriented and in NAO. Pain was addressed with
         medication prior to discharge and pt will report
         directly to PPMC ED from here. Pt and [family
         member] instructed not to make any stops, pt not
         to eat or drink anything en route. Pt reminded of
         necessity to maintain PIV without tampering or
         using this on the way to PPMC ."
         * At 2228 the ED Timeline reflected "Patient
         discharged."

              3.c. The electronic two-page "Patient Transfer"
              form in Patient 2's record contained EMTALA
              physician transfer certification and other required
              documentation and included the following :
              * Beginning on Page 1 the form reflected:
              - In the space for "Reason for Transfer:" was          I
              written "Service unavailable"
              - In the space for "Summary of transfer benefits:"
              was written "Higher level of service available"
              - In the space for "Patient specific transfer          I
              benefits:" was written "Urgent evaluation and
              treatment of ovarian mass and hemoperitoneum"
              - Pre-printed language on the form : "Summary of
              transfer risks: All transfers have the risk of traffic
              accidents, bad weather and/or road conditions as
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                              FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                          0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:                                                                       COMPLETED
                                                                               A. BUILDING
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                                                   380082                      B. WING
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE            DATE
    TAG
                                                                                                                 DEFICIENCY)



   A2409 Continued From page 110                                                  A2409
         well as limitations of personnel and equipment
         during transport."
         - In the space for "Patient specific transfer risks: "
         was written 'Worsening pain or bleeding or
         hypertension"
         - Patient 2's signature recorded at the bottom of
         page 1 was dated and timed as l           (023 at
         2220.                                                  I
         * The form continued on Page 2 and reflected:
         - Pre-printed language on the form : "The patient
         will be transferred by qualified personnel and
         transportation equipment as required , including
         the use of necessary and medically appropriate
         life support measures. After discussion with the
         receiving physician, the patient and/or fami ly, the
         agreed mode of transportation is _ ." Written in
         that space was "Private auto. "
         - Pre-printed language on the form : "I discussed
         the risks and benefits with the patient/patient
         representative and they verbalized understanding
         and are in agreement with the decision to
         transfer. By completing this form, I authorize
         transfer of this patient."                             I
         - MD B's electronic signature recorded under
         those entries on Page 2 was dated and timed as
                2023 at 2209.

              3.d. The mode of transport decision and risk         I
              discussion for this EMTALA transfer was not
              clear. The transfer form reflected "The patient will
              be transferred by qualified personnel and
              transportation equipment ..." However, it then
              reflected "Private auto" as the mode to be used I
              which does not reflect transfer by "qualified
              personnel and transportation equipment." It was
              not clear in the medical record whether Patient 2
              had been initially informed that EMS transport
              was to be used for this transfer as required , and
              whether MD B or Patient 2 initiated the idea of
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                                 0MB NO 0938-0391
STATEMENT OF DEFICIENCIES                (X1 ) PROVIDER/SUPPLIER/CUA                  (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                         IDENTIFICATION NUMBER:                 A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                         380082                       B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                                 02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                                    STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                                  10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                                  MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                                 ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                           PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                            TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
    TAG
                                                                                                                        DEFICIENCY)



   A2409 Continued From page 111                                                         A2409
         transport by POV. There was no documentation
         on the transfer form or elsewhere in the medical
         record to reflect that MD B had informed Patient 2
         of the additional risks of transfer to themselves
         secondary to transport by POV without qualified
         personnel and emergency equipment through the
         city to the other hospital.

              3.e. During interview with EDM and QMC on
              12/20/2023 at the time of the ED record review,
              they confirmed the lack of clear transfer risk and
              POV transport information in the records of
              Patients 1 and 2.
              ****** .... *****************•·• •··••-• ·· · ······ · ········· ··

              4.a. The central log for Patient 16 reflected that
              they presented to the ED on          W23 at 1734
              with a "Chief Complaint" of "Homeless; Mental
              Health Evaluation." The "ED Disposition" on the
              loa as ''Transfer to Another Facility" on
             I       i o23 at 10s8.

              4_b_The medical record for Patient 16's
                     ~023 ED encounter was reviewed , reflected
              that an MSE was conducted by an MD, and
              included the following information:
              * At 1734 the patient's "Arrival Complaint'' was
              recorded as "Pt unable to remain calm ."
              * At 1740 an RN recorded that "Brought in by
              [family member]. Pt been homeless and unable to
              stay calm ... Hx schizophrenia. Not taking any
              meds."
              * At 1942 a QMHP electronically signed an
              evaluation that reflected" ... current psychosis
              causing grave disability ... the patient's symptoms
              are considered too severe for a lower level of
              care as exhibited by psychotic behavior and
              paranoid behavior ... acutely psychotic requiring
              an IP setting to stabilize ... will remain in the ED
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                              FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                          0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
    TAG
                                                                                                                DEFICIENCY)



   A2409 Continued From page 112                                                  A2409
         boarding model pending final psychiatric
         disposition ... "
         * At 2103 MD F electronically signed an
         "Emergency Department Provider Note" that
         included the following: "Clinical picture consistent
         with psychosis secondary to untreated
         schizoaffective disorder. Patient is homeless.         I
         [The patient] denies SI/HI but is not showing
         signs of being able to adequately care for self in
         the community. The patient was evaluated by
         social work who recommend [sic] inpatient
         evaluation."
         * On         2023 at 0005 an RN recorded that " ...
         pt pulling hair out, when asked why pt is pulling
         hair pt does not respond ..."
         * At 0749 an RN recorded "Elopement Risk: Yes
         * At 1058 DO G completed and electronically
         signed the EMTALA "Patient Transfer" form              I
         described in the finding below.
         * At 1527 an RN recorded "Elopement Risk: Yes"
         * At 1747 an RN recorded "Patient discharged ."
         * At 1951 MD B electronically signed a note that
         "Patient was placed on a transport hold. Secure
         transport arrived and [the patient] was discharged
         into their care for transfer for inpatient psychiatric
         admission."

              4.c. The electronic two-page "Patient Transfer"
              form in Patient 16's record contained EMTALA
              physician transfer certification and other required
              documentation and included the following:
              * In the space for "Reason for Transfer:" was
              written "Service unavailable Patient requires
              inpatient psychiatric care"
              * Pre-printed language on the form: "Summary of
              transfer risks: All transfers have the risk of traffic
              accidents, bad weather and/or road conditions as
              well as limitations of personnel and equipment
              during transport. There is also potential for
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  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                          0MB NO 0938-0391
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AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:                                                                        COMPLETED
                                                                               A. BUILDING
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                                                   380082                      B. WING
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
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                   REG ULATORY OR LSC IDENTIFYING INFORMATION)                    TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
    TAG
                                                                                                                 DEFICIENCY)



   A2409 Continued From page 113                                                  A2409
         worsening of medical condition during transport
         resulting in possible disability and/or death."
         * In the following space for "Patient specific
         transfer risks:" was written "Worsening behavior."
         * Pre-printed language on the form: "The patient
         will be transferred by qualified personnel and
         transportation equipment as required, including
         the use of necessary and medically appropriate
         life support measures. After discussion with the
         receiving physician, the patient and/or fami ly, the
         agreed mode of transportation is _ ." Written in
         that space was "Secure transport."
         * Pre-printed language on the form: "I discussed
         the risks and benefits with the patient/patient
         representative and they verbalized understanding
         and are in agreement with the decision to
         transfer. By completing this form, I authorize
         transfer of this patient."                           I
         * DO G's electronic signature recorded under
         thn~P. entries on Page 2 was dated and timed as
                  W23 at 1058.
         • ::;ectIon IV of the form reflected "Records sent
         with Patient: Medical Records;" [sic]

              4.d. There was no documentation on the transfer
              form or elsewhere in the medical record to reflect
              what individualized and specific risks of transfer
              for Patient 16 DOG had "discussed." It was not
              clear whether the "discussion" had occurred with
              the severely psychotic patient or with their
              representative. The physician certification of     I
              transfer risks reflected that DO G had written
              "Worsening behavior." However, that risk is akin
              to the "worsening ... condition" inherent to all
              transfers. It was not clear what "worsening        I
              behavior" meant in the case of Patient 16. In
              addition, the type and extent of medical records
              sent was not specified to ensure all required
                                                                 I
              records were sent.
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  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                              FORM APPROVED
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
    TAG
                                                                                                                DEFICIENCY)



   A2409 Continued From page 114                                                  A2409

              4.e. During interviews with the MES and the QMC
              at the time of the ED record reviews on
              12/21/2023 beginning at 1445 no additional
              information regarding transfer risks was provided.

              4.f. lnternet/GPS distance calculators reflected
              that HMC in Hillsboro, Oregon was~ 26 miles,
              and~ 45 minutes drive-time in "light traffic", from
              PMH in Milwaukie, Oregon.
              ******************************************************

              5.a. The central log for Patient 17 reflected they
              presented to the ED on          '2023 at 1759. The
              chief complaint was recoraea as "Suicidal,
              Homicidal." The disposition on the log was
              "Transfer to Another Facility."

              5.b. The medical record for Patient 17's
                      2023 ED encounter was reviewed and
              reflected the following information:
              * At 1809 a ED Triage Note reflected "Pt arrives
              with [parent], states not feeling will mentally, asks
              [parent] to step out of room to share info states
              uncomfortable with [parent] in room , pt states
              tried to kill myself on Thanksgiving, took [family
              member's] tequila, ibuprofen, wine and THC CBD
              gummy, no eval, reports SI denies plan but
              "doesn't mean I don't want to do it," reports HI
              against [2 family members] worse than punch
              them because of what they've done, no psych
              meds or therapist, lives with [siblings), [parent]
              and step [parent], not older [sibling] or bio
              [parent], switch custody in June, reports feels
              safe at home."
              * At 1817 "Patient roomed in ED, to room ED12."
              * At 1820 an RN documented an ED Quick Note
              that reflected "Additional Note: informing pt of
              POC and changing to scrubs/belongings for
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STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:                                                                       COMPLETED
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                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
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   A2409 Continued From page 115                                                  A2409
         safety, pt states [they have) a razor blade in [their]
         phone case, pt removed and given to RN , placed
         in sharps container."
         * At 2006 an "ED Behavioral Health Emergent            I
         Assessment Evaluation" was completed by a
         LCSW. The BH evaluation reflected "Formulation
         of plan: Due to risk of harm to self, I believe the
         patient meets criteria for Psychiatric
         Hospitalization at this time. The patient meets
         criteria for inpatient admission."
         * At 0922 on           2023 a ED Behavioral Health
         Reevaluation reflected "pt remains unable to
         safety plan for discharge. Based on current acuity
         of depression with recent impulsive suicide
         attempt and self-harm , pt continues to meet
         criteria for inpatient treatment. Addendum 1630:
         per ProvAIR, pt had been accepted for transfer to
         inpatient treatment at CAPU ... SW requested
         secure transport ... "
         * At 1627 on           W23 "ED Disposition set to
         Transfer to Another Facility."

              5.c. The electronic two-page "Patient Transfer"
              form in Patient 17's record contained EMTALA
              physician transfer certification and other required
              documentation and included the following :
              * Beginning on Page 1 the form reflected:              I
              - In the space for "Reason for Transfer:" was
              written "Service unavailable" under this line was
              "Comments: Adolescent psychiatry"
              - In the space for "Summary of transfer benefits:"
              was written "Higher level of service available at
              receiving facility."
              - In the space for "Patient specific transfer          I
              benefits:" was written "Adolescent psychiatry''
              - Pre-printed language on the form: "Summary of
              transfer risks: All transfers have the risk of traffic
              accidents, bad weather and/or road conditions as
              well as limitations of personnel and equipment
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AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ _ __                               COMPLETED

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  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
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   A2409 Continued From page 116                                                  A2409
         during transport. There is also potential for
         worsening of medical condition during transport
         resulting in possible disability and/or death."
         - In the space for "Patient specific transfer risks:"
         was written "Worsening of condition"
         - Patient 1Ts Guardians signature recorded at
         the bottom of page 1 was dated and timed as
                 W23 at 1245.
         * The form continued on Page 2 and reflected:
         - Pre-printed language on the form : "I discussed
         the risks and benefits with the patient/patient
         representative and they verbalized understanding
         and are in agreement with the decision to
         transfer. By completing this form, I authorize
         transfer of this patient."
         - MD D's electronic signature recorded under
         those entries on Page 2 was dated and timed as
                2023 at 1628.
         - Section IV of the form reflected "Records sent
         with Patient: yes."

              5.d. There was no documentation on the transfer
              form or elsewhere in the medical record to reflect
              what individualized and specific risks of transfer
              for Patient 17 MD D had "discussed." The
              physician certification of transfer risks reflected
              that MD D had written "Worsening of condition. "
              However, that is risk inherent to all transfers, and
              it was not clear what "Worsening of condition"
              meant in the case of this suicidal patient. In
              addition, the type and extent of medical records
              sent was not specified to ensure all required
              records were sent.

              5.e. During interview with EDM and QMC on
              12/20/2023 at the time of the ED record review,
              they confirmed the lack of clear transfer risk
              information for Patient 17.
              ******************************************************

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AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:            A. BUILDING _ _ _ _ _ _ __                                 COMPLETED

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   A2409 Continued From page 117                                                  A2409

              6.a. The central log for ::itient 33 reflected they
              presented to the ED on           2023 at 1405. The
              chief complaint was recorded as "Neck Pain."
              The disposition on the log was "Transfer to
              Another Facility."

              6.b. The medical record for Patient 33's
             (       2023 ED encounter was reviewed and
              reflected the following information:
              * At 1420 an RN documented "Triage Started."
              * At 1422 an ED Triage Note reflected "Pt c/o
              sudden 4/10 neck pain starting earlier today.
              Recent hx of stroke and brain anyreusm [sic]
              stapled sx about 1x month ago, and a shunt
              placement about 2 weeks ago. Denies
              weakness/numbness."
              * At 1511 Lab work and CT Angio Head Neck
              orders were placed.
              * At 1659 "Patient roomed in ED, To room EDO7."
              * At 1713 an ED Provider Note reflected" ...
              recent intracranial aneurysm that had a
              subarachnoid hemorrhage and required clipping.
              The patient also underwent VP shunting . The
              patient was just discharged from the inpatient
              neurosurgical stay 1 week ago ... The patient was
              sent for CT scan of the head which reveals a new
              small sub-1 cm subdural hematoma on the right.
              Neurosurgery from [PSVMC] was consulted and
              they requested the patient be transferred back to
              St. Vincent's for further monitoring and repeat
              imaging."
              * At 1735 "Peripheral IV Line ... placed."
              * At 1656 a Unit Coordinator documented
              "CM/SW Assessment, Planned Discharge,
              Transportation Will Be Provided By: taxi, Planned
              Transportation Date:          23, Planned
              Transportation Time: L"l 4::>, Ride - Contact Name:
              Ride to Care (taxi)
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   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION              (X5)
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   A2409 Continued From page 118                                                  A2409
         2015-2145."
         * At 2003 Vital signs were documented as BP:
         133/102, Pulse: 76, Resp: 17.
         * At 2119 "Patient discharged" and "Departure
         Condition, Mobility at Departure: Wheelchair,
         Departure Mode: With transport tech."

              6.c. The electronic two-page "Patient Transfer"
              form in Patient 33's record contained EMTALA
              physician transfer certification and other required
              documentation and included the following :
              * Beginning on Page 1 the form reflected:
              - In the space for "Reason for Transfer:" was         I
              written "Service unavailable."
              - In the space for "Summary of transfer benefits:"
              was written "Higher level of service available at
              receiving facility''
              - In the space for "Patient specific transfer         I
              benefits:" was written "Neurosurgical services"
              - Pre-printed language on the form : "Summary of
              transfer risks: All transfer have the risk of traffic
              accidents, bad weather and /or road conditions as
              well as limitations of personnel and equipment
              during transport. There is potential for worsening
              of medical condition during transport resulting in
              possible disability and/or death."
              - In the space for "patient specific transfer risks:"
              was written "Due to time away from the acute
              care setting necessary to effect the transfer, the
              patient is at risk of clinical deterioration of the
              following condition(s): Subdural hematoma (HCC)
              (primary encounter diagnosis) Patient/condition
              specific risks of transfer include: Worsening
              subdural"
              - The "Patient/Guardian Signature" line was
              blank.
              * The form continued on Page 2 and reflected:
              - The patient will be transferred by qualified
              personnel and transportation equipment as
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   A2409 Continued From page 119                                                  A2409
         required , including the use of necessary and
         medically appropriate life support measures. After
         discussion with the receiving physician, the
         patient and/or family, the agreed mode of          I
         transportation is ALS."
         - Pre-printed language on the form : "I discussed
         the risks and benefits with the patient/patient
         representative and they verbalized understanding
         and are in agreement with the decision to
         transfer. By completing this form , I authorize
         transfer of this patient."                         I
         - MD E's electronic signature recorded under
         those entries on Page 2 was dated and timed as
                 !023 1940.
         - Section IV of the form reflected "Records sent
         with Patient: yes."

              6.d. The patient arrived to PSVMC in a taxi
              instead of the ALS transport the MD E requested .
              It is not clear how or why a taxi was set up for
              transport instead of an ambulance with proper
              medical personnel and equipment. The transfer
              form listed patient specific risks as "Subdural
              hematoma" which is the primary encounter
              diagnosis.

         6.e. During interview with EDM and QMC on
         02/15/2024 at 0905, they confirmed the
         transportation for this patient was not appropriate
         in this case. In addition, the type and extent of
         medical records sent was not specified to ensure
         all required records were sent.
   A9999 CLOSING COMMENTS                                                         A9999
                                                                           I
               ******************************************************
              (The following findings are a continuation from
              Tag A-2406 regarding MSEs:
                                                                           I
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   A9999 Continued From page 120                                                  A9999
         12.a. The central log for Patient 3 reflected that
         they presented to the ED on          2023 at 2217
         with a "Chief Complaint" of "Drug/Alcohol
         Assessment." The "ED Disoositior:," on the log
         was "Lwbs After Triage" on          2023 at 2332.

              12.b. The medical record for Patient 3's
                      2023 ED encounter was reviewed and
              included the following information:
              * At 2217 "Patient arrived in ED."
              * At 2220 an RN documented an ED triage note
              that reflected "Pt BIBA, Code 1 with c/o alcohol
              intoxication. Per EMS, Patient has been drinking
              alcohol for 4-5 days in bed. Patient's last drink
              was immediately prior to EMS arriving. Patient's
              family called ambulance. Per EMS when patient
              withdraws from alcohol [they have] seizures but is
              not on medication for this. Patient wants to get
              checked out. Patient appears intoxicated in triage
              and having a separate conversation on the phone
              while triage Rn attempted to speak with patient.
              Patient placed in wheelchair d/t patient stating    I
              [they] could not stand without assistance."
              * At 2227 an RN documented "Brief Assessment"
              and "Vital Signs."
              * At 2239 an RN documented "To room RMT3."
              * At 2305 Labs were collected.
              * At 2330 an RN documented an ED note that
              reflected "Per registration, patient ambulated from
              RMT3 to registration and through the front doors
              with steady gait. Patient did not inform triage RN
              that [they] were leaving. MD aware."
              * At 2331 ED Disposition set to "LWBS after
              Triage" by an RN.

              12.c. The medical record lacked any
              documentation to reflect that attempts were made
              to inform Patient 3 of the risks of leaving the
              hospital without an MSE or that any attempts to
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   A9999 Continued From page 121                                                  A9999
         obtain informed written refusal of an MSE had
         been made, as required by the hospital's P&Ps.

              12.d. During interview with the EDM and QMC at
              the time of the ED record review on 12/20/2023,
              they confirmed that the record reflected Patient 3
              had not been informed of the risks of leaving
              without an MSE and that informed written refusal
              of an MSE had not been obtained .
              ******************************************************

              13.a. The central log for Patient 5 reflected that
              they presented to the ED on          '2023 at 1743
              with a "Chief Complaint" of "Suicidal." The "ED
              ni!':nosition" on the log was "Lwbs After Triage" on
                      2023 at 2015.

             _1 3.b. The medical record for Patient S's
                        W23 ED encounter was reviewed and
              included the following information:
              * At 1743 "Patient arrived in ED."
              * At 1818 an ED Triage Note reflected "Pt comes
              in from home with SI and paranoia X [sic) several
              days. Pt tried to pour boiling water on
              [themselves] to harm [themselves]."
              * At 1820 an ED Note reflected "Pt walked out of
              triage when told that [they] may have to spend the
              night."
              * The next entry was recorded at 2013.
              * At 2013 an RN documented an ED Note that
              reflected "Spoke with [Significant other) who is
              still in lobby. Pt has left the hospital grounds.
              [Significant other) has been advised to call the
              local Police for assistance in bringing pt back into
              hospital and to help locate [Patient 5). [Significant
              other] is agreeable, will go look for pt and call
              Police for assistance."                               I
              * At 2015 ED Disposition set to "LWBS after
              Triage" by an RN.
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   A9999 Continued From page 122                                                   A9999

              13.c. The medical record lacked any
              documentation to reflect that a reasonable effort
              was made to inform the patient of the risks of
              leaving the hospital without an MSE or any
              attempt was made to locate the patient. There
              was no documentation that security and/or law
              enforcement was notified that this patient left
              before treatment was initiated and may be a risk
              for harm to self and/or others and there was no
              attempt at telephoning the patient at home and/or
              alerting authorities per the hospital's P&Ps.

              13.d. During interview with the EDM and QMC at
              the time of the ED record review on 12/20/2023,
              they confirmed the record lacked the proper
              documentation that steps were followed per the
              hospital's P&Ps.
              ****************************..... ************************

              14.a. The central log for Patient 9.a. reflected that
              they presented to the ED twice on           2023.
              The first visit was at 0623 with a "Chief
              Complaint" of "Alcohol Use" and "Withdrawal
              (Alcohol)." The "ED Disposition" on the log was
              "Lwbs after Triage" on         2023 at 1750.

              14.b. The medicalJecord for Patient 9.a.'s first
              ED encounter on             '2023 at 1623 was
              reviewed and included the following information:
              * At 1623 "Patient arrived in ED.''
              * At 1634 Vital Signs obtained, BP 161/110, Pulse
              94.
              * At 1637 an RN documented an ED Note that
              reflected "Pt states drinking a lot of alcohol today
              but states [they] have not taken [their] methadone
              in a few days. Pt feels like [they] are withdrawing
              and can't sit still in the traige [sic] chair."
              * The next entry was recorded at 1750.
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                                                                                                                              PRINTED:
  DEPARTMENT OF HEALTH AND HUMAN SERVICES                                                                                              FORM APPROVED
  CENTERS FOR MEDICARE & MEDICAID SERVICES                                                                                          0MB NO 0938-0391
STATEMENT OF DEFICIENCIES              (X1 ) PROVIDER/SUPPLIER/CUA             (X2) MULTIPLE CONSTRUCTION                             (X3) DATE SURVEY
AND PLAN OF CORRECTION                       IDENTIFICATION NUMBER:                                                                       COMPLETED
                                                                               A. BUILDING
                                                                                                                                             C
                                                   380082                      B. WING
                                                                                                                                          02/15/2024
  NAME OF PROVIDER OR SUPPLIER                                                             STREET ADDRESS , CITY, STATE, ZIP CODE
                                                                                           10150 SE 32ND AVENUE
  PROVIDENCE MILWAUKIE HOSPITAL
                                                                                           MILWAUKIE, OR 97222
   (X4) ID              SUMMARY STATEMENT OF DEFICIENCIES                          ID                  PROVIDER'S PLAN OF CORRECTION               (X5)
   PREFIX           (EACH DEFICIENCY MUST BE PRECEDED BY FULL                    PREFIX              (EACH CORRECTIVE ACTION SHOULD BE          COMPLETION
                   REGULATORY OR LSC IDENTIFYING INFORMATION)                     TAG               CROSS-REFERENCED TO THE APPROPRIATE             DATE
    TAG
                                                                                                                 DEFICIENCY)



   A9999 Continued From page 123                                                  A9999
         * At 1750 ED Disposition set to "LWBS after
         Triage" by an RN.

              14.c. The medical record lacked any
              documentation to reflect that a reasonable effort
              was made to inform the patient of the risks of
              leaving the hospital without an MSE. There was
              no documentation that any attempts were made
              to locate the patient or any information related to
              the circumstances of why and how the patient left
              the hospital.
              ******.... *********************~************************ I
              15.a. The central log for Patient 9.b.'s second ED
              visit [eflected that they presented to the ED on
                      2023 at 1940 with a "Chief Complaint" of   I
              "Emesis" and "Withdrawal (Alcohol). " The "ED
              Disposition" on the log was "Lwbs After Triage" on
                      2023 at 2315.

              15.b. The medical record for Patient 9.b.'s second
              ED encounter on           2023 at 1940 was
              reviewed and included the following information:
              * At 1940 "Patient arrived in ED."
              * At 1952 Vital Signs obtained and an ED Note
              reflected "Pt comes to ED after having withdrawal
              symptoms. Pt was here earlier today for the same
              thing but left because it took too long. Pt. [sic]
              states drinking a shot vodka about 1 hr ago. Hx
              OD taking methadone. Pt denies other drugs
              taken. Pt has nausea, headache and mild
              tremors."
              * At 1956 "Full Triage Completed.''
              * The next entry was recorded at 2315.
              * At 2315 ED Disposition set to "LWBS after
              Triage" by an RN.

              15.c. The medical record lacked any
              documentation to reflect that a reasonable effort
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                                                                                                                             PRINTED:
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AND PLAN OF CORRECTION                      IDENTIFICATION NUMBER:             A. BUILDING _ _ _ _ _ _ _ __                              COMPLETED

                                                                                                                                             C
                                                   380082                      B. WING _ _ _ _ _ _ _ _ __
                                                                                                                                          02/15/2024
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    TAG
                                                                                                                 DEFICIENCY)



   A9999 Continued From page 124                                                  A9999
         was made to inform the patient of the risks of
         leaving the hospital without an MSE. There was
         no documentation that any attempts were made
         to locate the patient or any information related to
         the circumstances of why and how the patient left
         the hospital.

              15.d. During interview with the EDM and QMC at
              the time of the ED record review on 12/20/2023,
              they confirmed the records for both Patient 9.a.
              and 9.b's encounters lacked any attempts to
              inform Patient 9 of the risks of leaving the
              hospital without an MSE or that any attempts to
              obtain informed written refusal of an MSE had
              been made or attempts to locate the patient.




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